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                                        LAW OFFICES OF MARC TOBEROFF
                                                     A P~OFESSIONAL CORPORATION


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                                                 LOS ANGELES, CALIFORNIA 90067
• ALSO ;o.Qt.liii'EO IN N~V/ ~Ri<                                                                             FACSIMILE
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                                                 FACSIMILE COVER PAGE


                    TO: James Weinberger, Esq., Patrick            FAX: (212)-813-5901; (845)-265-2819;
                    Perkins, Esq., Michael Bergman, Esq.           (310)-550-7191

                    FROM: Marc Toberoff                            PAGES (including cover): 33

                    DATE : 10/23/06                                RE: Superman/Superboy Litigations,
                                                                   Case Nos. 04-CV-8400, 04-CV-8776
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                    COMMENTS:




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                                            2049 CENTURY PARK EAST, SUITE 2720
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              October 23, 2006

              Via Facsimile and US Mail

              James Weinberger, Esq.
              Fross Zelnick Lehrman & Zissu, P.C.
              866 U11ited Nations Plaza
              New York, New York 10017

              Rc: Sttperman/Superboy Litigations, Case Nos. 04-CV-8400, 04-CV -8776 RSWL (RZx)

              Dear James:

              Enclosed please find 1he privilege log for Don Bulson's files.

              Very truly yours,
                    -   _____________..
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             Marc Toberoff

             cc: Michael Bergm~m, Esq. (via facsimile)
                 Patrick Perkins, Esq. (via facsimile)




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               3           8{15/1997                                     Atty Don Bulson              Noles              Ally Wort<. Product        Plaintiffs' Counsel



               4          10(14/1997         Ally Oe.rrnis Larson      Atty Hi man shu Amin            Letter         Ally/Client-Joint Interest    Plaintiffs' Counsel



               5           11/5/1997        AIt' Hi man shu Amin        AUy Defrnis Larson            LeHer           Ally/Ciien!-Joinllnleresl     Plaintiffs" Counsel



               6           11/1211997          Michael Siegel          A\1y Himanshu A min             LeHei                  Atty/Ciient           Plain~ffs' Counsel




                7          1/15/1998          A tty Arthur levine         A tty Don Bulson             Letter         A\tylCiierat-Jo!nl Interest   Plaintitls' Counsel



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                  17   12114/19~8                              A\ty Doll Bulson         Notes            Atty Work Product          Plaintiffs' Counsct


                  18   12128119~8     A tty Don Butson         Atty Vinay Joshi      Memor;:)ndum        Alty Work Product          Plainlilfs' Counsel


                  19   1/19/1999      Alty A~lUr Levine        A\ty Don Bulson          Letter        AttyiCii en!-Joinl Interest   Plaintiffs' Counsel


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                  22   3117/1999      Ally Don Bulson          Atty Arthur levine     Facsimile       AUy/Ctient-Joint Interest     Plaintiffs' Counsel


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                    30   8!10/1999           Ally Arthur Levine               Atly Don Bulson           Lerter    A tty/Client-Joint Interest   Plaintiffs' Counsel


                    31   8f24fl999            Alty Don Bulson                Alty Arthur Levine       Facsimile   A\ly/CIIent.Joint lrlleresl   Plaintiffs' Counsel


                    32   9£211999             Ally Don Bulson                  Michael Siegel           Email            AltylCllent            Plainlitfs' Counsel


                    33   912/1999              Micha$1 Siegel                 A tty Don Bulson          Email            Ally/Client            Plainlifls' Counsel


                    34   9121tS99            Atty Arthur Levine               Ally Don Butson          Leller     Al\y/Ciienl-Jolntlntere~t     PlainUffs' Counsel


                    35   9131~999                                             Atly Don Bulson           Notes        Ally Wor11 Product         Plaintiffs' Counsel


                    36   91511999             Ally 0\ln Bulson                 Michael Siegel           Email            A\ty/Ciient            Pial ntiffs' C<>unsel


                    37    9/7/1999                                            Alty Don Bulson          Noles         A\VffWork Product          PlainUffs' Counsel

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                      43   9[16/1999                            A\ty Don Bulson      Notes       Ally Work Product         Plaintiffs' Counsel


                      44   9/17/1999      Alty Don Bulson      Ally Artflur Levine   Letter   Atty/Ciierrt-Joinllnteres\   PlainUffs' Counsel


                      45   9/17/1999      A\ty Don Bulson       Michael Siegel       Email           AttyiCHenl            Plaintiffs' Counsel


                      46   9!10/1999       Michael Siege!       Ally Don Su!san      Email           AltyfCiient           Plaintiffs' Counsel


                      47   9/22/1999       Michael Siegel       Ally Don Bulson      Email           Atty/Cllent           Plaintiffs' Counsel


                      48   912211999       Michael Siegel       Atty Don Bulson      Email           Ally/Ciienl           P!ainliffs' Counsel


                      49   9122/1999      Atty Don Bulson       Michael Siegel       Email           Ally/Client           Plaintiffs' Counsel


                      50   9123{1999      Atty Don Bulson       Michael Sie.gel      Email           AtlyfCiienl           Plalntil'ts' Counsel


                      51   9123/1999       Michael Siegel       AUy Don Bulson       Email           A tty/Client          Plaintiffs' Counsel
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                                    Larson; Atty Arthur Levine; Atty Don
                 57   912811999                   Sulson                      Ally Kevin Marks      Leiter   Alty/Client-Joint lnter.;st   Plaintiffs' Counsel


                 58   9129/1999               Michael Siegel                  Atty Don Bulson       Email           AttyiCifent            PlainUifs' Counsel


                 59   101811999              Ally Don Bulson                  A tty Kevin M<tfl(s   Lelter   AUy/Ciien!· Joint Interest    Plaintiffs' O>unsel


                 60   1018/1999              Ally Kevin Marks                 Ally Don Bulson       Let1er   AttyfCiient- Joint tnlemst    Plainliffs' Counsel


                 61   10/1111999              1\'lich;,ei Siegel              Atly Don Bulson       Email           Alty!Client            Plaintiffs' Counsel


                 62   10[11/1999             Atty Don Bulson                   Michael Siege\       Email           AttyfCiient            Plaintiffs' CourJsel


                 63   10!1111999             A tty Don Butson                  Michael Siegel       Email           Alty/Ciienl            Plaiotilfs' Counsel


                 64   1011'111999              Michael Siegel                 A\\y Don Bulson       Email           My/Client              Plalntitfs' Counsel


                 65   10/1211999              A~ Den Bulson                    Michael Siegel       Email           AltyfCiienl            Plain~Hs' O>unsel

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                 66                                                           Atty Don Bulson       Notes       Ally Work Product          Plaintiffs' Counsel

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                  71   11/4/1999                Michael Siegel                Atty Don Butson      Email             A tty/Client          Plainlifts' Counsel


                  72   1115!1999                                              Ally Don Bulson      Notes         Ally Work Product         Plaintiffs' Couns€l


                  73   11/811999               At\y Kevin Marks               Atly Don Bulson       Letter    AttylCiien!·Joint Interest   Plaintiffs' Counsel


                  74   11/1211999    Ally Don Bulson. Atty Dennis Larson      Ally Kevin Marks    Facsimile   Ally/Client-Joint Interest   Plaintiffs' Counsel


                  75   12(6/1999                Michael Siegel                Atty Don Bulson      Leiter            Atty/Ciient           PlainliHs' Counsel


                  76   121611999               Atty Kevin Marks               Atty Don Bulson      Letter     Atty/C!ienhJoint Interest    Plaintiffs' Counsel


                  77   12/611999                Michael Siegel                Alty·Don Bulson       Letter           Alty/CI!ent           Plalnlif1s' Counsel

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                  70   '\2110/1999        Buls-on, Arty Arthur Levine         Atty Kevin Marks     Letter     AttyJC!ient-Joinllnteresl    Plitinliffs' Counsel


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                    66    1/212000      A!ty Oon Bulson         Michael Si~e1      Ema1l           Ally!Ciient            Plaintiffs' Counsel


                    87    '11312000      Michael Siegel        Ally Don Bulson     Email           A!tyfCiien\            Plaintiffs' Counsel



                    88    1/312000      Ally Kevin Marks       Atty Don Bulson     EmaH     Atty/Ciient-Joint Interest    Plaintiffs' Counsel


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                                      Joanne & Laura Siegel; Atty Arthur
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                 103   3/1f2000                     Bulson                    Ally Kevin Marks     Letter   Al!y/Ciient-Jointlnterest     Plaintiffs' Counsel


                 104   317{2000               Ally Kevin Marks                 Atty Don Bulson     Email    Atly/Ciient-Joinlln!erest     Plaintiffs' Counsel

                                      Joanne & Laura Siegel; Ally Arthur
                 105    31812000          Le\lins; Atty Don Bulson            Atty Kevin Marks     Leller          AltyfCiienl            Plaintiffs' Counsel


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                  112   4!3JZOOO         Bulson; Atty Arthur levine            Atty Kevin Marks     Letter      A!ty/Ciient-Joinl Interest    Plaintiffs' Counsel


                  113   4/512000                                               Alty Don Bulson      Notes          Alty Wmk Product           Plaintiffs' Counsel

                                      Joanne & Laura Siegel; A tty Oon
                  114   415/2000         8u1son; Altj• Arthur LeYine           Ally Kevin Marks    Facsimi\e    AttyfCiient-Join! Interest    Plaintiffs' Counsel

                                      Joanne & Laura Siegel; Atly Don
                  115   4111/2000        Bulson; Atty Arthur Levine            Alty Kevin Marks    Facsimile    Atly/Ciient-Joinllntefesl     Plaintiffs' Counsel


                  116   4/1212000             Ally 1-<evil! Marks              Atty Oon Bulson      Email       AHy/CIIent-Joint lnlere.st    Plaintiffs' Counsel


                  117   4/1212000             A tty Oon Bulson                 Ally Kevin Ma•k.s    Email       At\y/Ciient-Joint Interest    Plaintiffs' Counsel


                  118   4/1712000             Atly Don Bulson                   Michael Siegel      Email              Atty/Ciient            Plainlitts' Cotlrlsel


                  119   411712000             Atty Don Bulson                   Michael Siege\      Email              A\ly/C!ienl            Plaintiffs' Counsel


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                    126   5!312000             Ally D<m Bulson            Alty Kevin M<irks   Email     AttyfCiient-Joint lnlerest   Plaintiffs' Counsel


                    127   5/412000            Alty l<evin Marks           Atty Don Bulson     Email     Alty/Client-Jointlnterest    Plaintiffs' Counsel


                    128   514[2000             Atly OM Bulron             Atty Kevin Marks    Email     A!ly/Cfrent-Joint Interest   Plaintiffs' Counsel


                    129   5/5[2000            Ally Kevin Marks            Any 00!1 Bulson     Email     AllyfC!ient-Join\ 1n!eresl   Plaintiffs' Counsel


                    130   51512000             Ally Don Bulson            Ally Kevin Marks    Email     AllyfCiient.Joint Interest   Plaintiffs' Counsel


                    131   5/8{2000             Atty Don Bulson            Ally Kevin Marks    Email     AltyfCiieot-Joinl Interest   Plainllffs' Counsel


                    132   5{812000            Alty Kellin Marks           Ally Oon Bulson     Email     Atty/Ciient-Joint lntere51   Plalnlirfs' Counsel


                    133   5[!)/2000            Ally Don Bulson            Ally Kevin Marks    Email     Ally/Client-Joint Interest   Plaintiffs' Counsel


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                  142   6!2 712 (}(){)           Michael Siegel               Ally Don Bulson      Email            A\ty/Ciienl           Plainl!lf5' Counsel


                  143   7/5(2000                                              /\tty Don Bulson     Noles        Atty Work Product         Plaintiffs' Counsel


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                  145    7{l{2000               Ally Dan Bulson               Alty Kevin Marks     Lel!er    Atty/Ciimt-Joint lnleres\    Plaintiffs' Counsel


                  146   7/10!2000               Ally Kevin Marks              Atty Don Bulson      Email     Ally/Client-Joint Interest   Plaintiffs' Counsel


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                  143   7/14{2000                                             Ally Don Bulson      Notes        Ally Work Produc!         Plaintiffs' Counsel

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                 15B   7/2112000             Atly Don Bulson                Atty Kevin Marks    Leiter   AUy/C\ient-Join\ Interest    Plaintiffs' Counsel


                 159   712412000            Ally l<evin Marl<s               ANy Don Bulson     Email    Ally/Ciient-Joinllnlerest    Plaintiffs' Counsel


                 160   7124/2000             Atly Kevin Ma£1\s               Ally Don Bulson    Email    AUyiCiienl-Joinllnleiesl     Plalnlilfs' Counsel


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                 169   817(2000       Atty Don Bulson          Michael Siegel        Email                A!tyfC!tent            Plaintiffs' Counscl


                 170   818120(}0      Micha•?l Siegel         Alty Don Bulson         Email               A tty/Client           Plaintiffs' Cou11sel


                 171   818/2000       Atty Don Bulson          Michael Siegel         Em a~ I             Atty!CIIenl            Plaintiffs' Counsel


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                 173   8/1012000      Michael Siegel          Atty Don Bulson         Email               Ally/Client            Plainll!1s' Counscl


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                 175                                          Alty Don Bulson        Notes            Atty Work Product          Plaintiffs' counsel


                 176   812512000       Michael Siegel           Don Bulson            EmaJI               A tty/Client           Plaintiffs' Counsel
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                184     9117{2000       Atty Don Bulson        Michael Sil,l9el      Email             AttyECiient            Plaintiffs' Counsel


                185     9!18!20(]0       Michael Siejlel      Atty Don Bu:son        Email             Ally/Client            PtainhHs' Counsel


                186     9!21{201}0      Ally Don Bu1!30n       Michael Siege\        Email             Atly/Cilent            Plaintiffs' Counsel


                187     1012612000      Ally Don Bulson       Ally Kevin Mari<s     Facsimile   Ally/Client-Joint lnte~est    Piainlilfs' Counsel


                188     U/212000                              Ally Don Bulson        Noles         Atty Work Product          Plaintiffs' Counsel


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                198   1218!2000       MichaE~I Siegel        Ally Don Bulson    Email           Ally/Client            PlainliHs' CooriSel


                199    11312001      Any Oon Butson         Ally Kevin Marks    Email    Ally/C!ienl-Joinllnleresl     Plaifltilfs' Counsel


                200   111612001      Alty Dc•n Bulson        Ally Kevin Marks   leiter   AtlyfC!ienhJolnt lfllerest    Plaintiffs' Counsel


                201   1{3012001      Alty Don Bulson          Michael Siegel    Email           At1yJCiier~l           Plainlitfs' Counsel


                202    113012001     Michael Siegel          Atty Don Bulson    Email           Ally/Client            Plaintiffs' Counsel


                203    1[31!2001     Michael Siegel          Ally D<ln Bulson   Email           AttyfCiient            Plaintiffs' Counsel


                204   2/16!2001       Michael Siegel         Ally Don Bulson    letter          AltyfCiienl            Plaintiffs' Counsel

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                 210   51412001       Michael Siegel         Ally Don Bulson        letle:               AllyiCiient            Plaintiffs' Counsel


                 211   511712001                             Ally Don Bulson     Letter (D1afi)      Atty Work Product          Plaintiffs' Counsel


                 212   fil1412001     Michael Siegel         A\ly Don 8ulson         Email               Atty/Clienl            Plainlifls' Counsel


                 213   612612001      Michael Siegel         Any Don Bulson          Letter              Ally/Client            Plaintiffs' Counsel


                 214   713!2001                              Atty Don Bulson     Le\ler(draft)       Atty Wo1k Product          Plaintiffs' Counsel


                 215   71912001       Michael Siegel         Atty Don Bulson         Leiter              Atty/Ciienl            Plaintiffs' Counsel


                 216   7130/2001      Alty Don Bulson       Alty Kevin Marks        Leller        Atly/Ctient.Joint In west     Plaintiffs' Counsel


                 217   713012001      A\1y Don Bulson        Atty Kevin M;}fts      Leiter        Atty/Ciiertt-Jainllnleresl    Plaintifls' Counsel


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              226    912412001           Ally Dor\ Bulson              Any Kevin Marks      Leiter      At!y/Clienl-Joint Interest     Plaintiffs' Counsel


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              229    101\7{2001          Ally Don Bulson               Atty Kevin Marks     letter      Ally/Client-Join\ Interest     Plaintms· Counsel


              230    i0/19!2001   Laura Siegel & Ally Don Bulson       Atly Kevin Marks     Letter      At\y/C\!ent-Jointlnteres\      Plaintiffs' Counsel


              231    10f191200t   Laura Siegel & Alty Don Bulson       Atly Kevin Marl\s    Leiter      Atly/Ciienl-.Joinllntercs!     Plaintiffs' Counsel


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                  238    1/~12002      Atly Kevin Marks           A tty Don Bulson      Email       AttyfCiient-Joint Interest    Pialntiffs' Counsel


                  239    1/312002      A tty Kevin Mar lis        Ally Don Bulson       Email       Atty/Ciient-Joinl lnlefest    Plaintiffs' Counsel


                  240    1/312002      Atty Don Bu!soa           AHy Kellin Ma1!<.s      Email       Ally/Client-Joint Interest   Plai[)(iffs' Counsel


                  241   1/10/2002      Arty Don Bulson           Ally Kevin Marks        Email      Ally/Client-Joint Interest    Plaintiffs' Counsel


                  242   112212002      Ally Don Bulson           Atty Kevin Marks       Email       AttyfCiient..Joint Interest   PlainUifs' Counsel


                  243    2/5(2002      Ally Don Bulson            Michael Siegel         Email              Arty/Client           Plainlitts' Counsel


                  244    2/6(2()02     A!ty Don Bulson            Michael Siegel         Email              Ally/Client           Plaintills' Counsel


                  245    2[7{2002       Michael Siegel            Ally Don Bulson        Email              Atty!Ciienl           Plaintiffs' Counsel

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                 253   S/10/2002               Micl1ael Siegel                Ally Den Bulson   Email             Ally!Ciienl           Plainlitfs' Counsel


                 251   5/10.12{}1}2   Atty KeVin Marks & Michael Siegel       Atty Don Bulson   Letter     My/Client-Joint Interest     Plain\itfs' Counsel


                 255   5/10/2002              Ally 1-<evin Marks              Atty Don Bulson   Leiter     At\y/Cttenl-Joint Interest   Plaintiffs' Counsel


                 256   511BJ2002              Atty Oon Bulson                 Michael Siegel    Email             Alty/C!ient           Plaintifts' Counsel


                 257   512812002               Micha1~l Siegel                Atty Don Bulson   Email             Ally/Client           Plaintiffs' Counsel


                 258   7131/2002               Michaol Siegel                 Atty Don Burson   Email             Arty/Client           Plaintiffs' Counsel


                 259   8{13/2002               Michael Siegel                 Ally Don Bulson   Email             A!tyfCiienl           Plaintiffs' Counsel


                 260   8T14/2002              At!y Oon Bulson                 Michael Siegel    Email             J\ttyiCiient          Plaintiffs' Counsel
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                 267   9f3f2002      Any Don Bulson         Michael Siegel    Email         Ally/Cflenl      Plallltilfs' Counsel


                 268   9/412002       Michael Siegel       Alty Don Bulson    Email         Atly!C!ient      Plaintiffs' Counsel


                 269   9/19!2002     Atty Don Bulson        Mic!1ael Siegel   Email         AttyfCiient      Plainliffs' Counsel


                 270   9/19!2002      Michael Siegel       Any Dan Bulson     Email         My/Clioot        Plaintiffs' Counsel


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                 272   9123/2002      Michael Siegel       Alty Don Bulson    Ema1l         Alty/CII®t       Plaintiffs' Counsel


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                  281   111812002      Atty Don Bulson       Michael Siegel      Email         Atty/CIIent       Plaintiffs' Counsel


                  282   11/19/2002                           Ally Don Bulson     Notes     Ally Wo~ Product      Plaintiffs' Coun.sel


                  283   1112512002     M'chael Siegel        A\\y Don Bulson     Email         AUy/Ciienl        Plaintitts' Counsel


                  284   11!27!2002     Ally Don Bulson       Micl1ael Siegel     Email         Alty/C~ient       Plaintiffs' Counsel


                  285   1211912002     Atly Don Bulson       Michael Siegel      Email         AtlyfCHent        Plaintiffs' Counsel


                  286   1/16!2003      Alty Don Bulson       Michael Siflije!    Email         Atty/Ciient       Plaintiffs' CoLlnsel


                  287   1/2312003                            Atty Don Bulson     Notes     A\\y Worl<. P10duc1   Plaintilts' Counsel


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                  295   4J7/2003      Ally Don Bulson          Micllael Siegel      Email            AllyfCiienl           Plaintiffs' Coun5el


                  296   41712003      Michael Siegel           Ally Don Bulson      Email            A\tyfCiienl           PlainUffs' Counsel


                  297   4/14/2003     Micllael Siegel          Alty Don Bulson      Email            AllyfCiient           Plainliffs' Counsel


                  293   411412003     Ally Don Bulson          Michael Siegel       Email            A\ty/Ciienl           Plaintiffs' Counsel


                  299   411Gf2003     AUy Don Bulson        Joanne & Laura Siegel   Lelter    AUy/Cifent.Jolnl Interest    Plaintiffs' Counsel


                  300   4/16f2003     Ally Don Bulson          Mlchael Siegel       Email            Atty/Client           Plaintiffs' Counsel


                  301   4f30F2003     Any Don Bulson         Alty Marc ToberoH      Letter    Al\yfCiient-Joinllntet'est   Plaintiffs' Coun5el


                  302   5/612003      Ally Don Bulson          Michael SiegEl       Email            My/Client             Plaintiffs' Counsel
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                  308    !i/1212.003    Michael Siegel           Atty Don Bulson       Email                Ally/Client          Plainlitls' Counsel


                  309    511212003     Ally Don Bulson           Michael Siegel        Email                A\ty/C!ient          Plainl.iHs' Counsel


                  310    512712003     Ally Oo.n Bulson           Michael Siegel       Email                Ally/Client          PlaintiHs' Counsel


                  311    512712003     Ally Don Bulson            Michael Siegel       Email                AHy/CRent            Plaintiffs' Counsel


                  312    5129)2003     Atty Don Bulson            Mic~ael Siegel       Email                AttyfCiient          Plaintiffs' Counsel


                  313     El!J/2003                              Ally Don Bulson       Notes         AtlyfCiient-Joinllnlerest   Plainlilfs' Counsel


                  31!;    619[2003      Michael Siegel           A\ly Don Bulson       Email                Atty/Ciienl          PlaintiHs' Counsel


                  315    611012003                               Ally Don Bulson       Notes           AHy Work. Product         Plaintiffs' Counsel


                  316    €[13!2003     Ally Don Bulson            Micr1ael Siegel      Email                Atly/Ciienl          Plaintitts' Counsel
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                 324    7/1412003      Michael Siegel         Ally Don Bulson        Email                AltyfCiienl            Plaintiffs' Co~om~el


                 325    7116!2003     Any Don Buls.on        Ally Marc Tobarotl    Facsimile       AtlyfClienl-Joint Interest    Plaintiffs' Counsel


                 326    712112003                             Ally Don Bulson        Noles         AllyiC!ient..Joint Interest   Plaintilfs' Counsel


                 327    Sif-12003     Ally Don Bulson        Any MarcToberoH         lelier        AUy/Crient.Joiflt Interest    Plaintiffs' Counsel


                 328     B/612003     A\ly Don Bulson        Ally Marc Toberolf      Letter        AUyfClient.Joint Interest     Plaintiffs' Counsel


                 329    811212003                             Alty Don Bulson     Letler{dratl)       Aliy Work Product          Plainlitfs' Counsel


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                  337    10127{2003     Michael Siegel        Atty Don BIJison   Email         A tty/Client      Plain!ilts' Counsel


                  3;}6   10!23(2003     Ally Don Bulson       Michael Siegel     E.mait        Alty/Clienl       Plaintiffs' Counsel


                  339    11/1312003     Ally Don Bulson       Michael Siegel     Email         Alty/Ciient       Plaintiffs' Counsel


                  340    11/13)2003     Michael Siegel        AHy Don Bulson     Email         AllyfClient       Plaintiffs' Counsel


                  341    11/18120!)3                          Atty Don Bulson    Notes      Ally Work Product    Plaintiffs' Counsel


                  342    5!11120(}4                           Atty Don Bulson    Noles      A\ly Work P reduct   Plaintiffs' Counsel


                  343    511112004      Any Dor. Bulson       Michael Siegel     Email         i\1\yfCilent      PlainUifs' Counsel


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                 350    611012004      Michael Siegel         Ally Don Bulson    Email            Ally/Client           Plaintiffs' Counsel


                 351    6f15f2004     A\ly Don Bulson          Mictlaet Siegel   Email            Ally/Client           Plaintiffs' Counsel


                 352    6f17f2004      Michael Siegel         A tty Don Bulson   Email            Ally/Client           Plaif\liffs' Counsel


                 353    6/21!2004      Michael Siegel         Ally Don Bulson    Email            Ally/Client           Plaintiffs' Counsel


                 354    6.121/2004    Atty Don Bulson          Michael Siegel    Email            AUy/Ciient            Plainlilts' Counsel


                 355    612112004     Atty Don Bulson          Micnael Siegel    Email            A tty/Client          Plaintiffs' Counsel


                 356    6124{2004     Ally Kevin Marl<s       Alty Don Bulson    Email     AttylCiienl,Joint lnlerest   Plaintiffs' Coun:oel


                 357    6f27F2004     AUy Don Bulson          Atty Kevin Marks   Email     AttyfC!ienl-Joint Interest   Plairlhlls' Counsel


                 358    712712004     AUy Don Bulson           Michael Siegel    Em aU            A!tyfCiient           Plaintiffs' Counsel
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                   364   8f1SI2004      Ally Don Bulson          Michael Siegel      Email            Ally/Client            PlainliHs' Counsel


                   365   8f19f2004      Mictlael Siegel          Alty Don Bulson     Email            AllylCiienl            PlalntiHs' Couosel


                   366   8122{2004       Kevin Mari\s            Atty Don Bulson     Letter    Atty/Ciien!-Join\ Interest    PlainUHs' Cou~el


                   367   !>122!2004       KevinMarl<s            Atty Don Bulson     Letler    Alty/Ciien!-Joif\1 Interest   Plaintiffs' Counsel


                   36S   101512004       Michael Siegel          Atty Don Bulson     Email            Any/Client             Plaintiffs' Counsel


                   369   101512004       Michael Siegel          Alty Don l'lulson   Email            AltyJC\\ent            Plaintilts' Counsel


                   370   10[612004      Atty Don Bulson          Michael Siegel      Email            Ally/Client            Plainliffs' Counsel


                   371   10{6/2004      Atty Don Bulson          Michael Si~el       Email            AHy/CHenl              PlaintiHs' C<lunsel


                   372   1()/1012004    Ally Don Bulson           Michael Siegel     Email            A\lyiC\ienl            Plaintiffs' C<Junsel
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                   379    11/17/2004     Atty Don Bulson        Atty Marc Toberofl    Ema\1    Alty/C!ient-Joint Interest    Plaintiffs' Counsel


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                   362    11118/2Gfr4     Midla•el Siegel        Ally Don Bu!son      Email           AttyfCiient            Plaintiffs' Counsel


                   383    11t19noo4       Michael Siegel         Atty Don Bulso11     Email           Atty/Ciient            Plaintiffs' Counsel


                   3M     11/1912004     Ally Di>n Bulson         Michael Siegel      Email           Atty/Ciient            PlaintiffS' Counsel


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                  394    214!2005      Micllael Siegel        Atty Don Bu!s(){l   Email           Alty/Ciient            Plaintiffs' C<Junsel


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                  396    2!512005      Atty Don Bulson        Michael Siegel      Ema11           Atty/Ciient            Plaintiffs· Counsel


                  3!)7   2{5[2005      Ally Don Bulson         Michael Siegel     Email           AttyfCiient            Plaintiffs' Counsel


                  398    2f5120{}5      Micllael Siegel       Ally Don Bulson     Email           AttyFCI\ent            Plaintiffs' Counsel


                  399    2!6/2005      Atty Don Bulson        Michael Siegel      Email           A!ty!Ciient            Plaintiffs' Counsel


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                     407    '10/2412005    Michael Siegel         Ally Don Bulson    Email            A\iy/Ctie11t           Plaintiffs' Counsel


                     403    10£24{2005     Atty Don Bulson        Mio.'lae\ Siegel   Email            A tty/Client           Plaintiffs' Counsel


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                     411    10131/2005                            Alty D1>n Bulson   Noles     A1tyiCiie11l-Joint lnlerest   Plaintiffs' Counsel


                     412    11/18!2005    Atty Marc ToberoH       Atty Don Bulson    Email     Atty/Ciienl-Joinllnteresl     Plaintiffs' Counsel


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                              Nicholas C. Williamson (CA State Bar No. 231, 124)
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                         5
                              Attorneys for Plaintiffs and Counterclaim Defendants
                         6    JOANNE SIEGEL and LAURA SIEGEL LARSON
                         7                          UNITED STATES DISTRICT CO                                  T ,-- ,          "         --v
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                         8           CENTRAL DISTRICT OF CALIFORNIA- EAST'�                                        �'   �WIS�ON
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                              JOANNE SIEGEL, an individual; and       Case No. CV 04-084?�\ � Cl:��(RZx)
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                              LAURA SIEGEL LARSON, an
                              individual,                              [Honorable Stephen                 �.Larson]
                                          Plaintiffs,
                        12
                                    VS.                                PLAINTIFFS JOANNE SIEGEL
                                                                       AND LAURA SIEGEL LARSON'S
                        13                                             MEMORANDUM OF POINTS
                              WARNER BROS,                             AND AUTHORITIES IN
                        14                                             SUPPORT OF MOTION FOR
                              ENTERTAINMENT INC., a
  (                     15    corporation; TIME WARNER INC., a
                                                                       PARTIAL SUMMARY
                                                                       JUDGMENT
                              corporation; DC COMICS, a general
                        16
                              partnership; and DOES 1-10,
                        17                                            [Complaint filed: October 8, 2004]
                                            Defendants.
                        18
                                                                       Date: TBB-.Y(,\ \.:;; II.) 2 CC' '7
                        19·                                            Time: 10:00 a.m.
                                                                       Place: Courtroom I
                        20    DC COMICS,
                        21                                            [Notice of Motion; Statement of
                                             Counterclaimant,          Uncontroverted Facts and
                        22        vs.                                  Conclusions Of Law; Declaration
                        23                                             of Marc Toberoff; Request For
                              JOANNE SIEGEL, an individual; and        Judicial Notice and [Proposed]
                        24    LAURA SIEGEL LARSON, an                  Order Filed Concurrently
                        25
                              individual,                             Herewith]
                        26                Counterclaim Defendants.
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                     4 Twentieth Century Fox Film Corp. v. Entertainment Distrib.,
                                             429 F.3d 869 (9th Cir. 2005) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .29
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                   9 Woods v. Dunlop Tire Corp.,
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                 1 1 Yardley v. Houghton Mifflin Co.,
                             108 F.Zd28 (2na Cir. 1 939), cert. denied, 309 U.S. 686 . . . . . . . . . . . . . . . ... 29
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                 17 Duran v. Duran,
                                             1 50 Cal. App.3d 176, 1 80 (1983) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .... . . . . . . . . . . . . 60
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                 20 Forgeron, Inc. v. Hansen,
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                 23 Grove v. Grove Valve & Reg. Co.,
                                             4 Cal. App. 3d. 299, 3 1 1 -3 12 ( 1 970) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. 5 8
                 24
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                 25                          1 95 Cal. App. 3d 768, 776 (Cal. App. 1 st Dist. 1 987) . . . . . . . . . . . . ... . . . . . .27

                 26 Kruse v. Bank ofAmerica,
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                             5 5 Cal. App. 3d 937 (1 976) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ... 5 8
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             6                1 3 1 Cal. App. 4th 1445, 1460-1 (2005) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . .6 1
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                 1 7 U.S.C. § 3 04(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ... . . . . . . .... 1 1 ,1 3 , 14, 1 6
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                 1 7 U.S.C. § 3 04(d) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ... . . . . . . . . . . . . . . 1 1 ,1 3,14, 1 6,22,23
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(           27   1-3 Corbin on Contracts § 3.36 (2006)                                                   . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..... . . . . . . . . . . . . . .       57
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               4    Nimmer On Copyright § 6.12[B] . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
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           11       1 Williston on Contracts (4th ed. 1 990) § 4: 1 8, § 4:26 . . . . . . . . . . . . . . . . . . . . . . . . . . . ...60
           12       1 Witkin, Summary of Cal. Law (9th ed. 1987) Contracts, § 6, p. 44 . . . . . . . . . . . . . 5 8
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                                                  PLAINTIFFS' MOTION FOR PARTIAL SUMMARY JUDGMENT


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           1   I.    INTRODUCTION

(.        2          P laintiffs Joanne Siegel and Laura Siegel Larson ("Plaintiffs") are the widow
          3    and daughter,respectively,of Jerome Siegel ("Siegel"),the co-author of the world
          4    renowned comic book hero, "Superman," and the author of "Superboy." These cases
          5    arise out of Plaintiffs' proper exercise of their right under section 304(c) of the 1976
          6 United States Copyright Act,17 U.S.C. § 304(c),to recapture Siegel's original

          7    copyrights in "Superman" and "Superboy" by serving statutory notices on the
           8   defendants herein ("Defendants") on April 3, 1997 and November 8,2002,
           9 respectively terminating Siegel's prior grant(s) of "Superman" (the "Superman

          1 0 Termination") and "Superboy" (the "Superboy Termination") to Defendants'

          11   predecessor(s). Plaintiffs' statutory terminations complied with all the requirements
          12 of 17 U.S.C. § 304(c) and 37 C.F.R. § 20Ll O,the regulations promulgated

          13   thereunder by the Register of Copyrights.
          14         On April 16,1999,the noticed "Superman" termination date,the joint
(         15   copyright interest that Siegel had conveyed in "Superman" to Defendants'
          16   predecessors,duly reverted to Plaintiffs, sixty-one years after Siegel's original
          17   conveyance. On November 17,2004, the noticed "Superboy" termination date, the
          18   copyrights that Siegel had conveyed in "Superboy" to Defendants' predecessors duly
          19   reverted to Plaintiffs, fifty-six years after Siegel's original conveyance.
          20          In the "Superboy" action (Case No. 04-8776 SGL (RZx)) Plaintiffs and
          21   Defendants filed cross-motions for partial sunmlary judgment and summary
          22 judgment, respectively. The Honorable Ronald S.W. Lew denied Defendants' motion

          23   and granted Plaintiffs' motion in its entirety, holding that Plaintiffs' Superboy
          24 Termination is valid and that Plaintiffs thereby recaptured the original "Superboy"

          25 copyrights. In so holding the Court found that each of Defendants' purported
          26 defenses lacked merit. Defendants have asserted a number of the same defenses with

(
          27 respect to the Superman Termination, discussed below.

          28         Plaintiffs hereby move for partial summary judgment that their statutory

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                                  IJ                                       ( --,


          1   Superman Tennination is valid as a matter of law with respect to the original

(        2    "Superman" comic strips comprising the "Superman" story published in "Action
         3    Comics, No. 1," and that Plaintiffs have thereby recaptured Siegel's co-author share
                                                                                                                  t
         4    of the copyrights therein.
                                                                                                                  \
         5           Plaintiffs move to dismiss Defendants' First and Second Alternative
         6    Counterclaims and parts of their Fifth Alternative Counterclaim, as such relate to
         7 Plaintiffs' recapture of Siegel's original "Superman" copyrights,because the defenses

          8   alleged therein lack merit.J
          9          Plaintiffs also seek a ruling that they are entitled to an accounting by
         1 0 Defendants of all profits earned from Plaintiffs' recaptured "Superman" copyrights

         11   both in the United States and foreign territories based on "black letter" state law
         1 2 principles entitling co-owners to an accounting of all profits as "tenants-in-common." ·

         13          Plaintiffs also move for an order dismissing Defendants' Third and Fourth
         14 Alternative Counterclaims on the ground that no binding written agreement disposing
c        15   of Plaintiffs' recaptured copyrights was ever consummated by the parties in October,
         16   2001, or thereafter, as a matter of law.
         17          These issues are ripe for summary judgment in Plaintiffs' favor. There are no
         18   material issues o f fact because the relevant facts are undisputed or were adjudicated
         19   in prior litigations between the parties' predecessors; and Defendants are unable to
         20 demonstrate a genuine issue of material fact as to those matters as to which they bear
         21   the burden.
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                                                                                                                       I.
              1 Defendants allege: (i) that Action Comics No. 1 is in part excluded from 1 7 U.S.C. §304(c) as a
         24   purported "work made for hire;" First Amended Counterclaims, Declaration of Marc Toberoff
              (ToberoffDecl.), Exhibit ("Ex."), R ("FACC"), �� 132-135; (ii) that a May 1 9, 1948 consent
         25
              judgment, purportedly constitutes a copyright "grant," not specifically listed in Plaintiffs' notices;
         26   FACC, �� 68-69; (iii) that a December 23, 1975 agreement, purportedly constitutes a copyright
              "grant," and although listed in Plaintiffs' respective notice, was somehow effectively reinstated by
         27   PlaintiffJoanne Siegel's acceptance of pension benefits from Defendants; FACC, �� 70-76; (iv) that
              the Superman Termination was purportedly not timely served; FACC, �� 86-89; and (v) that
         28   Plaintiffs' Superman Termination is purportedly barred by the statute of limitations. FACC, �� 90-
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         1   II.   UNDISPUTED FACTS

(        2         A.     Prior Legal Actions

         3         In 1947, Siegel and Shuster filed an action in the Supreme Court of the State of
         4   New York, County of Westchester (the "1947 Action") against Defendant DC
         5   Comics' predecessor, National Comics Publications, Inc. (''National''), to determine
         6   the valiClity ofv<iri6us-conttacts between Siegel and Shuster and National's
         7   predecessors, including Detective Comics, Inc. ("Detective"), pursuant to which
         8   National claimed to own "Superman," and to determine ownership of Siegel's
         9   "Superboy." See Jerome Siegel and Joseph Shuster v. National Periodical
        10 Publications et al., 364 F. Supp. 1032, 1034-1035 (S.D.N.Y.1973), aff'd 508F.2d

        11   909, 912-913 (2nd Cir. 1974)(both the district court and Second Circuit describe the
        12 background of the 1947 Action).

        13         Pursuant to stipulation of the parties the action was tried before an Official
             Referee of the New York Supreme Court, Judge Addison Young ("Judge Young").
(
        14

        15   Id. After trial of the 1947 Action, Judge Young rendered a comprehensive opinion
        nr   diited Novemb-e"r21, 1947.- Id.- On-April 12, 1948, Judge Young signed detailed
        17   findings of fact and conclusions of law and rendered an interlocutory judgment from
        18   which no appeal was perfected. Id. After reviewing considerable documentary and
        19   testimonial evidence, Judge Young found that National owned "Superman" pursuant
        20 to a written grant dated March 1, 1938 (the "March 31, 1938 Grant") but that Siegel

        21   was the sole author and owner of "Superboy." See Judge Young's Findings of Fact
        22   ("1948 FOF") and Conclusions of Law ("1948 COL") dated April 12, 1948
        23   (collectively, the "1948 Findings"), Toberoff Decl., Ex. B and Request for Judicial
        24   Notice ("RJN"), Ex. B.
        25         Settlement negotiations ensued, resulting in a stipulation of settlement by the
        26   parties dated May 19, 1948 ( the "May 19, 1948 StipUlation"), and pursuant to the

C       27   stipulation the entry in the New York Supreme Court of a final consent judgment
        28   dated May 21, 1948 (the "May 21, 1948 Consent Judgment"). Siegel, 364 F. Supp. at

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         1·,W34-1035;-5Q8cF.2d at912-913. See ToberoffDecl., Exs.S, T.

(        2          In 1969,Siegel and Shuster sought declaratory relief in the U.S.District Court
         3    for the Southern District of New York regarding ownership of the renewal
         4 copyright to "Superman," resulting on appeal in the Second Circuit's decision in
         5    Siegel, supra. The district court and Second Circuit relied upon Judge Young's
         6    opinion, findings of fact, conclusions of law and resultant consent judgment after
                                                                                                   ·
         7    settlement of the 1947 Action and held them binding on the parties under the doctrine
         8    of res judicata. Based thereon it was held that National owned the renewal copyright .
         9 to "Superman" under the March 31,1948 Grant. Siegel, F.2d at 912-913.
        10          B.     The Creation of Superman

        11          The facts and conclusions set forth below are from the 1948 Findings, the
        12 district court's and Second Circuit's decisions in Siegel, supra, and/or from
        13 Defendants' First Amended Counterclaims as noted below.

        14          In 1933,Siegel conceived of the original idea of a cartoon strip featuring a
(        15   unique man of superhuman powers who would perform feats for the public good.
        16 Siegel called him "Superman." Siegel, 508F.2d at 9 1 1; 1948 FOF, fact 9; FACC, � 6�
        17 In or about 1933 Siegel wrote, and the artist, Shuster illustrated and "inked" multiple
         18   "Superman" comic strips intended for publication in a newspaper format, Siegel,
        19 508F.2d at 9 1 1, 1948 FOF, Facts 8, 10; FACC, � 7,which consisted of "(a) twenty-
        20 four days (four weeks) of Superman comic strips intended for newspapers (the "1933          .
        21    Superman Strip"); (b) a seven page synopsis of the last eighteen days (weeks 2-4) of
        22    such strips; (c) a paragraph previewing future Superman exploits; (d) a nine-page
         23   synopsis covering an additional two months of daily [Superman] comic strips; and (e)
         24 fifteen daily comic strips. FACC, � 7; see 1948 FOF, Facts 8, 10.
         25         By 1934, "Superman and his miraculous powers were completely developed
         26   [by Siegel and Shuster]." Siegel, 508F.2d at 911,9 14; 1948 FOF, Facts 8- 1 l .

(        27   "Superman" was submitted by Siegel and Shuster "to a number of prospective
         28   publishers and newspaper syndicates," but was not accepted for publication. FACC,

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 (        2         Meanwhile,from 1935 to 1937,Siegel and Shuster created other comic strips
          3   that were published. On or about December 4,1937,Siegel and Shuster entered into
          4   an agreement with Detective (the "December 4,1937 Agreement") to produce for
          5   publication two comic features,"Slam Bradley" and "The Spy." FACC,� 10.
          6         One of the early entities to which Siegel had submitted "Superman" was The
          7   McClure Newspaper Syndicate ("McC1ure"). In or about early 1938,McClure
          8   forwarded Siegel and Shuster's 1934 Superman Comic Strip to Detective Comics for
          9   potential publication in its contemplated new magazine,"Action Comics." 1948
         1 0 FOF,Facts 18-19;seeFACC,� 11.

         11         I n early 1938,when Detective Comics expressed interest to Siegel and Shuster
         12   in publishing their 1934 Superman Comic Strip in a magazine,Siegel and Shuster        ';




         13   "cut and pasted" it into a thirteen page format (the " Re-cut 1933 Superman Strip"),so
         14 as to render their newspaper strip more suitable for a magazine publication. Siegel,
 (       15   508 F.2d at 911; 1948 FOF,Facts 17-18,31-33; FACC,� 11. Siegel and Shuster
         16   submitted-their Reccut 1933 Supemran Strip to Detective in February,1938.
         17   1948 FOF,Fact 22. (The 1933 Superman Strip and the Re-cut 1933 Superman Strip
         18   are hereinafter collectively referred to as the "Original Superman Strips.")
         19         "In an agreement with [Detective] dated March 1,1938 [the March 1,1938
         20   Grant],Siegel and Shuster. ..transferred to [Detective] , the strip entitled
         21   'Superman' ... and all goodwill attached thereto and exclusive rights to use the
         22   characters and story,continuity and title of the strip'" in consideration for $130 ($10
         23   per page for the thirteen page Re-cut 1933 Superman Strip). FACC,� 12; 1948 FOF,
         24 facts 24,25, 32; see March 31,1938 Grant,Toberoff Decl.,Ex. E.

         25         The Re-cut 1933 Superman Strip "w[as] in existence ...before the execution of
         26   the instrument of March 1,1938." 1948 FOF,Fact 32. The "March 1,1938

 C       27   [Grant]. ..was executed by [Siegel and Shuster] by reason of their desire to see
         28   SUPERMAN in print and in order to induce its publication by DETECTIVE

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          I -COMICS, INC:';_L948EOF, Fact 28.

(         2          Thereafter, Detective published Siegel and Shuster's thirteen page "Re-cut
          3   1933 Supennan Strip" in the "June, 1938" issue of "Action Comics No. 1," which
          4   was first published on April 18, 1938. 1948 FOF, Fact 31; Toberoff Decl., Ex. F.2
          5          Siegel and Shuster thereafter continued to create "Superman" comic strips
          6   which were published by Detective in subsequent periodical issues. 1948 FOF, Fact
          7   35. On September 22, 1938, Siegel and Shuster entered into an agreement with
          8 Detective (the "September 22, 1938 Agreement") to produce the "artwork and

          9   continuity" for five existing comic strips created by Siegel and Shuster, including
         10   "Superman." 1948 FOF, Facts 39, 46; FACC, � 15.
         11          Also on September 22, 1938, Siegel and Shuster entered into an agreement
         1 2 with Detective and McClure concerning the use of Superman in newspaper strips (the

         13   "McClure September 22, 1938 Agreement"). FACC, � 16.
         14          On December 19, 1939, Detective and Siegel and Shuster entered into a
(        15   supplemental agreement raising Siegel and Shuster's compensation rate for their
        -16 production of the increasingly popular "Supennan" comic strip from $10 to $20 per

         17   page (the "December 19, 1939 Agreement"). 1948 FOF, Fact 52; FACC, � 20.
         18          On December 23, 1975, Siegel and Shuster entered into an agreement with
         19   Warner Communications Inc.("WCI") (the "December 23, 1975 Agreement"), then
         20   National's alleged parent company, which re-acknowledged that WCI was the
         21 exclusive owner of "Supennan," and provided Siegel and Shuster with modest annual

         22   payments and finally, credit as the "creators" of "Supennan." FACC, � 30.
         23          c.     Plaintiffs' Notices of Termination Regarding "Superman"

         24          On April 3, 1997, Plaintiffs availed themselves of their legal right under the
         25
              2
             Detective thereafter registered the Action Comics, No. 1 periodical with the Register of
         26 Copyrights under copyright registration number B : 379787 in the name ofDetective Comics, Inc,
            which was later renewed on June 1 , 1 965 in the name of National Periodical Publications, Inc.

(        27 under copyright renewal registration number R: 362187. The copyright in the "Superman" story
            contained in the Action Comics, No. 1 periodical was also renewed on June 1 , 1965 in the name of
         28 National Periodical Publications, Inc., claiming as proprietor of copyright, under copyright renewal
            registration number R: 362188. See ToberoffDecl., Ex. F; 1948 FOF, Fact 3 1 .
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             1   United States Copyright Act, 17U.S;C. § 304 (c) ("Section 304(c)"), as Siegel's

(           2    widow and daughter, respectively, to recapture Siegel's co-authorship share of the
            3    copyrights in the Original Superman Strips and other Superman works, by serving a
            4    statutory notice of termination on the Defendants that Plaintiffs were terminating the   -
             5   March 1938 Grant. ("Termination Notice No. 1"). Toberoff Decl., Ex. G.
             6         On April 3, 1997, Plai- htiffs also served on Defendants separate notices of
             7   termination of the following additional agreements, to the extent that any might be
             8   construed to contain a grant to any of Siegel's "Superman" works, including the
             9   Original Superman Strips: the December 4, 1937 Agreement (non-applicable)
            10   ("Termination Notice No. 2"), the September 22, 1938 Agreement("Termination
            11   Notice No. 3"), the McClure September 22, 1938 Agreement ("Termination Notice
            12   No.4"), the 1948 Stipulation ("Termination Notice No. 5"), the December 19, 1939
            13   Agreement ("Termination Notice No. 6") and the December 23, 1975 Agreement
            14   (non-applicable) ("Termination Notice No.7"). Toberoff Decl., Exs. H- M.
(                (Collectively, these seven notices of Termination are hereinafter referred to as the
                                                        - ------- -- -
            15
        -
            fo -"Termination Notices") -
                                         : ---------                     -


            17         In particular, Termination Notice No. 2 (re: December 4, 1937 Agreement)
            18   and Termination Notice No. 7 (re: December 23, 1975 Agreement) were served and
            19   filed by Plaintiffs out of an abundance of caution. !d., Exs. H, M. The December 4,
            20   1937 Agreement did not pertain to "Superman;" and the December 23, 1975
            21   Agreement did not contain a grant of copyright in "Superman," and merely
            22   acknowledged that Warner already owned all rights in "Superman." ld.
            23         In each of the Termination Notices, the termination of the grant or potential
            24   grant listed in the respective notice (the "Termination(s)") was noticed to take effect
            25   on April 16, 1999 (the "Termination Date"). The Termination Notices were each
            26   served by Regular Mail, as required, and additionally by Certified Mail, Return

C           27   Receipt Requested. See 37 C.F.R. § 201.10. Plaintiffs' Termination duly complied
            28   with all the requirements ofl7 U.S.C. § 304(c) and 37 C.F.R. § 201.10, the

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             1   regulations promulgated thereunder by the Register of Copyrights.

(            2         Defendants originally aclmowledged that the Notices of Termination are
             3   effective,and that Plaintiffs thereby recaptured and jointly own the copyright(s) to at
             4   least the original "Superman" elements authored by Siegel and Shuster. On April 16,
             5   1997, in response to the April 3,1997service of the Notices of Termination,John A.
             6   Schulman,Executive Vice President and General Counsel ofDefendant Warner Bros.
             7   wrote a letter to Joanne Siegel,stating in relevant part:
             8         "As to the Notices of Termination,I wasn't surprised at their
                       arrival. ..After the effective date of the terminatIOn, there will still
             9         remain 14 years of copyright protection left to the Joint cop)'!ight holders
                       of the origmal Superman elements. Those are what we should�share."
            10

            11   ToberoffDecl., Ex. O.
            12         Defendants similarly aclmowledged that they have a duty to account to
            13   Plaintiffs forDefendants' exploitation of the original "Superman" copyright(s). On
                 October 10,1997,Paul Levitz,President and Publisher ofDefendantDC Comics,
(
            14

            15   wrote a letter to Plaintiffs,stating in relevant part:                                    -,.
            16         "The rSuperman] rights involved are non-exclusive; they are shared with
            17
                       DC. Since both you andDC would have these rights,we would each
                       have the obligation to pay the other for using those rights if you did not
            18
                       re-grant them toDC."

            19   ToberoffDecl., Ex. P.
            20          However,two years later,whenDefendants' initial overtures to buy-out
            21   Plaintiffs had not succeeded,DC sent a letter to Plaintiffs,dated April 15,1999,one
            22   day before the TerminationDate,denying the validity of the Terminations with
            23   respect to any "Superman" copyrights. ToberoffDecl.,Ex. Q.
            24         Soon thereafter,commencing on or about April 30,1999,the parties started
            25   negotiations of a complex transaction regarding Plaintiffs' joint interest in the
            26   "Superman" copyrights. FACC,� 51. These discussions eventually broke down,

 C          27   however, and no agreement was consummated. (For a detailed discussion of this
            28   subject see section III. H.,below.)

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          Ie --=--',",-OnNovemb�er�8,2002,Plaintiffs exercised their right under 17 U.S.C. § 304(c)


(        2    to recapture Siegel's original copyright in "Superboy" by serving statutory notice on
          3   theDefendants herein terminating Siegel's prior grant(s) of "Superboy" to
          4 Defendants' predecessor(s) on the noticed termination date of November 17,2004 .      .
          5   See FACC � 57. On August 27,2004,DefendantDC sent a letter refusing to

          6   recognize the Superboy Termination and Plaintiffs' statutory recapture rights. FACC,.
          7   � 64.
          8           D.    The Current Superman Action and Superboy Action

          9           On October 8,2004,Plaintiffs commenced the instant action for declaratory
         10   relief as to the validity of the "Superman" Notices of Termination,an accounting and
         11   other relief with respect to "Superman" (Case No. 04-8770 SGL (RZx)) (the
         12   "Superman Action"). See Plaintiffs' First Amended Complaint,ToberoffDecl.,Ex.
         13   GG. On October 22,2004,Plaintiffs commenced a related action for declaratory
         14   relief, copyright infringement and an accounting regarding the "Superboy" Notice of
(        15   Termination. (Case No. 04-8776 SGL (RZx))(the "Superboy Action"). See First             '-,.
         16   Amended Supplemental Complaint.
         17           On March 24,2006,this Court (the Honorable Ronald S. W.Lew presiding)
         18   entered an order in the Superboy Action (the "March 24,2006 Order") granting
         19   Plaintiffs' motion for partial summary judgment and denyingDefendants' motion for
         20   summary judgment. ToberoffDecl.,Ex. U. Judge Lew found that Plaintiffs' notice
         21   of termination regarding "Superboy" was valid and that Plaintiffs thereby recaptured
         22   Siegel's original "Superboy" copyright on November 17,2004,the noticed
         23   termination date. Id., at 14-15. In so holding,the Court found thatDefendants'
         24 purported defenses lacked merit. Id., at 8-14. The Court preserved for trial the issue

         25   ofDefendants infringement of Plaintiffs' "Superboy" copyrights. Id., at 14-16.
         26           Defendants thereafter moved for certification/interlocutory appeal of the March

C        27   24,2006 Order under 28 U.S.C. §1292(b), which motion was denied by the Court by
         28

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         1    ,an�ord�Hmtek�d=-Qn�Ma¥�2J}-2906L ToberoffDecl., Ex. V.
(        2    m.    LEGAL ANALYSIS

         3          A.      Standard Of Review

         4          Plaintiffs are entitled to the entry of summary judgment in their favor if,based
          5   on the pleadings and evidence on file,there is no genuine issue of material fact and
          6 Plaintiffs are entitled to judgmeht asa matter of law. Fed. R. Civ. P. 56(c). "Partial

          7 summary judgment" where the Court disposes of some but not all claims or issues

          8   within a claim, is also permitted. Fed. R. Civ. P. 56(c), (d).
          9          "[T]he mere existence of some alleged factual dispute between the parties will
         10 not defeat an otherwise properly supported motion for summary judgment; the

         11   requirement is that there be no genuine issue of material fact." Anderson v. Liberty
         12 Lobby, Inc., 477 U.S. 242, 247-48; 106 S. Ct. 2505,91 L. Ed. 2d 202

         13   ( l986)(emphasis in original). Once Plaintiffs has met its initial burden of
              demonstrating the absence of a genuine issue of fact, the burden shifts to Defendants,
(
         14

         15   as the non-moving parties, to go beyond the pleadings and "designate 'specific facts
         16 showing that there is a genuine issue for trial.'" Celotex Corp. v. Catrett, 477 U.S.

         17   317,324; 106 S. Ct. 2548; 91 L. Ed. 2d 265 (1986); see Gasaway v. Nothwestern
         18   Mut. Life Ins. Co. 26 F.3d 957, 960 (9th Cir. 1994) ("mere allegations or denials" do
         19 not meet the non-movants' burden). To avoid summary judgment the opposing party

         20 must also demonstrate a "genuine" issue of "material" fact on all matters as to which

         21 it bears the burden of proof. Celotex, 477 U.S. at 324; see Lake Nacimento Ranch
                                                          h
         22 Co. v. San Luis Obispo, 841 F.2d 872, 876 (9t Cir. 1987). If Defendants do not meet

         23   these burdens summary judgment must be granted in Plaintiffs' favor.
         24     The instant motion presents a classic example of an issue of law that is ripe for
                                                               ,
         25 summary judgment; namely the validity of Plaintiffs Termination under 17 U.S.C. §

         26

(        27   3Judge Lew took senior status and recused himself, whereupon this case was re-assigned to the
              Honorable Stephen G. Larson. Defendants seized this as an opportunity to improperly re-argue the
         28   parties' motions for summary judgment and Defendants' motion for certification in a purported
              "motion for reconsideration" of both of Judge Lew's orders, which motion is pending.
                                                              10

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         1 304{ci)'and-Plaintiffs' reGaptur�,at a: minimum,of the Original Superman Copyrights.

(        2 There are no material issues of fact because the relevant facts are undisputed or were
         3 previously adjudicated in the 1974 Action and/or the 1947 Action,and Defendants
         4 can not meet their burden as to their purported defenses to the terminations.
         5         B.    The Recapture Right Under The United States Copyright Act

         6         The importance ana legislative purpose of the current Copyright Act's
         7 termination provisions at issue herein (17 U.S.C. § 304(c)) are best understood by
         8 reviewing the policies underlying its enactment and the predecessor provisions which
         9 led up to it. For over two centuries,the United States Copyright Act has consistently
        10 provided authors and their families with the right to regain previously transferred
        1 1 copyright interests. Over time,Congress strengthened and enhanced such "recapture"
        12 rights to protect authors and their heirs so as to enable them to realize the enhanced
        1 3 value o f an authors' copyrighted work. See Stewart v. Abend, 495 U.S. 207,219,110
        1 4 S. Ct. 1750,109 L.Ed. 2d 184 (1990),quoting M. Nimmer & D. Nimmer,Nimmer
(       1 5 On Copyright (hereinafter,"Nimmer On Copyright"), § 9.02. These protections
        16cUlmihated in the current Copyright Act's termination provisions. 17 U.S.C. §§

        17 203(a), 304(c) and 304(d).
        18               1.     Recapture Rights Under The Copyright Acts Of 1790

        19                      And 1831 .

        20         The initial copyright statute,the Copyright Act of 1790 (the "1790 Act"),
        21   provided two separate copyright terms,an initial and renewal term of 14 years each.

                                                                .
        22 See 1 Stat. 124; Stewart, 495 U.S. at 217. Under the 1790 Act,authors and families
                                                                                    .




        23 were permitted during a copyright's renewal term to recapture copyrights assigned
        24 away during their initial term. Id.
        25         In the Copyright Act of 1831 (the "1831 Act"), Congress strengthened the

        26 renewal/recapture right under the 1790 Act. See 4 Stat. 436. In so doing,it

C       27 recognized the right of authors and their families to recover copyrights during the
        28   renewal term that had been previously sold to enable "the author,originally in a poor

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         J-- ,b�].:gqjpjngd?()si1!9n,:::tQ,ren�gotiate the tenns of the grant once the value of the work

(        2   had been tested." Stewart, 495 U.S. at 217. The 1831 Act also prohibited authors
         3   from assigning away their spouse's or children's renewal rights. Id. ; see 4 Stat. 436.
         4 "The e vident purpose of the [renewal provision] is to provide for the family of the

         5   author after his death." Stewart, 495 U.S. at 217, quoting De Sylva v. Ballantine, 351        �
         6 U.S. 570, 582, 76 S. Ct. 974, 100 L. Ed. 1415 (1956).                                           .
         7          The renewal term was intended as a new grant reverting to the author at the end
         8   of the initial term. In fashioning the renewal term Congress was aware that authors
         9   had relatively little bargaining power and often sold or assigned their copyrights to
        10 publishers for small sums just to get their works published. The renewal term was

        11   intended to protect authors who may have struck imprudent bargains and to allow
        12   them to realize a portion of the true economic value of their work. Stewart at 217-20;
        13   see also Nimmer On Copyright, § 9.02.
        14                 2.     Recapture Right Under The 1909 Copyright Act
(       15          The Copyright Act of 1909 ("1909 Act") continued the renewal system and
        1 6 increased--both the initial-andrenewal-terms from 14- to 28 years. See 17 U.S.C. § 24; ·

        17   H.R. Rep. No. 2222, 60th Congress, 2d Sess., 14 (1909). However, unlike the 1831
        18   Act, the 1909 Act did not expressly prohibit authors from signing away their spouse's
        19 or children's renewal rights. As a result, some publishers used their superior

        20 bargaining position to force authors, their spouses and children, to assign to them

        21   their renewal rights long before such rights vested. This practice of "contracting
        22   around" the renewal rights was controversial until the Supreme Court in Fred Fisher
        23 Music Co. v. M. Witmark & Sons, 318 U.S. 643, 657-59, 63 S. Ct. 773, 87 L. Ed.

        24   1055 (1943), held that the renewal copyright expectancy could be assigned during the
        25   initial term, before the renewal copyright vested.
        26         The legislative purpose of the renewal term was thereby effectively gutted by

(       27 Fred Fisher, supra. See Mills Music, Inc. v. Snyder, 469 U.S. 153, 185, 105 S. Ct.

        28   638; 83 L. Ed. 2d 556 (1985) (White, J., dissenting) (Fred Fisher "substantially

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           1·· cthwarted�-'£0hgress�c'goal�of�protecting-authors througb copyright recapture).
                                                                                             _After
(          2 Fred Fisher, publishers routinely insisted that authors assign both the initial and

           3    renewal copyrights in their initial grants, effectively eliminating the intended benefits ,
           4    to authors and their families of the renewal copyright plan. Stewart, 495 U.S.at 219.
           5                   3.      The Termination Rights Under The 1976 Copyright Act

           6           On January 1, 1 978, the Copyright Act of 1 976 went into effect, and with it
           7    major changes to U.S. copyright law that significantly affected the rights of author's
           8    and their families. 1 7 U.S.C. § 101 et seq. (1 978). The 1 976 Act extended the
           9    renewal term from 28 to 47 years for works, such as the early "Superman" works,
          10    that were in their renewal term on January 1 , 1 978 when the 1 976 Act took effect. 17
          11    U.S.C. § 304(a). Congress intended to give the benefit of the 1 9 additional years of
          12    copyright protection to authors and their families rather than to grantees, for whom                    .'




          13    the automatic grant of the extended term would have constituted an unjustified
                windfall. See H.R. Rep. No. 94-1476 ("B. R. Rep."), at 1 40 (1 976).
(
          14

          15           To that end, Congress coupled the term extension with a new right, at issue in
    ... - . To- -tlii s case, bfauthOrs ano thelr statutory heirs-(prin-cipally spouse, children and

          17    grandchildren) to terminate transfers of rights in a copyright's renewal term,
         · 18   pr(wided tll::tt the grant_was " executed ��iore January 1, 1 978," i.e., before the 1 976
          19    Act went into effect. 17 U.S.C. § 304(c).4 The termination clause provides in
          20    pertinent part:
          21           "Tn thp. c.:l�P. of :lnv �onvrip'ht �llh�i�tinp' in p.ithp.r it� tir�t or mnp.w:l1 term on
                       J::tnll:lrv 1 . 1 97R. othp.r th:ln :l c.onvri p'ht in :l work m:lnp. for hirp.. thp.
          22           P.Xdll�ivp. or nOnp.Xc.h l�ivp. P'r:lnt of :l tr:ln�fp.r or 1i c.p.n�p. of thp. rp.np.w:l1
                       c.onvrip'ht or :lnv ri p'ht llnnp.r it. P.Xp.c.lltp.n hp.forp. J:lTIlmrv 1 . 1 97R. hv :lnv of
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                       than by will, is subject to termination under the following conditions: ..."
          24
                4 A closely related tennination provision governs works copyrighted after January 1, 1978. See 1 7
          25
                U.S.C. § 203(a). Sections 203 and 304 are structurally parallel but diverge in some partiCUlars. For
          26    works copyrighted after January 1 , 1 978, Congress established the copyright tenn as the life ofthe
                author plus 50 years (later extended for another 20 years). See 17 US.C. §302(a) (1982). Congress
(         27    also allowed the author or the author's surviving family members to tenninate any license 35 years
                after any grant. See 17 U.S.c. § 203(a). Thus, for both existing and future copyrights, Congress
          28    granted authors and their family members the right to tenninate any grant after a period of time in
                order to recapture the author's copyright.
                                                                  13

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  (        2           As the Supreme Court noted in Mills Music, 469 U.S. at 173: "The principal
           3    purpose of ... § 304 was to provide added benefits to authors... More particularly, the
           4    termination right was expressly intended to relieve authors of the consequences of ill-
            5   advised and unremunerative grants ... " Mills Music, 469 U.S. at 172-73 citing H.R.
            6   Rep. No. 94-1476, at 124 (1976). In devising Section 304(c), Congress recognized
            7   that authors commonly agree to one-sided copyright grants that publishers with far
            8   greater bargaining power design to be as expansive as possible in exchange for as
            9   little payment as possible. H.R. Rep. at 124. The results are often supremely unfair,
           10   as when a work proves financially successful for many years, but enriches only the
           11   grantee and not the author or the author's family.
           12          Indeed, the Supreme Court recently recognized the overall intent of the 1976
           13   Act to "enhance the author's position" and to adjust "the author/publisher balance,"
           14   emphasizing the "inalienable authorial right to revoke a copyright transfer." N . Y.
           15   Times v. Tasini, 533 U.S. 483, 496 121 S. Ct. 238 1 , 150 L. Ed. 2d 500 (2001) ; see
         -lii- iilso Stewart, 495 U:S:- ar230 (,,[1976Actlprovides-an inalienable termination
           17   right"); Marvel Characters, Inc. v. Simon, 310 F.3d 280 (2d Cir. 2002) (settlement
           18   agreement cannot bar termination right); Steinbeck v. McIntosh & Otis, Inc., 433 F.
           19   Supp. 2d 395, 398 (S.D.N.Y. 2006).
           20          The termination right lies in stark contrast to ordinary contract principles, as it
           21   empowers authors and their statutory heirs to terminate grants of copyright without
           22   cause, regardless of the contracting parties' promises, intent or the assignee's
           23   expectations at the time the grant was made. 17 U.S.C. §304(c)(5).
           24          In creating the new termination right, Congress directly addressed the
           25   inequities caused by Fred Fisher and sought to prevent the future erosion of the right
           26   of an author and his family to regain the copyright to an author's original work.

 (         27   Thus, in further abrogation of "freedom of contract" principles, Congress clarified
           28   that the termination right cannot be waived, cancelled or contracted around, and that

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- -- -- --- -                        PLAINTIFFS' MOTION FOR PARTIAL SUMMARY JUDGMENT ·
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          1 "[t]emrination- ofthe grantmay be effected notwithstanding any agreement to the

(         2 contrary." 17 U.S.C. § 304(c)(5) (works copyrighted before January 1, 1978); see 17
          3 U.S.C. § 203(a)(1) (identical for authors' grants executed after January 1, 1978).
          4         To further protect authors and heirs against a repetition of Fred Fisher,
          5   Congress specified that the termination right or interest may not be assigned away
          6   until exercised by service of a notice of termination. See 17 U.S.C. § 304(c)(6)(B)
          7   ("[ a] further grant, or agreement to make a further grant, of any right covered by a
          8   terminated grant is valid only if it is made after the effective date of termination ... [or
          9   as to] the original grantee or such grantee's successor in title, after the notice of
         10   termination has been served..."). Once a prior copyright grant is terminated, an
         11   author's statutory heirs may grant their recaptured copyright to whomever they wish,
         12   fulfilling the purpose to provide such heirs with an opportunity to realize the
         13   enhanced value of such copyrights. Nimmer On Copyright, §11.01[A].
         14         At the same time, the 1976 Act reflected "a practical compromise that [would]
c        1 5 further the objectives of the copyright law while recognizing the problems and
         16 legitimate needs of all interests involved." H.R. Rep. at 124. Thus, termination
         1 7 under Section 304(c) is not "automatic." Id. Rather, authors and their statutory heirs
         1 8 are only permitted to terminate such grants during a five year window beginning
         19 fifty-six years after copyright had originally been secured in order to "recapture" the
         20 copyright for the extended renewal term. 17 U.S.C. § 304(c)(3). Termination is
         21 carried out by serving "advance notice" of the termination "not less than two or more
         22 than ten years before" its effective date. 17 U.S.C. § 304(c)(4)(A).
         23                4.     The Termination Right Under The Sonny Bono

         24                       Copyright Term Extension Act

         25         In 1998, Congress re-affirmed their objectives with respect to the 1976 Act's
         26 termination provisions. The Sonny Bono Copyright Term Extension Act of 1998

C        27 ("CTEA"), effective October 27, 1998, extended the term of protection for works
         28 created prior to January 1, 1978 from 75 to 95 years. 17 U.S.C. § 304(b). As with

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          1   th� 1976-ACJ�s�QriginalJe:["nl�xtension, Congress intended this unforeseen tenn

(        2    extension as a benefit to authors and their families, not as a windfall for grantees or
         3    their successors. Congress therefore once again coupled the extended tenn with a
         4    termination right for authors and their families, provided they had not exercised their
          5   termination right under Section 304(c). 17 U.S.C. § 304(d). See S. Rep. No. 104-
          6   315, at 22-23 (1996); Nimmer on Copyright § 9.11[B] [1].
         7          The economic philosophy behind our copyright law is the conviction that the
          8   public welfare is advanced by providing economic incentives to authors to exercise
          9   their creative talents. Mazer v. Stein, 347 U.S. 201, 219, 74 S.Ct. 460, 98 L.Ed. 630
         10   (1954); Sony Corp. v. Universal Studios, 464 U.S. 417, 429, 104 S.Ct. 774, 78
         11   L.Ed.2d 574 (1984). Congress provided this incentive by giving authors and
         12   thereafter, their immediate family, exclusive copyrights to their work and the ability
         13   to market those rights. 17 U.S.C. §106. When Congress' reversionary renewal
         14   scheme was thwarted, it carefully fashioned the 1976 Act's tennination provisions
(        15   and subsequently CTEA's termination provisions to cure the inequities caused by
       - ro FredFisher, "level the playing-field"-and-promote lhe-economic interests of authors.

         17   l 7 U.S.C. §§304(c),(d).
         18          C.    Defendants Are Bound By The 1 947 State Action and 1974 Federal

         19                Action Under Res Judicata and Collateral Estoppel

         20          It is well established that the findings in a prior litigation are binding on the
         21   parties or their successors in a subsequent litigation involving the same facts under
         22 the doctrines of res judicata and/or collateral estoppel. Kamilche Co. v. United

         23   States, 53 F.3d 1059, 1062 (9th Cir. 1995). Strong policies favor repose and the
         24 finality of prior litigation on the merits. Res judicata and collateral estoppel protect

         25   litigants against "the expense and vexation attending multiple lawsuits, conserve
         26 judicial resources, and foster reliance on judicial action by minimizing the possibility .

(        27   of inconsistent decisions." Montana v. u.s. , 440 U.S. 147, 153-154, 99 S. Ct. 970, 59
         28   L. Ed. 2d 210 (1979). In light of these policies, preclusion is not to be applied in an

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            1 -0ver1:y�t€chniGalcnr.ann�rc- -:Jillman v: Nat. City Bank ofN. Y. , LLKE.2d 631 , 634 (2d

(           2   Cir. 1941).
            3         For preclusion purposes, the true identity of the facts surrounding an
            4   occurrence constitutes the cause of action, not the legal theory upon which a party
            5   chooses to frame his complaint. Woods v. Dunlop Tire Corp., 972 F.2d 36, 38 (2d
            6   Cir. 1 992), cert. denied 506 U.S � 1053 (1993). See Berlitz Sch. OfLang. ofAm., Inc.
                                        ,




            7   v. Everest House, 619 F.2d 211, 215 (2d Cir. 1980)("When the factual predicate upon
            8   which claims are based are substantially identical, the claims are deemed to be
            9   duplicative for purposes of res judicata"); In re Teltronics Servs., Inc., 762 F.2d 185,
           10   193 (2d Cir. 1985)(''New legal theories do not.. .defeat res judicata").
           11         "Collateral estoppel prevents a party from re-litigating an issue decided against
           12   that party in a prior adjudication" in which that party had a "'full and fair
           13   opportunity'" to litigate. Fuchsberg & Fuchsberg v. Galizia, 300 F.3d 105, 109 (2d
                Cir. 2002), quoting Johnson v. Watkins, 101 F.3d 792, 794-95 (2d Cir. 1996) and
c
           14

           15   Schwartz v. Pub. Adm 'r, 24 N.Y.2d 65, 71 (1969). Preclusion applies to issues raised
         - --r6- asWell-gS-to-issues that could have-been raised at the time of the earlier action.       '; i


           17 Migra v. Warren City Sch. Dist. Bd. ofEd., 465 U.S. 75, 84, 104 S.Ct. 892, 79 L.Ed.

           18   2d 56 (1984). The preclusive effect also extends to issues not specifically addressed,
           19   but which "by necessary implication . . . [are] contained in that which [was] explicitly
           20 decided." Norris v. Grosvenor Mktg. Ltd., 803 F.2d 1281, 1285 (2d Cir. 1986).               .\1

           21                 1.    The Findings of Fact and Conclusions Of Law in the 1947

           22                       Action Have Preclusive Effect

           23         The Full Faith and Credit Act, 28 U.S.C. § 1738, commands that a federal
           24   court must accord a state court's resolution of claims and issues the same preclusive '
           25   effect as would be accorded in the rendering court. See Matsushita Elec. Indus. Co.
           26   v. Epstein, 516 U.S. 367, 369, 116 S. Ct. 873, 878, 134 L. Ed. 2d 6 (1996); Allen v.
,-

(          27 McCurry, 449 U.S. 90, 96, 101 S. Ct. 411, 66 L. Ed. 2d 308 (1980).
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           28         Both parties agree that the preclusive effect of the 1947[New York]Action is . •

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                 1-determined:under���w XQrkll!w. See Pension TrustEundfor Oper. Engrs v. Triple

(                                                                  h
                 2 A Mach. Shop, Inc., 942 F.2d 1457, 1464-1465 (9t Cir. 1991). New York has

                 3    adopted a transactional approach to the doctrine of res judicata or claim preclusion.    -.
                 4     Garguili v. Thompkins, 790 F.2d 265, 269 (2d Cir. 1986). If a subsequent claim
                 5    arises from the same "factual grouping" as a previously resolved claim, the
                 6    subsequent claim is barred regardless of whether the two suits are based on different
                 7    legal theories or seek different remedies. Smith v. Russell Sage College, 54 N.Y.2d
                 8    185, 192 (1981); Reilly v. Reid, 45 N.Y.2d 24, 29-30 (1978); EFCO Corp. v. U. w.
                 9 Marx, Inc., 124 F.3d 394, 397 (2d Cir. 1997). In New York "once a claim is brought

             10       to a final conclusion, all other claims arising out of the same transaction or series of :
                 11   transactions are barred ..." 0 'Brien v. City ofSyracuse, 54 N.Y.2d 353, 357 (1981).
                 12          The 1948 Findings, as later argued by National, were held to be binding on -
                 13    the parties' predecessors with respect to "Superman" under resjudicata and collateral
                 14    estoppel principles by the Southern District of New York and the Second Circuit in
c                15    the federal copyright action, Siegel v . National Periodical PubI., et aI., 364 F. Supp.
            -- ro     - t032; -1034-1035 (S.D�N�Y;-19'737;-ajrd508�E2d-909,·912�·B- �2d Cir. 1 974).
                 17    Toberoff Exs. S, T.
                 18          The Siegel district court explicitly relied on the 1948 findings of fact in holding
                 19    that the 1948 Action was res judicata as to National owning the "Superman" renewal
                 20 copyright. 364 F. Supp. at 1035-1036 ("The findings of the State Supreme Court in

                 21    the Westchester action are binding on us here."), citing Vernitron Corp. v . Benjamin,
                 22    440 F.2d 105, 108 (2d Cir. 1971); and also quoted and gave preclusive effect to the l
                 23    1948 conclusions of law. 364 F. Supp. at 1035-1036; Toberoff Decl., Ex. S.
                 24          The Second Circuit, in affirming the district court's decision, likewise quoted
                 25    Judge Young's first conclusion of law ("[b]y virtue of the instrument of March 1,
                 26    1938 ...Detective Comics, Inc. became the absolute owner of the comic strip
    -
C                27    Superman"), Siegel, 508 F.2d at 912; and delved into the heart of the case: "the state '
                 28    court action determined that the agreements conveyed all of the plaintiffs'

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         J-c ,rights .·.·,·Ungt<ro!h!!c-doctrin<;:c'oi7:esjudicata we are not free collaterally to fe-examine


C         2   the agreements to determine whether the construction placed on them was
          3   warranted." Id. at 913. "The state court ...construe[d] these instruments ... [and] that
          4   decision is binding on us here." Id.
          5         Defendants' predecessor, National, emphatically claimed in Siegel that the
          6   1948 Findings were strictly binding under resjudicata or collateral estoppel
          7   regarding its federal claim that it owned the renewal copyright in "Superman," even
          8   though this copyright issue was not addressed in the 1948 state action:
          9         "It should be noted that application of the doctrines of res judicata and
                    collateral estop-pel here is not only proper but based on good reason.
         10         There is little a150ut the underlying facts and transactions that can be
                    supplied by testimony of witnesses decades after the events and almost
         11         twenty-six [now fiftY-nine] years after the prior litigation"
         12   See National's Appellate Brief, p. 12 citing Picture Music, Inc. v . Bourne, Inc. 314 F.
         13   Supp. 640, 652 (S.D.N.Y. 1970), ajJ'd 457 F.2d 1213 (2d CiT. 1972), cert. den. 409 ·
         14 U.S. 997 (1972); see also pp. 2-3, 6-14, Toberoff Decl, Ex. W; March 24, 2006 Order
c        15   at 6-7, Toberoff Decl, Ex. U.
         1 6- . . . . ---Defendants;-after -benefiting-enormously- from the Si eg elholding for over thirty

         17   years, are judicially estopped from taking inconsistent positions in this action
         18   regarding the preclusive effect of the 1948 Findings. Hamilton v. State Farm Fire &
         19   Cas., 270 F.3d 778, 782 (9th Cir. 2001); New Hampshire v. Maine, 532 U.S. 742, 749
         20   (2001). See March 24, 2006 Order at 6:21-24, Toberoff Decl, Ex. U.
         21         The 1948 Findings of Judge Young, nine years after the events in question,
         22   provide "a much more reliable index of the truth" than anything that can be mustered
         23   by Defendants today. See Picture Music, 314 F. Supp. at 652. "The subsequent
         24 [preclusive] effect .. .is a result which should be welcomed to avoid the task of

         25   reconsidering issues that have already been settled by another competent tribunal."               ,.
         26   Vernitron Corp. v. Benjamin, 440 F.2d 105,108 (2d Cir. 1971), cert. denied, 402 U.S.

(        27   987, 29 L. Ed. 2d 154, 91 S. Ct. 1664 (1971), citing Klein v. Walston Co., 432 F.2d
         28   936 (2d CiT. 1970). There is little about these underlying facts that can be supplied

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             r     �bY'mi:w (estimoniaFevidence.u Siegel is no longer alive and the majority of those who
(           2      dealt with "Superman" at the time of its creation by Siegel and Shuster are also dead.
            3             On summary judgment in the Superboy Action, Judge Lew thus held that the
            4      1948 Findings had preclusive effect:
            5             Having relied on Judge Young's findings for previous favorable
                          determmations regarding Superman, Defendants now take the
            6             inconsistent positIon that this Court is not bound by the state court
                          findings '" Defendants attempt to raise genuine issues of material fact,
            7             where the facts were clearly determinedby Judge Young after the
                          opportunity to take evidence and hear testImony on that evidence from
             8            tlie parties directly involved in creating this relationship.
            9            Contnlry to Defendants' assertions now, both the Southern District of
                         New York and the Second Circuit looked directly to even citing to,
           10            Judge Young's findings of facts. This Court holos that it is consistent to       )
                         continue this position and will look to Judge Young's findings as
           11            binding where relevant ... rT]his Court in keeping a consistent position
                         with tlie previous litigationnolds that Judge Young's findings of fact ,
           12            have preclusive res judicata and collaterarestoppel effect on this Court.
           13      March 24, 2006 Order, at 7, ToberoffDecl., Ex. U.

(          14                   2.        The Findings And Conclusions In The 1974 Action Have

           15                             Preclusive Effect In This Action
        - ------



           16         , . . ' The federal copyiighraction betweelfllie paIties predecessors, Siegel v.
           17      National Periodical Publ., et aI., 364 F. Supp. 1032, (S.D.N.Y. 1973), aff'd 508 F.2d
           18      909 (2d Cir. 1974) held that "Superman" as originally published in Action COnllCS,
           19 No. 1 was not a "work made for hire" under the 1909 Copyright Act, and that Siegel ·

          20       and Shuster transferred to National, all rights to "Superman," including the renewal
          21       copyright, in the March 1, 1938 Grant. The Second Circuit decision clearly has
          22       preclusive effect under the doctrines of res judicata and collateral estoppel, where
          23       relevant to the parties' "Superman" claims and defenses herein. Kamilche, 53 F.3d at
          24 1062.

          25              D.    Plaintiffs' Duly Exercised Their Termination Right And Recaptured '

          26                    Siegel's Joint Copyright Interest In The Original Superman Strips i ,

(         27                    1.        Plaintiffs' Termination Complied with the Copyright Act

          28             Plaintiffs fully satisfied the requirements for starutory termination set forth in

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(         2          •   Section 304(c) applies to "any copyright ... subsisting in its renewal tenn on .�
          3   the effective date of the [1 976 Act]." 17 U.S.C. § 304(c). Copyright in "Supennan";
          4   subsisted in its renewal tenn on the effective date of the 1 976 Act, January 1 , 1 978.
          5   It is undisputed that Siegel and Shuster's Original Supennan Strips were published in l
          6   the serialized magazine, Action Comics, No. 1 , for which copyright was first secured
          7   on April 1 8, 1 938, when Action Comics, No. 1 was first published with a copyright
          8   notice. Toberoff Decl., Ex. F; see Copyright Act of 1 909, § 1 0 ("Any person entitled
          9   thereto by this title may secure copyright for his work by publication thereof with the
         10   notice of copyright required by this title . . . . "). The blanket copyright to the Action
         11   Comics, No. 1 periodical was thereafter registered with the Register of Copyrights
         12   under copyright registration number B: 379787 in the name of Detective Comics, Inc, :
         13   and renewed on June 1 , 1 965 in the name of National Periodical Publications, Inc.,
              claiming as proprietor of copyright, under copyright renewal registration number R: ;
(
         14

         15  362 1 87. Id. 5 The copyright in the story entitled "Supennan" contained in the Actiori
         16 -Comics, No. 1 periodical waS also tenewed onJune-1 , 1 965 in the name of National

         17   Periodical Publications, Inc., claiming as proprietor of copyright, under copyright
         18   renewal registration number R: 3621 88. See Toberoff Decl., Ex. F ; 1 948 FOF, Fact                 .
         19   31.
         20          •   Section 304(c) applies only to transfers or licenses "executed before January -
         21   1 , 1 978," by the author, the author's surviving spouse, children (or certain other
         22   designated persons). 1 7 U.S.C. § 304(c). The principal March 1 , 1 938 Grant and
         23   other agreements (to the extent applicable) which were terminated by Plaintiffs were
         24
            5 The statutory copyright in this collective periodical (Action Comics, No. 1) secures the statutory
         25
            copyright in its component part - the Original Superman Strips. See Self-Realization Fellowship
         26 Church v. Ananda Church, 206 F.3d 1322, 1 329 (9th Cir. 2000) (a blanket copyright on a periodical
            protects its constituent parts); Morse v. Fields, 127 F. Supp. 63, 64-65 (SDNY 1954) (publication in
c        27 a collective work will secure a copyright in all component parts); see also 2-7 Nimmer on Copyright
            § 7.12 ("The rule with respect to collective works under the 1909 Act . . . provided that a single notice
         28 in the name of the copyright owner of the collective work was sufficient to protect each contribution
            contained therein.").
                                                                21

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                                           .
                                           1                                .-
            l all pre- 1 918 instruments.- No post-I978 grant of "Superman" by Siegel or his heirs
  (        2    exists and none has been alleged by Defendants.
            3             •   Section 304(c) allows termination by the author's "widow" and "surviving
            4   children" which together own and are entitled to exercise more than one-half of the
            5   author' s termination interest under the statute. 17 U.S.C. §304(c)(1) and (c)(2)(A)
            6   and (B). Plaintiff Joanne Siegel is the author Siegel's widow and she therefore owns
            7   fifty percent (50%) of Siegel's termination interest. 17 U.S.C. §304(c)(2)(A); FACC,
            8   '\l 2. Plaintiff Laura Siegel Larson is one of Siegel's two children, and she therefore
            9   owns twenty-five (25%) of Siegel's termination interest. 17 U.S.C. §304(c)(2)(A);
           10   FACC, '\1 3 . Together Plaintiffs own and constitute the more than one-half of Siegel's
           11   termination interest required to effect the Termination. 1 7 U.S.C. § 304(c)(1).               '

           12             •   Section 304(c) requires the termination notice to "state the effective date of
           13   termination, which shall fall within the five-year period" ''beginning at the end of 56
                years from the date copyright was originally secured," 17 U.S.C. § § 304(d)(1),
 c
           14

           15   (c)(4)(A), and requires that the termination notice be "served not less than two or
           16   more than ten years" before the effective date of termination. 17 U.S.C. §
           17   304(c)(4)(A). Accordingly, Plaintiffs would have had to serve notice of termination
           18   on or before April 1 9, 1 997 to comply. Service of the Termination Notices took
           19   place on April 3, 1 997 by First Class Mail, postage pre-paid (per 37 C.F.R. § 20 1 . 1 0 ·
           20   (d)) and, in addition, by Certified Mail, Return Receipt Requested, which April 3,
           21   1 997 service date is "not less than two or more than ten years" before the effective
           22   April 1 6, 1 999 Termination Date. Toberoff Decl., Exs.G-N; 1 7 U.S.C. §
           23   304(c)(4)(A). Plaintiffs' Termination Notice stated the date of termination, April 1 6,
           24   1 999, which fell within the proper time-frame from the date the copyright was
           25   originally secured on April 1 8, 1 938. Jd.; 17 U.S.c. § § 304(d)(1), (c)(4)(A).
           26         •   Section 304(c) requires that a copy of the termination notice be "recorded in

 (         27   the Copyright Office before the effective date of termination," 17 U.S.C. §
           28   304(c)(4)(A), and that it comply "in form, content, and manner of service, with

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                                                                           -
          1      requiremellt£cthatth�R�gisJer of Copyrights shall prescribe by regulation," 17 U.S.C .           .
c         2      § 304(c)(4)(B). Plaintiffs' Termination Notices were recorded in the Copyright
          3      Office on February 2, 1 998, well before the April 1 6, 1 999 Termination Date
          4      (ToberoffDecl., Ex. F); and the notice fully complied with 37 C.F.R. § 201 . 10, the
          5      regulations issued by the Register of Copyrights under 17 U.S.C. §304(c).
          6            Because Plaintiffs met all of the statutory requirements of Section 304(c), their          .
          7      Termination should be deemed effective. On April 1 6, 1 999, the noticed Termination
          8      Date, Plaintiffs recaptured Siegel's joint copyright interest in the Original Superman
          9      Strips comprising Action Conncs, No. 1 (hereinafter, the "Recaptured Superman
         10      Copyrights").
         11                   2.     Plaintiffs' Own An Undivided Fifty Percent Interest In

         12                          The Copyrights To The Original Superman Strips

         13            Plaintiffs' Recaptured Superman Copyrights constitutes Siegel's undivided
         14 fifty percent (50%) joint interest in the copyrights to the Original Superman Strips for
c        15      the extended renewal term.
        - 16 .   --   - The Original Superman Strips published in Action Conncs, No. 1 were joint
         17      works created by co-authors, Siegel and Shuster. The 1 909 Act did not contain a
         18      definition of ')oint authorship" or ')oint work," which was left to the Courts to
         19      define. Shapiro, Bernstein & Co. v. Jerry Vogel Music Co., 161 F.2d 406, 409 (2d
         20      Cir. 1 946) cert. denied, 67 S.Ct. 1 3 1 0 (1 947), a leading joint authorship case under    -
         21      the 1 909 Act, defined a ')oint work" as "a work by two or more authors who merge
         22      their contributions into a single composition which is perceived by the audience as a
                      ,,
         23      unit. 6
         24            "Superman" satisfies this definition as Siegel merged his story/continuity with
         25      Shuster's illustrations into a single composition in the Original Superman Strips
         26      comprising Action Conncs, No. 1 which is perceived as a unified work. As joint

(        27
            6 The 1976 Copyright Act did not alter this definition. It defines ')oint work" as "a work prepared
         28 by two or more authors with the intention that their contribution be merged into inseparable or
            interdependent parts of a unitary whole." 1 7 U.S.C. § 1 0 1 .
                                                              23

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                                               I   i


                    -. 1   - authors-of-JhtHJJiginaLSuperman Strips,-SiegelalldShuster owned an undivided fifty :
(                    2     percent interest in the entire copyrights therein as tenants-in-common. See Pye v.
                     3     Mitchell, 574 F.2d 476,480 (9th Cir. 1 978); Sweet Music, Inc. v. Melrose Music Corp.,
                     4      1 87 F. Supp. 655, 659 (S.D. Cal. 1 960). It is undisputed that Siegel and Shuster
                     5      conveyed their entire copyrights to the Original Superman Strips to Detective in the
                     6     March 1 , 1 938 Grant. Siegel, 508 F. 2d at 9 1 1 , 913; FACC, �� 1 2, 26; 1 948 FOF,
                     7      Facts 24 - 25, 32; see ToberoffDecl., Ex. E.
                      8           Section 304(c)(1) of the Copyright Act specifically addresses the termination
                     9      procedures with respect to jointly authored works, such as "Superman." A co-author,
                    10      if living, or if deceased, his widow, children or grandchildren, can recapture the       "


                    11      copyright for the extended renewal term to the extent of the "particular author's share
                    12      of the renewal copyright" in such work. 17 U.S.C. § 304(c)(I). Therefore, on April
                    13      1 6, 1 999, when the March 1 , 1 938 Grant was terminated pursuant to Plaintiffs'
                            Termination Notice No. 1 ., Plaintiffs became the owners of an undivided fifty
(
                    14

                     15     percent interest in the copyrights to the Original Superman Strips comprising Action
                   · Hi
                            Comics; No-:-l , pUrsuant-to 17 U;S;E: -304(c)(1). -
     .   .    .-
             _                                                                               .
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                    17            E.      Defendants Have A Duty To Account To Plaintiffs For Fifty Percent

                    18                    O f The Profits Earned From The Recaptured Superman Copyrights

                    19            Whereas, Plaintiffs recaptured Siegel's joint ownership interest in the Original
                    20      Superman Strips on April 1 6, 1 999 pursuant to Section 304(c), Defendants, as the
                    21      successors to Detective, retain Shuster's joint ownership interest in the copyrights to
                    22      the Original Superman Strips, with the consequent duty to account to Plaintiffs for
                    23      fifty percent of the profits earned by such copyrights. Bernstein & Co. v. Jerry Vogel
                    24 Music Co., 22 1 F.2d 569 (2nd Cir. 1 95 5), modified, 223 F.2d 252 (1 955); see also

                    25      Piantadosi v. Loew 's Inc. , 1 37 F.2d 5 34, 536-537 (9th Cir. 1 943) (publisher becomes
                    26      a joint owner of a work via assignment by a joint author). See also 1 -6 Nimmer on           .1



(                   27      Copyright § 6.12[B] (Courts have "uniformly recognized that one joint owner is             }, .

                    28      accountable to the others for their rateable share of the profits that he has realized

                                                                        24

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(         2           In Bernstein, the co-authors of a song, the "lih Street Rag," each assigned
          3     their respective joint fifty percent interest in the song's renewal copyright to a    !- .    I




          4     different company. The lyricist assigned his half interest to the defendant; the
          5     composer assigned his half interest to a company which, in tum, assigned it to the
          6     plaintiff. The Court held that each company as a successor joint owner of the song's
          7     copyright had a duty to account to the other for half the moneys earned from its
          8     exploitation ofthe song. 221 F.2d at 57 l .
          9           Defendants' duty to account to Plaintiffs for the profits earned from
         10     Defendants' exploitation of the Original Superman Strips applies to profits earned
         11     from all sources from the publication of Action Comics, No. 1 and from the
         12     exploitation of new derivative "Superman" works, in any and all media, created on or               .
         13     after the April 1 6, 1 999 Termination Date. 17 U.S.C. § 304(c)(6)(A).
                                        1.     Defendants' Duty To Account Includes Profits
(
         14

         15                                    Earned In Foreign Territories

         1 6�        - elaims-bTa CQ"uwrrer-ofa-copyrightforan accounting are not governed by
         17     copyright law, but are governed by state common law property principles such as
         18     tenancy in common. Oddo v. Ries, 743 F.2d 630, 633 (9th Cir. 1 984) ("A co-owner of                    .
         19     a copyright must account to other co-owners for any profits he earns from licensing
         20     or use of the copyright, but the duty to account does not derive from the copyright
                                                                                                             11·
         21     law's proscription of infringement. Rather, such duty to account is derived from
         22     'equitable doctrines relating to unjust enrichment and general principles of law
         23     governing the rights of co-owners "') (internal citations omitted). See also
         24     Community for Creative Non-Violence, 846 F.2d 1485, 1498 (D.C. Cir. 1988) ("Joint
         25     authors co-owning copyright in a work are deemed to be tenants in common, with
         26     each having an independent right to use or license the copyright, subject only to a

C        27     duty to account to the other co-owner for any profits owned thereby.") (internal              'i
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         ·1   . c.qUl;Jtatioll.Sc09IDittcedJiCaftfid::guco he1'=gmunds, 49Q U.S. 730 (1989).7 .
(         2            As there can "be no copyright infringement between co-authors of a work, it
          3    follows that state courts have exclusive competence to determine the fact of co-
          4    authorship and the rights of assignment and accounting that flow therefrom."
          5    (emphasis added). 3-12 Nimmer on Copyright § 12.01 [A][ l ] [b] (citing Oddo v. Ries,
          6    743 F.2d 630, n.2 (9th Cir. 1 984)). See also Korman v. Iglesias, 736 F. Supp. 261,
          7    265 (S.D. Fla. 1 990) ("The Copyright Act neglected to provide for remedies between :
          8    co-authors ... The District of Columbia, Second, and Ninth Circuits have held and
          9    Congress must have intended that co-authors may claim for an accounting . . .under
         10    common law principles since the Copyright Act makes no mention of how co-authors :
         11    should enforce their rights to royalties as against each other." Applying state law to
         12    plaintiff's claim for share of royalties derived from joint work).
         13            Goodman v . Lee, 78 F.3d 1 007 (5th Cir. 1996) cert denied 5 1 9 U.S. 861 (1996)
               is instructive. The court affirmed a judgment declaring plaintiff a joint owner of the                  .
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         15    copyright to the song "Let the Good Times Roll" and awarded plaintiff royalties
         16    because, as a joint ownerunder Louisiana law, he was entitled to an accounting and                  .
         17    royalties based on all proceeds that defendants received from the song. Id. at 1 0 12.
         18    The Fifth Circuit held that while the issue ofjoint ownership of the song arises under
         19    copyright law, once this issue was resolved, the accounting dispute among joint                     .,      .
         20    owners was properly governed by state law. Id. The court held:
         21            "The applicability of federal law ends with that [joint ownership]
                       determmation, as Goodman's claim for an accounting is governed in all
         22            respects by state law. It is widely recognized that "[aJ co-owner of a
                       copyright must account to other co-owners for any profits he earns from
         23
            7 H.R. Rep. No. 94-1476, at 120 (1976)(,'Under the bill, as under the present law, co-owners ofa
         24 copyright would be treated generally as tenants in common, with each co-owner having an
                                                                                                                     .
            independent right to use or license the use of a work, subject to a duty of accounting to the other co-
         25 owners for any profits"); Picture Music, Inc. v. Bourne, Inc., 314 F. Supp. 640, 646-47 (S.D.N.Y.
             1970)("It is clearly established that where a truly 'joint work' is created, each co-owner is akin to a
         26 tenant in common. Accordingly . . . compensation obtained from the unilateral exploitation of the

(
            joint work by one of the co-owners without the permission of the others is held in a 'constructive
         27 trust' for the mutual benefit of all owners, and there is a duty to account therefor.")(intemal
            citations omitted), affd on other grounds, 457 F.2d 1213 (2d Cir.), cert. denied, 409 U.S. 997
         28 (1 972); Shapiro, Bernstein & Co. v. Jerry Vogel Music Co., 223 F.2d 252 (2d Cir. 1955).

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           1          theClicensing'br-use of the copyright.... Significantly, 'the duty to account
(          2
                      d oes not derivefrom the copyright law 's proscription of injringement.
                      Rather, it comes from "... general p'rin.ciples oflaw goyerning the rights
                      ofco-owners. ' As those general pnnclples are rooteQ m state law, we
           3          look to the law of Louisiana for answers to the remaining issues
                      presented by this appeal."
           4

           5 Id.   (emphasis in the original).
           6          Notably, the sth Circuit affirmed the district court's finding that the co-

           7    owners of the song had to account to each other for royalties earned both

           8    domestically and outside the United States:

           9          "It is true that United States Copyright laws do not have extraterritorial
                      effect and therefore, 'infringing actlOns that take p'lace entirely outside
          10          the United States are not actionable. ' Plaintiffs claim for an accounting
                      of royalties as co-owner of the copyright to 'Let the Good Times Roll' IS
          11          not, however, an action based upon an infringement of her copyright.
                      Indeed, a co-owner of a copypgllt cannot be liable to another co-owner
          12          for infringement of the copyright. 'Conseguently, a suit to bring the co­
                      owner of a copyright to account does not fall within the district court's
          13          jurisdiction over actions arising under the copyright law.' The extra­
                      territorial nature of copyright law is inapPosIte to whether plaintiff is
                      entitled to an accounting oT foreign royarties received by defendants."
(
          14

          15    (internal citations omitted). Goodman v. Lee, 1 994 U.S. Dist. LEXIS 1 8468, * 1 1 , 13
       . · 16   (E:D. La�1 994). See-aiS(F6oodman-v.-Lee;-'l8-F:3d 1 007; 101S (Sth CiT. 1 996);
          17    Oddo v. Ries, 743 F.2d 630, 633 (9th CiT. 1984)("A co-owner of a copyright must
          18    account to other co-owners for any profits he earns from licensing or use of the
          19    copyright")(emphasis added).
          20          Both state and federal courts in California have consistently held that an action
         21     for an accounting between joint owners ofa copyright is governed by state law under
          22    which they are tenants in common entitled to share in all proceeds from such jointly
          23    owned copyright. See In re Marriage of Worth, 1 9S Cal. App. 3d 768, 776 (Cal.
          24    App. 1st Dist. 1 987)(husband and wife hold title to copyrights as tenants in common
          25    and thus wife entitled "to share in all of the proceeds therefrom, including any
          26    settlement or award of damages resulting from the copyright infringement"); Dead

C         27 Kennedys v. Biafra, 37 F. Supp. 2d l 1 S l , l 1 S3 (N.D. Cal. 1 999)(action for

          28    accounting amongst joint authors brought in federal court remanded to California

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          1     state CQllrt:bs;�£use lW;'acjion foran accounting orAetennination of ownership as
(         2     between alleged co-owners is founded in state law and does not arise under the
          3     copyright laws"); Morrill v. Smashing Pumpkins, 157 F. Supp. 2d 1 1 20, (C.D. Cal.
          4     200 1 )("Each author of a joint work is a tenant in cornmon"); Durgom v. Janowiak, 74
          5     Cal. App. 4th 178, (Cal. App. 4th Dist. 1 999)(court held nonpayment of royalties was
          6     a contract issue not preempted by federal copyright law, and states are expressly
          7     permitted to regulate activities violating legal or equitable rights, including the right
          8     to an accounting).
          9            Plaintiffs are entitled as a matter oflaw to an accounting from Defendants for
         10     half the profits earned by the jointly owned Original Superman Copyrights embodied
         11     in Action Comics, No. 1 . Oddo v. Ries, 743 F.2d at 633. As noted in Goodman,
         12     1 994 U.S. Dist. LEXIS 1 8468, at 1 1 , 13 aff'd 78 F. 3d at 1015, this includes profits
         13     from the exploitation of such copyrights and derivative works in foreign territories        .cj.

                because an accounting between copyright co-owners is governed by state law                  "
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         15     principles governing tenants in cornmon, and is not subject to the copyright law's
         1 6"   "extraterritoriality" proscription� -   -   -   -�-




         17            F.     Defendants' Alleged Defenses To The Termination Lack Merit

         18                   1.      Action Comics, No. 1 Was Not A Work-Made-For-Hire

         19            Section 304(c)'s tennination provisions do not apply to a "work made for
         20     hire." 17 U.S.C. § 304(c). Defendants thus claim that part of the Re-Cut 1 933
         21     Superman Strip created by Siegel and Shuster and thereafter purchased and published
         22     in Action Comics, No. 1 was still somehow owned by Detective at inception as
         23     "works made for hire" under the now repealed 1 909 Copyright Act. 17 U.S.C. § 26. s
         24     As set forth below, Defendants' argument is precluded by the Second Circuit's 1 974
         25     decision in Siegel, 508F.2d 909, 9 1 4 under the doctrines of res judicata or collateral
         26     estoppel. Notwithstanding this, it is also refuted by the plain faCt that Detective

(        27     purchased the "Superman" material at issue in the March 1 , 1 938 Grant after it had
         28     been independently created and submitted to Detective.

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          1                       a.    . "Work for Hire" Under The 1909 Copyright Act

(         2         The 1 909 Act does not provide any definition of "work made for hire" or
          3 "employer." In the vast majority of cases under the 1 909 Act, federal courts
          4   consistently applied the work-for-hire doctrine only to traditional hierarchical
          5   employment relationships. Twentieth Century Fox Film Corp. v. Entertainment
          6 Distrib. , 429 F.3d 869, 877 (9th Cir. 2005). However, "[i]n the last decade of the

          7   [1 909] Act the Courts expanded the doctrine somewhat to include less traditional
          8   relationships." [d., quoting Self-Realization Fellowship Ch. v. Ananda Ch., 206 F.3d
          9   1 322, 1 3 3 1 (9th Cir. 2000)(emphasis added). The Ninth Circuit has "evaluated
         10   claims that a work was 'made for hire' by requiring "credible evidence that the work
         11   was done at the 'instance and expense' of the commissioning party." Self-Realization,
         12   206 F.3d at 877, quoting Dolman v. Agee, 1 57 F.3d 708, 712 (9th Cir. 1 998).
         13         Under the 1 909 Act, when one person employs another to create an artistic
         14   work it gives rise to a presumption that the parties' mutual intent is for title to the
         15   copyright to belong to the employer at whose instance and expense the work is
         16   created. Lin-Brook Builders Hardware v. Gertler, 352 F.2d 298, 300 (9th Cir 1 965)
         17   (work for hire status turns on "mutual intent of the parties"). However, the
         18   presumption of copyright in the employer is rebuttable, as it "is based on the .
         19   presumed mutual intent of the parties." May v. Morganelli-Heumann & Assoc., 6 1 8
         20   F.2d 1 363, 1368 (9th Cir. 1 980); Yardley v. Houghton Mifflin Co., 108 F.2d 28 (2nd
         21   Cir. 1 939), cert. denied, 309 U.S. 686 (presumption rests upon presumed intention).
         22          Thus courts have often refused to apply the work for hire doctrine even in the
         23   context of an employer-employee relationship. See e.g., Dolman, 1 57 F.3d at 7 1 2 (no
         24   evidence that songs written within scope of author's employment and the written
         25   assignment of songs to employer's company rebutted any work for hire presumption);
         26   Shapiro, Bernstein & Co. v. Jerry Vogel Music Co., 22 1 F.2d 569, 570 (2d Cir. 1 955), ,

C        27   modified on other grounds, 223 F.2d 252 (2d Cir. 1 955) (where employer purchased
         28   song lyric from employee by paying him to write the lyric, court found that because

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           Ie   =thiswas-lnadditiontoohis�salary and a- speciaHob assignment; it was not a work for
 (        2     hire); see also Forward v. Thorogood, 9S5 F.2d 604, 606-7 (1 sl Cir. 1993) (court
          3     refused to apply work for hire doctrine to music demo tapes created with plaintiffs
          4     financial assistance, because while he booked and paid studio to create tapes, "he
          5     neither employed nor commissioned the band members.").
          6                         b.    Defendants' "Work For Hire" Claim Is Precluded

          7                               By Res Judicata And Collateral Estoppel

           8          Defendants did not allege that Action Comics, No. 1 (i.e., the Original           "
                                                                                                        "




          9     Supennan Strips) was a work for hire in their Counterclaim or Answer, in apparent          ;


          10    recognition that it was not and that they are precluded from claiming otherwise. See
          1 1 FACC (Toberoff Decl., Ex. R) and Answer. However, Defendants allege that at
          12    Detective's request Siegel and Shuster cut and pasted their pre-existing "Supennan"
          13 newspaper strip into a magazine fonnat and that "upon information and belief' they

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          14    added additional material ("Purported Additional Material") to create the Re-cut 1 933
          15    Superman Strip published as Action Comics, No 1. FACC , '1\'1\ 1 1 , 14. Defendants
         'f6- ' erroneouslYClilim tliartlie Plirported Additional Material is ''work for hire" as
          17    allegedly prepared "at the instance and expense of [Detective] and subject to its right;:
          18    of control," "and that the copyrjght therein was owned by Detective ab initio," that is,
          19    from inception. FACC, '1\ 1 32.
          20           Defendants have the burden to prove what Purported Additional Material they
          21    refer to because by all accounts the conversion of the 1 933 Superman Strip
          22    (newspaper format) to the Re-cut 1933 Superman Strip (magazine format) published
          23    in Action Comics, No. 1 was largely mechanical involving cut and pasting, slight re- ,',
          24    lettering, and trimming panels to fit a magazine fonnat. Siegel, 50S F.2d at 9 1 4.
          25           In Siegel, 50SF.2d at 9 1 4, the Second Circuit held that "Superman" as first
          26    published by Detective (in Action Comics, No. 1 ) was not a "work for hire." ("The
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(,        27    court below had held that Superman was also a "work for hire" within the meaning ;.
          28    of the Copyright Act, 1 7 U.S.C. § 26 . . . We disagree."). Defendants are therefore

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          1 precluded under resjudicaftEanG-6ellafefaLestoppehprinclples-ITi'i'f:itagain c1aiming
(         2    that Action Corrrics,No. 1,or any part thereof,is a "work for hire."
          3          In fact, Defendants' claim as to the Purported Additional Material is
          4    specifically precluded by Siegel. The Second Circuit expressly considered the 1948
           5 Findings on the conversion of Siegel and Shuster's 1933 "Superman" newspaper strip
          6    to a magazine format at Detective 's request at that this was insufficient to transform it
          7    into a work for hire:
           8         "There was no conclusion of law in the state court that the corrric strip
                     was a work for hire so as to create the presumption that the employer
           9         was the author. That issue was not litigated at all in state court. On the
                     contrary,the court's finding of fact no. 8 was that th�aintiffs were "the
         10          originators and authors of the cartoon character SUPERMAN and of the
                     title SUPERMAN and first created cartoon material in which the said
         11          character and title first appeared in 1934. . . .'" The court below instead
                     relied upon finding of fact no. 22 in which the state court found that the
          12         plaintiffs did not revise and expand the Superman material at the
                     request of the defendants and that this revised material constituted the
          13         formula for the ensuing series of strips. We do not consider this
                     tantamount to a conclusion that Superman was a work for hire."
          14
(        15 508 F.2d at 914. The Second Circuit concluded that "Superman" and his powers hadt .
       _. - 16 oeen fUlly aevelopea oy SiegeL1Yid Shuster-on there own -and that any mechanical

          17 revisions that may have been directed by Detective shortly before "Superman's" first
          18 publication in Action Corrrics,No.1 were simply to accommodate a magazine format
          19         "Superman had been spawned by the plaintiffs four years before the
                     relationship between tfte authors and the defendants existed...Superman
          20         and his rrriraculous powers were completely developed long before the
                     employment relationship was instituted. The recora indicates that the
          21                                   fifendants were simply to accommodate
                     revIsions directed by the d
                     Superman to a magazine.fm:mat. We do not consider this sufficient to
          22          create the presumptIOn that the strip was a work for hire."
          23 ld. (emphasis added).

          24          Defendants are thus precluded from re-litigating the claim or issue of whethetl·.
          25   the Purported Additional Materials comprising such "revisions" was a "work for
          26 hire" under the doctrines of res judicata or collateral estoppel.

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         --1,   -_-    ====_ ___     , c. -    *he PuJ"ported AdditionaLMaterial, To

(         2                                    The Extent It Exists, Was Not "Work For Hire"

          3            Even if the Court re-opened the "work for hire" issue, contrary to the
          4     preclusive effect of Siegel, 508 F.2d at 914, Defendants' admissions and
          5     documentary evidence also mandate a finding that the Purported Additional Material,
          6     to the extent it exists, was not "work made for hire."
          7            Defendants claim that they owned the Purported Additional Material "at
          8     inception" merely because they requested that Siegel and Shuster cut and paste their
          9 newspaper strip into a magazine format makes no sense. When Siegel and Shuster               ;   -
         10     re-cut their Superman strip they did so "on spec" on their own volition as they were
         11     still merely trying to get their work published. 1 948 FOF, Fact 32, 34; Toberoff
         12     Decl., Ex. B.
         13            It is undisputed that they presented their Re-cut 1 933 Superman Strip to
                Detective in February, 1 938. Siegel, 364 F.Supp. at 1 034; Siegel, 508 F.2d at 9 1 1 . At
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         15     that point Detective had not even accepted their work for pUblication. Detective
         16     puh::haselfSiegel and Shuster's thirteen-page-Re:;cut I933- Superman Strip in the
         17     March 1, 1 938 Grant after it was submitted to Detective and accepted for publication.

                                 ,
         18     See 1 948 FOF, Fact 32 ("The first thirteen pages of SUPERMAN material . : .were in
         19 existence . . .before the execution of the instrument of March 1 , 1938."); Siegel, 364
         20      F.Supp. at 1 034; Siegel, 508 F.2d at 9 1 1 . Defendants acknowledge this. FACC, � 1 1
         21     ("Siegel and Shuster cut and pasted the [newspaper]comic strips . . . to create a thirteen
                                                                                             ,,
         22     page comic book story which was accepted for publication by [Detective] ).
         23            Detective was under no obligation to pay Siegel and Shuster for their Re-cut
         24      1 933 Superman Strip until such had been completed by Siegel and Shuster on spec
         25      and Detective had accepted it for publication and purchased the finished product in
         26      the March 1 , 1 938 Grant. See Toberoff Decl., Ex. E.
         27            Dolman, 1 57 F .3d at 7 1 2, is instructive. The plaintiff copyright owner sued a '
         28      music publisher regarding certain movie soundtrack compositions created in the

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(              2          contracted with a movie company to create soundtracks, and he later assigned the
               3          songs t.o the music publishing arm .ofhis employer. The Ninth Circuit affirmed the
               4          district court's refusal to apply the "work for hire" doctrine on the grounds that there
               5          was no evidence that the songs were within the scope of the author' s employment;           ,
               6          nor written at his employer's "instance and expense." Significantly, the Court stated:
               7                "Moreover, even if [defendant] had established that [the author] created
                                the songs at the instance and expense of INs employer] or [the movie
                8               company], [plaintiff] rebutted the worl{ for hire presumption," by
                                havmg executed an assignment to his employer's company: "Had the
               9

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                                                                                +
                                worksDeen intended to be w.orks for hire for [liis employer], there would
                                have been no reason for rthe music PUblishin subsidiary1 to accept an
                                invalid assignment ofrigbts from rthe author knowing tbat its parent
                                company already owned those riglits." Id. at 12-13. Aaditional1y, "rthe
               11               mUSIC publishing subsidiary] licensed the synchronization rights in the
                                songs to [the movie company]. Had the songs been written for [the
               12               movie compan,¥] as worKs for hire, there would have been no need for
                                such a license. Id.
               13

                                Here, as in Dolman, the very existence of the March 1 , 1 938 Grant belies the
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               15         notion that the Re-cut 1 933 Comic Strip was "for hire." Ifit were a work for hire,
       _   .   16- there-would be no-rightsto grant-because-the work would have been owned at

               17         inception by Detective. It is undisputed that the parties executed the March 1, 1938
               18         Grant after receiving the Re-cut 1 933 Superman Strip in February, 1 938, Detective
               19         decided to publish it, and thus purchased the material in the March, 1938 Grant.
               20         Siegel, 364 F.Supp. at l O34; Siegel, 508 F.2d at 9 1 1 ; 1 948 FOF, Fact 32. It is clear
               21         that the copyright to both the Original Superman Strips resided with Siegel and
               22         Shuster, to be assigned if and only if their speculative work was thereafter accepted
               23         and purchased by Detective. As such, no portion of the Original Superman Strips,
               24         published in Action Comics, No. 1 , is "work for hire."
               25                      2.     The Termination Notice Was Not Required To List The

               26                             1948 Consent Judgment

(              27               As set forth above, all rights to Siegel's Original Superman Strips were granted
               28         to Defendants' alleged predecessor, Detective, in the March 1 , 1938 Grant. Siegel,

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           1    508 F.2d at 9 1 3-9 14; 1 948=(�Q£j"J;;_Qnc1usiQIl�¢c'I'hew:gyl"!o1:i g� promulgated under
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(
           2    17 U. S . C. § 3 04(c) by the Register of Copyrights ask for "a brief statement
           3    reasonably identifying the grant to which the notice of termination applies." 37
           4    C.F.R. § 20 1 . 1 0(b)(1)(iv). In compliance, Plaintiffs' Termination Notice No. 1
           5    identified the March 3 1 , 1 938 Grant as the grant being terminated. Toberoff Decl. Ex.
           6    G. On the noticed April 1 6, 1 999 Termination date, Siegel's joint copyright interest
           7    in the Original Superman Strips reverted to Plaintiffs as further set forth above.
           8           As discussed above, Plaintiffs' served on Defendants and filed with the
            9   Copyright Office six additional Termination Notices, Nos. 2-7, out of an abundance
           10   of caution, to the extent that the respective agreement set forth in each such notice,
           11   granted or might be construed to have granted "Superman" works by Siegel.
           12   Toberoff Decl. Ex. H-M.
           13          Amongst Plaintiffs' additional notices, Termination Notice No. 6 listed the
                May 1 9, 1 948 Stipulation which settled the 1 947 Action, wherein Siegel and Shuster:
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           14

           15   re-acknowledged National's ownership of "Superman" and received money for
           i6   Siegel'sgrant of "Superb-oy" -t<rNatiunal� Termination Notice -No. 5, � 3, p. 5 5 1 ,
           17   Toberoff Decl., Ex. K; May 1 9, 1 948 Stipulation, ToberoffDecl., Ex. C. The May
           18   1 9, 1 948 Stipulation provided for the May 2 1 , 1 948 Consent Judgment that was
           19   entered into two days later incorporating the terms agreed upon in the stipulation.
           20          Defendants nonetheless asserted that Plaintiffs' Terminations are purpOlied1y
           21   defective for not also listing the May 2 1 , 1 948 Consent Judgment. See FAce, �� 66-
           22   68. Firstly, the May 2 1 , 1 948 Consent Judgment is a judgment, not a "grant" of
           23   copyright. See 37 C.F.R. § 20 1 . 1 0 (b)(l )(iv). Secondly, the May 2 1 , 1 948 Consent ·
           24   Judgment merely follows the parties' underlying May 1 9, 1 948 Stipulation entered
           25   into two days earlier which is explicitly identified in Plaintiffs' Termination Notice
           26   No. 6. Thirdly, because the March 1 , 1 938 Grant constituted the operative grant of

(          27   "Superman" to National's predecessors-in-interest, the subsequent May 2 1 ,- 1 948
           28   Consent Judgment did not as a matter of law convey that which was previously

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(          2 F.2d at 9 1 3-914; 1948 COL, Conclusion l .
           3              The Consent Judgment also has no adverse impact on Plaintiffs' Termination
           4      as "[t]ermination. . . may be effected notwithstanding any agreement to the contrary'"
           5      17 U.S.C. § 304(c)(5); and Siegel's or Plaintiffs' reversionary termination interest
           6 under Section 304(c) could not have been assigned, as a matter of law, until "after the
           7 notice oftermination ha[d] been served [in 1 997]". 1 7 U.S.C. § 304(c)(6)(B),(D).
            8             As stated, the 1 948 Consent Judgment merely aclmowledges what was
            9     previously granted to Detective and National in agreements explicitly identified in
          10 Plaintiffs' Termination Notices (e.g., the March 1, 1 938 Grant of the Original
          1 1 Superman Strips.) However, even if the May 2 1 , 1 948 Consent Judgment is
          12 somehow deemed a grant of rights previously granted (it is not and can not be),
          13 Plaintiffs' identification of the underlying May 1 9, 1 948 Stipulation "reasonably
          14 identifies" the parallel May 2 1 , 1 948 Consent Judgment which was issued pursuant to
(         15 the stipulation and mirrors it. See 37 C.F.R. §20 1 . 1 0 (b)(l)(iv).
      - - -To '   --- ---There is -little case-law on-notice-oftennination-formalities. In Burroughs v .
          1 7 MGM, the court found that a Section 304(c) termination notice identifying a single
          1 8 1 923 grant and 3 5 titles, applied to only the titles listed, but was not rendered
          19      ineffective with respect to those 35 titles by the fact that many of the titles were
          20 assigned by the author in subsequent grants that had not been identified in the
          21 termination notice. 683 F.2d 6 1 0, 614, 6 1 8, 622 (2d. CiT. 1 982) ("As further Tarzan        .
          22 books were written, the rights in these were also transferred to the corporation").
          23              Music Sales Corp. v. Morris, 73 F. Supp. 2d 364, 378 (SDNY 1 999), came to il)
          24 similar conclusion. There, the termination notice simply identified the grant as "grant .
          25      or   transfer of copyright and the rights of copyright proprietor, including publication
          26 and recording right only." !d. The Court held that the notice was adequate even

(         27 though this "generic statement would not seem to reasonably identify the' grant." Id.
          28              Defendants received more than ample notice within the statutory time frame of

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                                    I

          1 Plaintiffs' intention to-terminate prior grants of Siegel's "Superman" work and were
(         2 in no way prejudiced by Plaintiffs' not listing the May 21, 1 948 Consent Judgment in
          3 addition to the parallel May 2 1 , 1 948 Stipulation, the operative March 1 , 1938 Grant
          4 and three other prior agreements. See Terminations Nos. 1-6, Toberoff Exs. G-L.
          5 The regulations of the Register of Copyright, on which Defendants purport to rely,
          6 specifically dissuade such hyper-technical attempts to invalidate termination notices:
          7 "Harmless errors in a notice that do not materially affect the adequacy of the
          8 information required to serve the purposes of . . . section 304(c) of title 17,             ,
                                                                                                        ;


          9 U.S.C . . . . shall not render the notice invalid." 37 CFR § 201 . 10(e)(1). Nor is such a - :
         10 result supported by case law as set forth above.
         11         Defendants alleged the same unavailing Consent Judgment defense with
         12 respect to Plaintiffs' Superboy Termination in the Superboy Action (Case No. 04-
         13 8776). In granting Plaintiffs' motion for partial summary judgment, Judge Lew
         14 dismissed this purported defense as without merit:
(        15         "Defendants argued that Plaintiffs failed to comply with the termination
                    regulations, because the termination notices only list the May 1 9, 1 948
         16         stIpulated alP"eement, but did not list the May 2 1 , 1 948 'Final Consent
                    Agreement.                                                                           -i- '

         17
                    This court finds that no genuine issue exists that the operative grant of
         18         "Superboy" by Jerome Siegel was the May 19 1948 stipulatea
                    settlement and that the consent judgment mereiy followed the parties'
         19         stipulation and was entered by the Court two days later. AdditIOnally,
                    Regulation 20 1 . 1O(b)(1 )(iv) merely requires a "brief statement
         20         reasonably identifYing the grant to which the notice of termination
                    applies." In fact, Regulation 201 . 1 O(e) provides that:
         21
                           harmless errors in a notice that do not materially affect the
         22                adequacy of the information required to serve the purposes of
                           . . . section 304(c) . . . shall not render the notice invalid.
         23
                    Here, by listing the May 1 9, 1 948 stipulated settlement, the termination
         24         notices provide a brief statement reasonably identifying the grant in
                    Cjuestion. Even, if including the May 2 1 , 1948 consent judgment would
         25         liave provided additional notice, its absence in no way materially
                    affected the adequacy of Plaintiffs' notice."
         26

C        27 Order Granting Plaintiffs' Motion For Partial Summary Judgment & Denying
         28 Defendants' Motion for Summary Judgment, entered March 24, 2006, at pp. 1 2-13,

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          1   . J�bj':rQfLDecL,.;gx.-U' �.bis_ho1ding andlogic applies_with,equa1 force to the
(         2 Superman Action "where the operative grant" of the Original Supennan Strips was
          3 the March 1 , 1 938 Grant.
          4                   3.     The December 23,1975 Agreement Was Unaffected By

          5                          Defendants Later Payment Of A Pension To Joanne Siegel

          6                         And, In Any Event, Was Not An Operative "Superman" Grant

          7           The December 23, 1975 Agreement was listed by Plaintiffs in the separate
          8 Termination Notice No. 7 out of an abundance of caution, though it did not constitute
          9 or contain a copyright grant in Siegel and Shuster's "Supennan" works. Toberoff
         1 0 Decl., Exs. M, Y. Moreover, Plaintiffs need not have served and filed Termination
         1 1 Notice No. 7 to have recaptured Siegel's copyright interest in the Original Supennan
         12 Strips because this was accomplished by Plaintiffs' Termination No. 1 of the
         13 operative March 1, 1938 Grant which had assigned all rights therein to Detective.
         14 Siegel, 508 F.2d at 9 1 3-914; 1 948 COL, Conclusion No. l .
(        15            Yet, Defendants erroneously claim herein that PlaintiffJoanne Siegel's
        - 16 continued-receipt of-a-widow's-benefit-after-the-rermination Date effeetively
         1 7 reinstated and somehow transfonned the December 23, 1 975 Agreement into a                       ;;:
         1 8 subsisting "Supennan" copyright grant by Siegel and Shuster. FACC, �� 70-76.
         19            The 1 974 Action confinned that Defendants' predecessor, Detective, was
         20 assigned all rights in "Supennan" by Siegel and Shuster in their March 1 , 1938 Grant.
                                          8
         21 Siegel, 508 F.2d at 9 1 3-914. WCI, to engender good will prior to the release of its
         22 first "Supennan" movie, nonetheless agreed in the December 23, 1 975 Agreement to
         23 pay Siegel and Shuster a small monthly stipend. December 23, 1 975 Agreement, � 5,
         24 Toberoff Decl., Ex. Y. Plaintiffs were not parties to the December 23, 1975
         25 Agreement. Id.
         26

(        27     8Additional agreements followed the March 1 , 1938 Grant as set forth above which re-affirmed
                Detective's and then their successors' ongoing ownership of "Superman" as follows: the September
         28     22, 1938 Agreement, the McClure September 22, 1938 Agreement, and the December 19, 1939
                Agreement. See Siegel, 364 F. Supp. at 1034.
                                                               37
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      ..
           1- . .     ... .. : �T�11ingly.;.Jp.�eD cemb�r,2�, 19-75-Agreement specifically acknowledged that
(          2 the 1 974 Action held that WCI already owned all rights to "Superman": "The Court
           3 of Appeals unanimously decided that 'all rights in Superman, including the renewal
           4        copyright, have passed forever to [National Periodical Publications, Inc., a Warner
           5 subsidiary.]'" December 23, 1 975 Agreement, � 3, Toberoff Decl., Ex. Y; see also
           6 Siegel, 508 F.2d at 913-914. The December23, 1 975 Agreement therefore
           7 acknowledged that the payment to Siegel and Shuster was not a negotiated payment
           8 in exchange for a grant of "Superman" rights and specifically stated that WCI had no
           9 obligation to make such payment:
           10             "4. Warner does not have any legal obligation to pay you any sum of
                                                 . not acknowledge that any wrong lias been
                          money whatsoever and does
           11             done to you.
           12             5.     Warner has nevertheless determined, in consideration for your
                          past services to Warner and in view of your present circumstances, to
           13             make the following voluntary payments."
           14 Id., �� 4-5. The December 23, 1 975 Agreement further provided as follows:
(          15             "In addition, if Jel"!Y Siegel dies, on or before December 3 1 , 1 985, Warner
                          will pay his wife" JOanne Siegel, if sl)e survives him, monthly payments at
           16             the rate of $20 OvO a year, commencmg on the date of Jerry's death, and
                          ending December 3 1 , 1 985, and thereafter monthly payments at the rate of
           17             $ 1 0,000 a year for the balance of her life."
           1 8 Id., � 5 b . It is undisputed that Jerry Siegel died on January 28, 1 996. Thus, Joanne
           1 9 Siegel was not eligible for any payments under the December 23, 1 975 Agreement.
           20             At Joanne Siegel's request, Warner agreed by letter dated March 15, 1 982 that
           21 they would pay her a widow's pension if her husband predeceased her. This payment '
           22 was also voluntary and in no respect tied to any grant of rights in "Superman" or the
           23 Original Superman Strips. Toberoff Decl., Ex. FF.
           24             Firstly, the December 23, 1 975 Agreement, as set forth above, does not contain
           25 a grant of any copyrights in "Superman." Toberoff Decl., Ex. U. Secondly, the
           26 December 23, 1 975 Agreement, as a matter of Iaw, could not have granted copyrights

(          27 in "Superman" that were already in WCI's possession, as acknowledged by the
           28 December 23, 1 975 Agreement, itself. This entirely moots Defendants' purported

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                                       )                                    ,- -   ;.
         · 1.   -defense: -Even in . the ·unlikely..eyent that Joanne_Siegel's receipt of her widow's
(         2     benefit after April 1 6, 1 999 was found to have somehow reinstated the December 23,
          3     1 975 Agreement, this, at best, could affect only Plaintiffs' Termination of the
          4     December 23, 1 975 Agreement. Because the December 23, 1 975 Agreement did not
          5     contain a grant of any rights in "Superman," and certainly did not grant rights in the         .
          6     Original Superman Strips transferred in the March 3 1 , 1938 Grant, this purported
          7     reinstatement, no matter how unlikely, would have no affect.
          8            The December 23, 1 975 Agreement, even ifit contained a grant and had been
          9     reinstated (it did not and was not)9, it could not, in any event, effectively assign
         1 0 Plaintiffs ' termination interest because Plaintiffs were not parties to the December

         11     23, 1 975 Agreement. Additionally, Plaintiffs' reversionary termination interest under
         12     Section 304(c) could not have been assigned by Jerome Siegel in 1 975 because under
         13     the Copyright Act such an interest can not be assigned until "after the notice of
                termination ha[d] been served [in 1 997]." 17 U.S.C. § 304(c)(6)(B),(D).
(
         14

         15            Lastly, if Wamer's agreement to pay Joanne Siegel a widow's pension is
       ---16- - -mtsnmstrned to somehow-re=instate- the-December -23, 19'75-Agreement and

         17     transform it into a copyright grant such would also contradict the Copyright Act's
         18     prohibition that "[t]ermination . . . may be effected notwithstanding any agreement to
         19     the contrary" 17 U.S.C. § 304(c)(5). See Marvel, 3 1 0 F.3d at 291 .
         20                   4.      Plaintiffs' Ownership Of The Recaptured Superman

         21                           Copyrights Is Not Barred By The Statute of Limitations

         22            Plaintiffs' claims for declaratory relief as to the validity of their "Superman"
         23     Terminations are not barred by the Copyright Act's three year statute oflimitations,
         24      1 7 U.S.C. § 507(b), or other statute of limitations, as alleged by Defendants. FACC,
         25     �� 90-96; Answer, � 1 1 0.
         26
                9 As shown above, Joanne Siegel was not eligible for any payments under the express tenns of the


(        27     December 23, 1975 Agreement because the condition precedent that Siegel "die[], on or before
                December 3 1 , 1985" did not occur. December 23, 1 975 Agreement, '11 5 b., ToberoffDecl., Ex. U.
         28     It is unlikely that her acceptance today of a pension voluntarily paid by Warner has the effect of
                reinstating the December 23, 1975 Agreement to which she was not a party. ToberoffDecl., Ex. FF.
                                                                   39

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                                       I )

          1                           ..
                       · -7_�_� a-i"c--Rlaintiffs' Complaint:Was Filed.Within the

(
                                                                                         __




          2                                Purported Statute of Limitations

          3                As shown below, 1 7 U.S.C. § 507(b)'s three year statute of limitations does not
          4 act as a bar to copyright recapture pursuant to 17 U.S.C. §304(c). Notwithstanding
          5 this, even if the three year statute oflimitations were held to be triggered by a
          6 publisher's express repudiation of a § 304( c) termination, Plaintiffs nonetheless filed
          7 their complaint before the statute ran.
          8                As set forth above, Plaintiffs served their Terminations on April 3, 1 997 by
          9 regular mail and by certified mail, return receipt requested. Toberoff Decl., Exs. G­
         10 M. On April 15, 1 999, one day before the effective Termination Date, DC sent
         1 1 Plaintiffs a letter (the "April 15, 1 999 Letter") "rejecting the scope and validity of the
         12 [Terminations]." FACC, � 7 1 . It states in relevant part:
         13                "[Tlhe absence of any steps towards negotiation for two years,
                           partIcularly on the "eve" of the April 1 6, 1999 purported "effective" date
(        14                of the termination, leaves us concerned. Thus our client has no
                           alternative but to move to the stage ofputting your clients on clear
         15                notice, as set forth below, of DC COlDlCS' rights and of its
                  _
                   _
                       _   determinatiQn, jf it becomes nec�ssary, t� take all appropriate and
                                                                     _


         16                necessary steps to protect those nghts. FIrst, your clIents are hereby put
                           on notice that DC Comics rejects both the valIdity and scope of the
         17                Notices and will vigorously oppose any attempt oy your clients to
                           exploit or authorize the eXJ>I01tation of any copyriglits, or indeed any
         18                rignts at all, in Supennan.
         19 Toberoff Decl. Ex. Q. (emphasis added).
         20                To facilitate settlement negotiations, the parties entered into a tolling
         21 agreement dated April 6, 2000 (the ''Tolling Agreement"), effective as of said date,
         22 just in case any time based defenses could later be claimed by either side. Id. Ex. Z,
         23 at � 1 . By its express tenns the Tolling Agreement remained in force until:
         24                "10 business days after the earlier of: (a) one of theyarties terminating
                                     . in writing, relating to the Notices, or � b) the parties
                           negotiations,
         25                reaching an amicable resolution of the disputes between tliem relating to
                           the Nohces [of Termination]."
         26
C        27 Id. at � 7.
         28                On September 2 1 , 2002, Plaintiffs sent a letter to DC, indicating that they were

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          1 "stopping 1:lJld ending-negotiations=W:ithDG.�jts
                                                         ..Gmlli:§§�n(t:, parent company AOL
(         2 Time Warner and all of its representatives and associates, effective immediately."
          3 Id., Ex. AA. Consequently, the Tolling Agreement ended "10 business days" later on
          4 October 4, 2002. Id.
          5           The statute oflimitations cannot be used to effectively bar Plaintiffs' section
          6 304(c) Terminations. However, in the unlikely the statute is even held to apply, it
          7 would not start to run until Defendants had communicated to Plaintiffs a clear and
          8 express repudiation of their Terminations. Aalmuhammed v. Lee, 202 F.3d 1227,
          9 1 23 1 (9th Cir. 2000) (a "plain and express repudiation" is required under § 507(b» .
         10           By Defendants' own admission this did not happen until April 15, 1999. See
         1 1 FACC, � 9 1 ("effective at least as early as April 15, 1 999, Plaintiffs/ Counterclaim
         12 Defendants were on notice that DC Comics rejected the Superman Notices."); see
         1 3 also April 1 5 , 1 999 Letter ("our client has no alternative but to move to the next stage

(               -   .--�-- - - - - -   --   -- - . -
                                             --   -   .   -      - - ---'-- --
         1 4 of putting your clients on clear notice . . . that DC Comics rejects both the validity and ·
                                                                   -   -         -




         15 scope of the Notices"), Toberoff Decl., Ex. Q.
         16    - -- -Therefore the statute of limitations caIculation (to the extentthe statute is even
         17 applicable) is as follows. Three years equals 1 ,095 days. April 15, 1 999 to April 6,
         18 2000 (the date the Tolling Agreement commenced) equals 357 days, with 738 days
         19 left to run. Tolling Agreement, � 1 , ToberoffDecl., Ex. Z. The Tolling Agreement
         20 was in place until October 4, 2002, "ten business days after [Plaintiffs] terminat[ed]
         21 negotiations" by letter dated September 2 1 , 2002. Id., � 7; ToberoffDecl., Exs. Z;
         22 AA. October 4, 2002 plus the 738 days left to run means the statute, if applicable,
         23 would run on October 12, 2004. Thus, to the extent the statute of lirnitations is even : .
         24 held to run against Plaintiffs' Terminations, they would have had until October 12,
         25 2004 to file their complaint in the Superman Action. Plaintiffs timely filed their
         26 complaint regarding the "Superman" Terminations on October 8, 2004. Toberoff

(        27 Decl., Ex. X.
         28                                 b.                Strong Policies Disfavor Using The Statute of

                                                                                     41
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              l                                                            -




          1   � --                     -� _    Limitations To BarTermination Under § 304(c)

(         2             The legislative purpose of the Section 304(c) tennination right is to relieve
          3       authors "ofthe consequences of ill-advised and unremunerative grants" to publishers
          4       in recognition of the unequal bargaining power between authors and publishers.
          5       Mills Music, 469 U.S. at 1 72-73. One could find not better example of this than
          6       Siegel and Shuster's March 1, 1 938 Grant of "Superman" to Detective for $ 1 30 in
          7       order to see their work published. ToberoffDecl., Ex. E.
          8             So important are the policies behind this authorial recapture right that it trumps
          9       ordinary principles of contract and can be effected simply by the ministerial act of
         10       giving notice within a defined time window. See 1 7 U.S.C. § § 304(d)(1), (c)(4)(A).
         11       The importance Congress placed on this statutory recapture right is further evidenced
         12       by the concerted safeguards it built into the 1 976 Act's tennination provisions. See
         13       e.g., §304(c)(5) ("Tennination ofthe grant may be effected notwithstanding any
                  agreement to the contrary"); 1 7 U.S.C. § 304(c)(6)(B),(D) (reversionary tennination
(
         14

         15       interest can not be conveyed to original assignee until "after the notice oftennination
         16       has been served."). Thus, this recapture right has repeatedly been held to be
         17       "inalienable." Mills Music, 469 U.S. at 1 72-73, quoting H.R. Rep. at 1 24; Stewart v.
         1 8 Abend, 495 U.S. at 230; Tasini, 533 U.S. at 497 (discussed author's comparable

         19       tennination right under 1 7 U.S.C. § 203(a)(5)).
         20             Congress surely did not intend that its concerted efforts to safeguard this
         21       important recapture right could so easily be foiled by a publisher's predictable denial
         22       of a tennination notice's validity, allegedly triggering the statute of limitations.lO
         23       This would effectively mean that an author or his family, after waiting 56 years for
         24       the tennination window to open, would purportedly forever lose their recaptured
         25
            10 Interestingly, if the three year statute oflimitations were to apply to Plaintiffs' Tennination, then
            it would appear that any claims by Defendants would be barred as they failed to seek declaratory
         26
            relief until long after April 3, 2000, i.e., within 3 years of being served with Plaintiffs' Tenninations
(        27
            on April 3, 1 997. Plaintiffs' Tennination surely constitutes a clear and express repudiation of
            Defendants' exclusive copyright interests in "Superman." Aalmuhammed, 202 F.3d at 123 1 . As
            mere successors in interest, Defendants do not sit on a higher plain than the statutorily endowed
         28
            widow and children of"Supennan's" co-creator. 1 7 U.S.C. § 304(c)(I).

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           l �.Qp�i-gh1-t("the-ydicinoUmdertake-'.OI,_as will,ofteIlbe_the_case:,_could.IlQtafford to
(          2 undertake, the enormous expense of full blown litigation, within three years of any
           3 repudiation by the publisher, regardless of its merit. See 17 U.S.C. § § 304(d)(1),
           4 (c)(4)(A). Clearly such interpretation contradicts the strong policies underlying the
           5 recapture right and its objective of "leveling" the playing field for authors and their
           6 families. Stewart; 495 U.S. at 230.
           7                      c.     Section 507(b) Is Not A Bar To Copyright Ownership

           8          The Copyright Act's three year statute oflimitations, 17 U.S.C. § 507(b),
           9   does not eliminate the substantive right of copyright ownership; it only limits a
          1 0 copyright owner's remedies to three years before suit. In much the same way that a
          1 1 copyright owner does not lose his copyright by failing to sue an infringer within three
          1 2 years, an owner does not lose his copyright interest by failing to request declaratory
          13 relief and an accounting within three years. Stone v. Williams, 970 F.2d 1 043, 105 1
          1 4 (2d Cir. 1 992), cert. denied, 508 U.S. 906 (1 993).
c         15         A request for declaratory re1iefunder the Copyright Act is "a procedural device
         -16 used to-vindicate-substantive-rights,itis time-barred-onlyifrelief on a direct claim
          1 7 would also be barred." Stone, 970 F .2d at 1 048; see Luckenbach S.S. Co. v. US., 3 1 2
          1 8 F.2d 545, 548 (2d Cir. 1 963); Romer v. Leary, 425 F.2d 1 86, 1 88 (2d CiT. 1 970)(in
          19 declaratory relief actions, one looks to the underlying coercive claim in applying the
                                                                     ,
          20 statute of limitations). The coercive relief Plaintiffs seek is payment of their share of
          21 the income earned by the Recaptured Superman Copyrights. Plaintiffs' property right
          22 is violated each time Defendants fail to account to them and the limitations period
          23 begins to run regarding that wrong. See Shapiro, Bernstein & Co. v. Jerry Music Co.,
          24 223 F.2d 252, 254 (2d CiT. 1 955); Stone, 970 F.2d at 1 05 1 . Because Plaintiffs'
          25 underlying coercive claim for profits from the Recaptured Superman Copyrights is
          26 not time-barred, Plaintiffs' procedural claim for declaratory relief is not time-barred.

C-        27         Stone, supra, is factually on point and based on controlling law. Stone held
          28 that 17 U.S.C. § 507(b) does not bar a declaratory relief action to establish copyright

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                                                                     -
           1 ownership or an accoUIltin&-actiOB�hlltOTlI�]imitsJhe dama,ges:llasLpLoj'itS) to three
(          2 years within suit. 970 F.2d at 105 l . While potentially limiting damages, Stone held
           3 that the statute cannot terminate the substantive right of copyright co-ownership.
           4          The plaintiff in Stone was the daughter of country singer songwriter Hank
           5 Williams, Sr. In 1 985, she filed suit seeking a declaration that she is a one-third co-
           6 owner of the renewal copyright to her father's songs and to an accounting of her
           7 share of profits from their exploitation. Id. at 1046. Ms. Stone was legally entitled tq
           8 share in the profits at least six years earlier in 1 979. The district court granted
           9 summary judgment holding her barred by § 507(b) because she had notice of her
          10 copyright claim more than four years prior to filing her lawsuit. !d. at 1 047.
          11         The Second Circuit reversed and held, based on established precedent, that 17
          12 U.S.C. § 507(b) cannot be applied to cause the forfeiture of copyright ownership as
          13 the statute limits only remedies to three years from when suit is filed. Id. at 105 1 .
          1 4 The Stone Court expressly rejected the proposition that copyright ownership is
(
'-
          15 forfeited when a co-owner fails to assert her rights within the limitations period. Id.
         · -r6- -at-1050�5-1; citing Hamptowv�-Paramount-Pictures-eorp. , 2"19 F.2d 100, 1 04 (9th Cin

           1 7 1 960), cert. denied, 364 U.S. 882 (1960)(upheld owner's failure to assert copyright
           18 for 25 years).
           19        Stone should be applied to the case at bar given the symmetry of facts and legal
          20 issues presented in the two cases. In reversing the lower court, Stone addressed the
          21 same issue that is before this Court: the application of 17 U.S.C. §507(b) to a
          22 declaratory relief action regarding a fractional copyright ownership interest and a
          23 request for an accounting, constructive trust and profits. 970 F.2d at 1048; see First
          24 Amended Complaint, �� 52-73. While Ms. Stone's copyright entitlement is based on
           25 her status as Hank Williams' daughter under 1 7 U.S.C. § 304(a), Plaintiffs'
           26 entitlement is based on their status as Siegel's widow and daughter, respectively,

(          27 under 17 U.S.C. § §304(a) and (c), and the exercise of their termination rights under
           28 §304(c) by the ministerial act of giving notice.

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           1         :- Stimece():fri)etlY�relied.:el1:::the-long established rule" directly applicable to the

(         2    case at bar that "statutes of lirnitations bar remedies, not the assertion of rights." Id.
           3   at 1 05 1 . This bedrock principle of law is expressly acknowledged by the Supreme
          4    Court: "[A]s a matter of constitutiona1 Iaw...statutes oflirnitations go to matters of
           5   remedy, not to destruction of fundamental rights." Chase Securities Corp. v.
           6 Donaldson, 325 U.S. 304, 3 14, 89 L.Ed. 1 628, 65 S.Ct. 1 1 37 (1 944).

           7          The Ninth Circuit also holds that "[s]tatutes oflirnitations generally cut off the
           8   remedy without extinguishing the right." Osmundsen v. Todd Pac. Shipyard, 755
           9   F.2d 730, 733 (9th Cir. 1 985). This "constitutional" principle has been directly
          10   applied to the Copyright Act. In Prather v. Neva Paperbacks, Inc., 446 F.2d 338, 340
          11   (5th CiT. 1 97 1 ), the Court held that 1 7 U.S.C. § 507(b) "affect[s] the remedy only, not
          12   the substantive right" based on the legislative history of its nearly identical
          13   predecessor, § 1 1 5(b). 1 1 Because Plaintiffs' substantive copyright ownership exists
          14   by operation oflaw, it can not be extinguished by § 507(b).
(,
          15          G.      No Agreement Was Consummated By The Parties Regarding

         lK ---- - -----plaTiftiffs'-Recaptureo-Superman-Copyrights OrRecaptured -                            ._-




          17                  Superboy Copyrights As A Matter Of Law

          18          After the within actions were filed by Plaintiffs on October 4, 2004 for a
          19   declaration that they had successfully recaptured Siegel's original "Superman" and                    ,-,   :



          20   "Superboy" copyright interests, Defendants claimedfor the veryfirst time that they
          21   purportedly purchased such interests in October, 2001 in a supposed written
          22   agreement even though it was clear from the record and the parties' conduct that no
          23

          24   11
                The Prather Court referred to Senate Report which stated, "The committee [on the Judiciary]
             wishes to emphasize that it is the committee's intention that the statute of limitations, contained in
          25
             this bill, is to extend to the remedy of the person affected thereby, and not to his substantive rights."
          26 S. Rep. No. 1 014, 85th Cong., 1st Sess. 3 (1957). The House Report stated: "[A]ll state statutes of
             limitation, which now govern the Federal courts in copyright actions, are limitations upon the
(         27 remedy, and the present bill has been drawn to apply this concept to a uniform Federal period of
             limitations .... Moreover, it was considered that the long-standing fact that both the copyright bar and ::
          28 the courts have become accustomed to a limitation based upon the remedy warranted a continuation '
             ofthis concept in the present bill." H.R. Rep. No. 1 50, 85th Cong., 1st Sess. 2 (1957).
                                                                 45

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          1   ,agreemeht haQ�bgeIl�rtJ.aQk$ae-Gounterclaim,-��98=o:LOs.,.Answer,_�� .1 12- 1 1 3 .

(         2          Three key documents demonstrate that as a matter oflaw no agreement was
          3 ever consummated: (1) a letter dated October 19, 2001 (the October 19, 2001
          4 Letter") from Plaintiffs' then counsel, Kevin Marks ("Marks") to Warner's general ·
          5 counsel, John Schulman ("Schulman"), Toberoff Decl., Ex. BB; (2) a reply letter
          6 dated Odober 26, 2001 from Schulman to Marks, attaching an outline of purported
          7 deal terms (collectively, the "October 26, 2001 Letter"), ToberoffDecl., Ex. CC; and
          8 (3) a proposed first draft of an agreement sent by Defendants' outside counsel to
          9 Marks on February 1 , 2002 (the "February 1 , 2002 Draft"), ToberoffDecl., Ex. DD.
         10          The relevant history is as follows. In 2000 and 2001 the parties communicated
         1 1 sporadically concerning the potential settlement (i.e, purchase or license) of
         12 Plaintiffs' Recaptured Superman Copyrights (and regarding another character called .
         13 "Spectre," not at issue herein). FACC, �� 5 1 , 52. These negotiations became
         14 increasingly complex and led to an October 1 6, 2001 conference between the parties'
(        1 5 counsel, Schulman and Marks, in which many different terms, including complicated
         -1(5- · contingenrcomperrs-a:tion-formu1as; were discussed.--ToberoffDecl., Exs. BB; CC.

         17 Thereafter, Marks sent Schulman the October 1 9, 2001 Letter which stated as
         1 8 follows:
         19          "The Siegel Family (through Joanne Siegel and Laura Siegel Larson the
                     majority owners ofthe terminated copynght interests) has accep,ted D .C.
         20          Comics' offer of October 1 6, 2001 in respect of the "Superman ' and
                     "Spectre" properties. The terms are as follows: . . . ."
         21
         22 Toberoff Decl., Ex. BB, p. 1 . The October 1 9, 2001 Letter proceeded to set forth
         23 financial and other terms and concluded by stating:

                                                      .
         24          "John [Schulmanl, ifthere is any aspect ofthe above that is somehow
                     misstated, please let me know . . 1 will be out of the office . . . for the
         25          following tour weeks."
         26 Id., at p. 1-6 (emphasis added).

(        27          Schulman responded to Marks' October 1 9, 200 1 Letter by his October 26,
         28 2001 Letter, stating as follows:

                                                           4<i
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               .1                      ,   .
                             "I have received, and have finally had a chance to review, your outline
          1               -_cf(l'X�f,JJetober""W.._.:d7enelosecherewith�for you and BruGe-·::'-··-·� .
(         2
                             a morefulsome outline oiwhat we believe the deal we've agreed to is.
                             We're working on the draft agreement so that by the time you
          3                  [retum] . . . we will have this super-matter transaction in document form."
          4 ToberoffDecl., Ex. CC (emphasis added). As clearly demonstrated below,
          5 Schulman's "morefullsome outline" entitled "October 2001 Outline" contained new
          6 or different material terms than that contained in Marks' October 19, 200 1 Letter,
          7 and was never accepted by Marks or Plaintiffs. ld.
          8                  Defendants' outside counsel thereafter furnished to Marks the February 1 , 2001
          9 Draft - a first draft of a proposed agreement - along with a cover letter dated
         10 February 1 , 2002, which stated as follows:
         11                  "I am pleased to enclose a draft agreement between your clients and DC
                             Comics concerning the Superman property. As our clients have not
         12                  seen this latest version ofthe agreement, I must reserve their right to
                             comment. In addition, you wilfnote that the draft agreement makes
         13                  reference to certain 'Stand Alone Assignments.' We are finalizing those
                             and, as soon as they are ready we will iorward them to you."
c
         14
         15 Toberoff Decl, Ex. DD (emphasis added).
         16-        _.   ··---As-demonstrated-below;-Defendants' -February-l-;--2002-Draft-contained even
         17 more material new or changed terms than that contained in Schulman's October 26,
         18 200 1 Letter; plus "trap doors" that effectively minimized key financial terms set forth
         19 in Marks' October 1 9, 2001 Letter. ld. ; see also Excerpts of Deposition Transcript of
         20 Kevin Marks, at 1 83 : 1 - 7, 1 84:13 - 1 90:6, Toberoff Decl., Ex. EE ("Marks Depo.
         21 Tr."). The February 1 , 2002 Draft was rejected by Plaintiffs. ToberoffDecl., Ex. AA.
         22                  Disappointed and disillusioned by Defendants' overreaching tactics, Plaintiffs
         23 terminated further negotiations by letter dated September 21, 2002. ld. Yet, at no
         24 time prior to the filing of their original Answer and Counterclaim on November 22,
         25 2004 did Defendants ever claim that a binding settlement agreement had been
         26 reached. Nor did Defendants ever proffer to Plaintiffs the fixed compensation for

C        27 Plaintiffs' recaptured copyrights expressed in either the October 1 9, 2001 Letter, the · ,
         28 October 26, 200 1 Letter or the February 1 , 200 1 Draft. ToberoffDecl., Exs. BB-DD.

                                                                  47
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                                      ;::. - - ,:, - -
          1         --cS&tcf�It»_�l{)w-is-a -g£aph-illlJgr{l.ting�that-theirwas.no '2neeting of the minds"
(         2     between the parties by showing some of the material differences between the terms
          3     set forth in Marks' October 1 6, 2001 Letter, Schulman's October 26, 2001 Letter and
          4     Defendants' February 1 , 2002 Draft
          5
                 TERMS             OCT. 19, 2001               OCT. 26, 2001          FEB. 1, 2002 DRAFT
          6                            LETTER                     LETTER
                Scope of        Tenns applied to         Terms applied to all       Tenns cover any Siegel work
          7
                Agreement.      Supennan, Superboy, Siegel properties,              for which he received any
          8                     & related properties     including but not limited compensation from DC or its
                                (e.g., Smallville, Lois to Supennan, Superboy,      predecessors, including
          9                     & Clark), and Spectre Spectre, and all rights of Supennan and Spectre, plus
                                ("Property"), and        all kinds. This included    associated trademarks. See
         10                     related trademarks.      everything Siegel           October 1, 2002 Draft,
                                See October 19, 2001 authored for DC                 ToberoffDecl., Ex.DD
         11
                                Letter, Toberoff         (whether published or       ("2/1/02 Draft") at pp. 8, 12,
         12                     Decl., Ex. BB            not) and everything         20; Marks Depo. Tr. at
                                ("10/19/01 Letter") at related to Superman!          1 55:25-156:3; 1 84:13-
         13                     p. l , � 1; Marks Depo. Spectre (whether created 1 87:22. Toberoff Decl., Ex.
                                Tr. at 155 : 1 8-19;     for DC or not). See         EE.

(
         14                     1 84:22- 1 85 : 1 .      October 26, 2001 Letter
                                Toberoff Decl., Ex.      Toberoff Decl., Ex. CC      This resulted in a "trap
         15
                                                         --
                                                         ("10/26/01 Letter") at p.
                - ----·----
                                EE.                                                  door": Plaintiffs' royalty (see ·
        · 10-                 I---- -----               -2.;-Marks-Depe,-Tr.-at - - -below}tied .to-DC licensing
                                                          1 5 5:25-156:3. Toberoff   revenues from Siegel 's
         17                                              Decl., Ex. EE.              works and failed to include
                                                                                          revenues from all
         18                                                                               derivative Superman
                                                                                          properties. See Marks
         19
                                                                                          Depo. Tr. at 184:13-187:22.
         20      Grant of      Plaintiffs "transfer all       "Grant, re-grant, etc. [of] Grant of all rights in Action
                 Rights        of its rights in the           1 00% of rights, wherever Comics No. 1 Superman
         21                    'Supennan' and                 created, arising out of     works, Post Action Comics
                               'Spectre' properties           Siegel's authorship         No. 1 Superman works,
         22                    (including                     and/or contributions for    Supennan Derivative Works,
         23                    'Superboy') resulting          DC Comics (whether or       and all Supennan Marks; all
                               in 100% ownership to           not published) including rights in the Spectre Works,
         24                    D.C Comics." See               post term. rights as        the Post More Fun Comics
                               1 0/19/01 Letter at            members of the public"      Spectre Works, the Spectre
         25                    p.3, � 1 .                     and "100% of rights,        Marks; and all rights in all
                                                              whenever created, arising other Siegel Works. See
         26                                                   out of Siegel's authorship 2/1/02 Draft at pp. 13-20.

(        27                                                   and/or contributions re:
                                                              Superman, Superboy,         Tennination of all past grants
         28                                                   Spectre, and related        and re-grant of all rights in
                                                              properties - even if not     Superman, Superboy,
                                                                    48

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                                        �-                                                       .---..

           1   -   -- -


                          --   --   - - -- - -- -
                                    -       -    - -   -   -   .   .-�--.---
                                                                               created for DC Comics."
                                                                               See 10126/01 Letter at p.2
                                                                                                            Spectre, as well as granting
                                                                                                            all rights in any other work
(,         2                                                                                                ever created by Jerome
                                                                                                            Siegel. See 2/1/02 Draft at p.
           3                                                                                                14.

           4                                                                                               Plaintiffs must acknowledge
                                                                                                           that they do not have rights
           5
                                                                                                           and will never have rights in
           6                                                                                               any post-Action Comics
                                                                                                           No.1 Superman works and
           7                                                                                               that all such works are
                                                                                                           [purportedly1 "works made
           8                                                                                               for hire" See 2/1/02 Draft at .
                                                                                                           pp. 14-15.
           9
               Gross                6% of DC's                                 "6% of DC's receipts        6% of"amounts actually
          10   Revenue              ''worldwide gross                          from all Media licenses     received" by DC "in United
               Definition for       revenues derived                           for use of the Properties," States Dollars" from
          11   Royalty              from Property." See                        subject to substantial      "Licensing." Revenues
               Payments             1 0119/01 Letter at                        additional reductions of    "shall not include any sums
          12                        p.1, � 2.                                  the royalty rate (see       received by DC Comics for
                                                                               below). See 10/26/01        providing any services or
          13
                                                                               Letter at pp. 5-6.          materials in connection with
                                                                                                           the licensing of rights in the
(
          14
                                                                                                            SUPERMAN Property or
          15                                                                                                SPECTRE Property" even
                                                                                                            though the 6% royalty rate
          16                                                                                                already accounted for DC's
          17                                                                                                services. See 2/1102 Draft at
                                                                                                            p. 9, � 24; Marks Depo. Tr.
          18                                                                                                at 188:17-189:13.

          19                                                                                                Advances against royalties
                                                                                                            paid to DC by a licensee only
          20
                                                                                                            become Revenues when the
          21                                                                                                advance becomes non-
                                                                                                            returnable. See 2/1/02 Draft
          22                                                                                                at p. 9, � 24.

          23                                                                           Revenues only derived from
                                                                                       "Licensing," which refers to
          24
                                                                                       DC "authorizing any third
          25                                                                           party to commercially
                                                                                       exploit" Superman/Spectre.
          26                                                                           See 211102 Draft at P. 9, � 23.
               Royalty re:          6% royalty when        Added new categories        Added new categories where
(         27   Media and
               Merchand-
                                    property is used alone where 6% royalty could
                                    or is licensed for     be further reduced.
                                                                                       the 6% royalty could be
                                                                                       further reduced. See 2/1/02
          28
               isiul!               motion picture and     See 1 0/26/01 Letter at pp. Draft at pp. 23-24:

                                                                                      49

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                  .




    -         1        - --      '"        -            -
                                           television. 6% royalty
                                                             .,  .. .

                                          --wIn be-a'{ljusted'pro-
                                                                  �   ..   -,   -,5-6: _ -
                                                                                        -� --   '.   -_ .    . .   --   Reveinle's'to which reduced
(             2                            rata if property is
                                           used in conjunction
                                                                                "[W]ith respect to
                                                                                licenses wherein the
                                                                                                                        1 .5% royalty applicable are '
                                                                                                                        much broader, encompassing
              3                            with other book                      licensee is granted rights              all products where Superman
                                           characters (other than               to utilize a number of DC               1 Spectre is not "predominant
              4                            "cameo" type                         properties as well as the               creative element" nor the
                                           appearance) but to no                Properties DC shall                     "sole predominant identity or
              5
                                           less than 3%. The                    allocate the income from                title." See 2/1/02 Draft at pp.
              6                            royalty can be further               the license based on the                24; Marks Depo. Tr. at 159:
                                           reduced to 1 .5% in                  actual sales of individual              1 0-12.
              7                            the case of "Justice                 products based on
                                           League of America,"                  information reasonably    Revenues to which reduced
              8                            "Superfriends" and                   available from the        1 % royalty applicable
                                           "Superheroes"                        license, but to the extentbroadened to include not
              9
                                           merchandise and to                   such information is not   only Six Flags but "other
             10                             1% for DC                           available, the 6% shall beLicenses where Revenues
                                           ComicslWarner                        reducible to not less thanfrom such Licenses are not
             11                            Bros. ' overall license              1%." ld.                  specifically attributed to
                                           to Six Flags. See                                              royalties earned by the sale
             12                            10/19/01 Letter at p.                "[W]ith respect to        of character merchandise that
                                           2, � 5; Marks Depo.                  merchandise actually      can be directly allocated
             13
                                           Tr. at 158:4-159:5.                  produced by DC Comics, either to the SUPERMAN

(
             14                                                                 an allocable portion of   property and/or SPECTRE
                                                                                the revenue, consistent   Property or to other
             15                                                                 with licensed             properties in which THE

             16
                                                                                merchandise produced by" PLAINTIFFS do not
                                                                                third parties, shall be
                                                                                                                          -------
                                                                                                          share . . . " See 2/1/02 Draft at
                                                                                deemed DC Comics'         p. 25.
             17
                                                                                revenue for purposes of
             18                                                                 royalty computation." ld. Added term that only "10%
                                                                                                          of Revenue, less costs, and
             19                                                                                           subject to pro rata
                                                                                                          allocations" from
             20                                                                                           merchandise "actually
             21                                                                                           produced" by DC "shall be
                                                                                                          deemed DC Comics'
             22                                                                                           Revenues for purposes of
                                                                                                          royalty computation." See
             23                                                                                           2/1/02 Draft at pp. 24-25.
             24
                                                                                                                        Added term that there is no
                                      I                                                                                 payment obligation for use of ,
             25
                                                                                                                        Properties in Time Warner
             26                                                                                                         advertising. See 2/1/02 Draft

                                                                                                                                                          ,
                                                                                                                        at pp. 27-28.
C            27   Royalty re:             1 % of cover price of                  Changed the works to                   Changed the works to which

                                                                                                                                                          ,
                  DC                      DC pUblications                        which the 0.5% royalty                 the 0.5% royalty rate is
             28
                  Publications            when Property is                       rate is applicable. Instead            applicable. Instead of paying

                                                                                        50

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              .
                               I                                          "




                          used alone. Adjusted      of paying a rriinimum .     a minimum 0.5% royalty

(
          1               pro-rata when the
                          Property is used in
                                                    0.5% royalty-anytime
                                                    Superman or Spectre
                                                                                anytime Superman or
                                                                                Spectre appear:
                                                                                                                ,
          2
                          conjunction with          appear:
          3               other comic book                                      "[T]here will be no royalties
                          characters (other than    "[T]here will be no         payable hereunder when the
          4               "caIIleo" appearance),    royalties payable           SUPERMAN Property
                          but in no event less      hereunder when the          andlor the SPECTRE
          5               than 0.5%." See           Properties appear in        property appear in
          6               1 0/19/01 Letter at pp.   publications or stories     publications or stories based
                          2-3, � 6.                 based on other properties   on other properties and the
          7                                         and the Properties'         Properties' characters do not
                                                    characters do not appear    appear in the title of the
          8                                         in the title of the         publication or feature in
                                                    publication or feature in   question." See 2/1/02 Draft
          9
                                                    question" See 1 0/26/01     at p. 27.
         10                                         Letter at p. 6.
                                                                               Added that no royalties are
         11                                                                    paid on units "returned,
                                                                               damaged, lost, distributed by
         12                                                                    DC as premiums or
                                                                               promotions andlor
         13
                                                                               distributed to uncollectible
         14                                                                    accounts or sold at discounts .
(
"
                                                                               in excess of seventy percent
         15                                                                    off of cover price." See
                                                                               2/1/02 Draft at p. 9.
         16   Royalty     Royalty payments          Royalty payments           Royalty payments extended
              Extension   cease at the              extended only for film     only for fihn and TV projects
         17
              ("Tail")    expiration ofthe          and TV projects for same for same periods, but not
         18               Action Comics No. I       periods, but not "other    "other substantial projects."
                          copyright, except for     substantial projects." See See 211/02 Draft at p. 27.
         19               1) fihns released         1 0/26/01 Letter at p. 6.
                          during last five years                               Royalties limited to revenues
         20               of the copyright                                      from direct "Licensing of
                          (royalties paid for 5                                 exhibition andlor broadcast
         21
                          years from release),                                 rights to the above motion
         22               2) TV series where                                   pictures and television
                          royalties would be                                    series," not to the associated
         23               paid until the end of                                 "sale of any goods or
                          consecutive original                                  provision of any services
         24               episodes plus 3 years                                 ancillary or collateral thereto.
         25               (to cover first                                       See 2/1/02 Draft at p. 27.
                          syndication sale), and
         26               3) "other substantial
                          projects" (akin to
(        27               motion picture and
                          TV projects) released
         28               during the last 5 years

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              .1                      I
                                          •                                           "




          1
                                      �ofcopyright ,
                                  " , "(royaIties'paid'IoT 5                                   ----                   -
C         2                            years from release).
                                       See 10/19/01 Letter at
          3                            p.3, '\1 9.
                   Right to            Expedited dispute         "Expedited dispute         Plaintiffs are to acknowledge
          4        Challenge           resolution procedure      resolution procedure"      "their awareness and
                   Intra-              for challenging intra-    applies to "any claims or  acceptance that DC
          5
                   Company             company deals which       between the parties."      COMICS, in the normal
          6        DC Licensing fall outside "safe               Plaintiffs limited to      course of its operations, does
                   (e.g., licenses harbors." See                 monetary damages only,     business on an arm's length
          7        to WB)              1 0119/01 Letter at       "no injunction against     basis with AOLTW
                                       p.5, '\1 10.              DCIWB breaches, no         Companies and, in doing so,
          8                                                      termination rights, no     may License, inter alia, the
                                                                 reversion. DC              SUPERMAN Property."
          9
                                                                 ComicslWamer Bros.         The Plaintiffs "shall have no
         10                                                      can get equitable relief   right whatsoever to challenge
                                                                 against Siegels' or third  any such license or any of
         11                                                      parties' exploitations or  the terms thereof' subject to
                                                                 other breach." See         safe harbor provisions. For
         12                                                       10/26/01 Letter at p. 7.  "intercompany" agreements
                                                                                            not covered by safe harbor
         13
                                                                                            provisions, Plaintiffs' may
                                                                                             challenge agreement only on
C
         14
                                                                                            basis "that the agreement is
         15                                                                                 not commercially reasonable
                                                                                             and fair in light of all the
         16                                                                                  circumstances." See 211102
                                                                                             Draft at pp. 32,35.
         17
                   Credit              "Until expiration of      Such credit "on             Such credit "on new
         18                            the U.S. Copyright        Superman movies and         [Superman] works . . . first
                                       for Action Comics         TV shows first created      created after the effective
         19                            No. 1 , there will be     after the date hereof       date hereof (excluding later
                                       credit on 'Superman'      (excluding later episodes episodes of ongoing
         20                            comics and other          of ongoing tv series)."     television series) and initially
                                       publications, movies      See 1 0/26/01 Letter at p.  released during the term of
         21
                                       and television            7.                          copyright of Action Comics
         22                           programs that reads                                    No. I ." See 2/1102 Draft at p.
                                       'By Special                                           39.
         23                            Arrangement with
                                       Jerry Siegel
         24
                                     , Family.'" See
         25                            1 0119/01 Letter at
                                       pA, '\1 3.
         26        Credit To           Terms provided for        Terms do not provide for         Terms do not provide for
                                       credit to Plaintiffs in   credit to Plaintiffs in          credit to Plaintiffs in "paid
(
                   Plaintiffs in
         27        "Paid Ads"          "paid ads"                "paid ads." See 1 0126/01        ads." See 211101 letter at pp.
                                       concerning the            Letter at p.7; Marks             39-40; Marks Depo. Tr. at
         28
                                       Properties. See           Depo. Tr. at 1 6 1 : 12-20.      161 : 12-20.

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            .   '
                    ,
                             j
    "




i                                                  ,
                                                        )

                                                  10/19101 Letter at
        "
                         1                        p.<l; �A. Marks                     ----        · · u_____




    (
    .
                         2                        Depo. Tr. at 161 :12-
                                                  20.
                         3       Continuing       Provided only for               New tenns that Plaintiffs    New tenns regarding
                                 relationshipl    mutual non-                     must furnish DC with '       continuing relationship and
                         4       Publicity        disparagement. See '            Jerry Siegel's biography     Plaintiffs' pUblicity
                                                  1011910 I Letter at             and photos for pUblicity     obligations:
                         5
                                                  p.5, � 1 3.                     purposes, and that
                         6                                                        AOLTW companies            1) Plaintiffs have obligation
                                                                                  would get "first           to positively publicize
                         7                                                        opportunity to negotiate   Properties, including making
                                                                                  for any biographical       themselves available for
                         8                                                        works in any media" by     public appearancesl travel;
                                                                                  the Plaintiffs. See        2) DC consent required for
                         9
                                                                                  1 0/26/01 Letter at p. 2;  all appearances, statements,
                        10                                                        Marks Depo. Tr. at         interviews by Plaintiffs
                                                                                  1 57:4-8.                  regarding Supennan, etc;
                        11                                                                                   3) Plaintiffs must issue joint
                                                                                  New tenns imposing an      press release with DC;
                        12                                                        affinnative obligation on 4) No contact by Plaintiffs
                                                                                  the Plaintiffs to          with DC licensees is
                        13
                                                                                  "positively publicize the  pennitted. See 2/1102 Draft

    (
                        14                                                        Properties," including     at p. 37; Marks Depo. Tr. at
                                                                                  "public appearances" and 157:19-1 58:3.
                        15                                                        related "travel," in the
                                                            - - -- - ------       future. New tenns          New tenns providing DC or ,
                        16                                                        included Plaintiffs         its designee with "the first -,
                        17
                                                                                  issuing "a joint press      opportunity to negotiate" to
                                                                                  release" and "consulting   buy "any biographical works
                        18                                                        with DC prior to any       in any media pertaining to
                                                                                  personal'appearances,       Jerome Siegel." See 2/1102
                        19                                                        written statements,        Draft at p. 4 1; Marks Depo.
                                                                                  interviews, or other        Tr. at 157:19-1 58:3.
                        20
                                                                                  activities they may wish
                        21                                                        to conduct relating to the
                                                                                  Properties." See 1 0/26/01
                        22                                                        Letter at p. 2; Marks
                                                                                  Depo. Tr. at 157 :1 9-
                        23                                                        1 58:3.
                                 Attorney in      Appoints DC as                  Plaintiffs "will designate Appoints DC as attorney in
                        24
                                 Fact             attorney in fact. See           WB as attorney in fact."    Fact. See 211101 letter at p.
                        25                        1 011 9101 Letter at p.         See 1 0/26/01 Letter at p.  36.
                                                  5, � 12.                        2
                        26       Provide          Not mentioned.                  New tenn that Plaintiffs    Not mentioned.

    (
                                 Rights                                           "[g]ive copies of all
                        27       Documents                                        documents relating to
                                                                                  rightslhistory." See
                        28                                                                                                                    I
                                                                                  1 0/26/01 Letter at p.2.

                                                                                             53

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                                           ----


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              j                       . ,) '
                                                                                      ,
                                                                                          "   ,




          1                       -   .
                                      .-       .

                                               -
                                                   �   . .
                                                         See Marks Depo at
                                                             -
                                                          - - -- - - -
                                                         156:20-157:3.
                                          -- -     � '"                  _.




(
,         2       Release and .   Not mentioned.         Adds "[r]elease and         Adds full detailed mutual
                  Covenant                               covenant not to sue by      release by the parties and
          3       Not To Sue                             [Plaintiffs] [t]hrough date mutual covenants not to sue.
                                                         of signing of all claims    See 2/1/02 Draft at pp. 42-
          4                                              past, present, and/or       45.
                                                         future, actual or
          5
                                                         potential." Adds that
          6
                      -- --- -    ...                    Plaintiffs "[a]pprove all
                                                         deals made before
          7                                              12/31/00." See 10/26/01
                                                         Letter at p. 8.
          8       Plaintiffs'     "Siegel Family would Changed terms requiring Changed terms that Plaintiffs
                  Warranties      not make any           that the Plaintiffs         warrant and represent, jointly
          9
                  &               warranties as to the   "warrant and represent,"    and severally, that:           .-



         10       Represent-      nature of rights, but  'jointly and severally" :
                  ations          would represent that                                1) Plaintiffs or Siegel have
         11                       they have not          1) that they have "no       not granted any rights in or
                                  transferred the rights termination nor any other encumbered the Properties;
         12                       to any party." See     rights remaining except     2) ''they know of no other
                                  10/19/01 Letter at     for under this              party with any rights of any
         13
                                  p.5, � 13. See also    agreement;"                 kind or that claim to any

(
         14                       Marks' Depo. at        2) that they have entered rights of any kind" in the
                                  156:6-10.              into "no contract of any     subject works or trademarks;
         15                                              kind with any other party 3) they shall not negotiate or
                                                         with respect to or related enter into any agreement
         16                                              to the Properties;"          concerning the subject
         17                                              3) that they will not        works;
                                                         "exploit or enter into any 4) any of their rights in the
         18                                              agreements" re: the          works derive from Siegel;
                                                         Properties; and              5) ''no person or entity other
         19                                              4) that they will not       than [PlaintiffslDC] own any
                                                         "diminish the DCIWB          rights or could possibly
         20                                              enjoyment of exclusive       claim any rights of any
         21                                              ownership, control, and      nature arising out of any
                                                         use" of the Properties.      [Siegel] Works;"
         22                                              See 1 0/26/01 Letter at p.   6) they know of no other
                                                         2; Marks ' Depo. at          Siegel works in which they
         23                                              1 56:6-10.                   claim any rights;
                                                                                      7) they know of no
         24
                                                                                      Superman works not listed in
         25                                                                           the Termination Notices;
                                                                                       8) that Joanne Siegel is the
         26                                                                            sole executor, trustee,

(
                                                                                      administrator, and personal
         27                                                                           rep. ofthe Siegel Estate. See
                                                                                      2/1/02 Draft at pp. 41-42;
         28
                                                                                      Marks' Depo. at 1 56:6-10.

                                                                                 54

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                  .1
                                         .   .
                                                                                        ,
                                                                                        I
         ,




                                                                         -- -
                                                                                             New terms affirming that
              I
,                                                                                            Plaintiffs have no right to
\             2                                                                              challenge the agreement; and
                                                                                             that Plaintiffs have no right
              3                                                                              to terminate any new grant of
                                                                                             the Siegel works. See 2/1/02
              4                                                                              Draft at PP. 30-3 1 .
                       Indemnifica-    "Full E&O and             Terms do not provide        Terms do not obligate DC to
              5
                       tion and        general liability         Plaintiffs E&O and          provide Plaintiffs E&O and
              6        Insurance       coverages and full        general liability           general liability coverage.
                       Coverage        indemnities for           coverage.
              7                        Joanne Siegel, Laura                                   Indemnification of Siegel
                                       Siegel Larson against     Indemnification of           family members that sign the
              8                        liability for DC or       Siegels who sign the         agreement "due to wrongful .
                                       affiliate actions." See   agreement.                   acts by [DC or WE]. See
              9
                                       10/19/01 Letter at p.                                  2/1/02 Draft at p. 46.
             10                        5, � 14. See also          Instead, added new terms
                                       Marks Depo. Tr. at         that Plaintiffs must        Added broad new terms I '
             11                        160:21-25.                 "defend and indemnify                                     "
                                                                                              that Plaintiffs must jointly ,
                                                                  DC re: third party          and severally defend and ,
             12                                                                                                              ,
                                                                  claims," "defend and        indemnify DC for any/all :
                                                                  indemnify DC re: Dennis 1) claims by DC against
             13
                                                                  [Larson] claims and         Plaintiffs arising from a
                                                                  "indemnify re: Michael
(
"
             14
                                                                 'Siegel-for-all-expenses,
                                                                                              breach or claimed breach by
                                                                                            . Plaintiffs "(or any of the
             15                                                   costs, any reasonable       successors, assigns, heirs,
                                                                  settlement or get Michael estates, trustees,
             16                                                   Siegel to sign." See        administrators or executors
                                                                  10/26/01 Letter at p.8;     ofJerome Siegel);"
             17
                                                                  Marks Depo. Tr. at          2) claims by Plaintiffs, the
             18                                                   156: 14-19; 160:21-25.      estate and heirs of Siegel,
                                                                                              Dennis Larson, or any other
             19                                                                               person or entity; including
                                                                                              "any claims relating to        ,
             20
                                                                                               [Plaintiffs'] representations
             21                                                                                and warranties" [see
                                                                                               above]; and Plaintiffs
             22                                                                                obligation to indemnify is
                                                                                              "fully binding regardless of
             23                                                                               whether any of the .. . claims
                                                                                               [etc.] are founded, valid,
                                                                                                    .•.

             24
                                                                                               established in law or fact,
             25                                                                                or based on evidence." See
                                                                                               2/1/02 Draft at pp. 45-46;
             26                                                                                Marks Depo. Tr. at 156: 14-
    -
(            27        If Rights Not   If transfer prevented      Changed term. In the
                                                                                               19; 160:21-25.
                                                                                               Changed term. In the event
                       Transferred     for "legal reason"         event Plaintiffs "attempt    Plaintiffs rights grant is
             28
                                       (e.g., change in law),     to assert claims, all but    ineffective or Plaintiffs make
                                                                                                                                 ,

                                                                        55

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                                , , -

    ,
                                -                                          .-
                                        !




                               "everything in this       $100,000/year creditable    a claim or have reversionary
            1                  deal applies as a         to any other obligation     rights, resulting in any
(          2                   prepayment to any
                               future transfer, except
                                                         WB has or may have to
                                                         Siegels. If any claim by
                                                                                     liability or damage to DC,
                                                                                     any amounts due Plaintiffs ,
           3                   $100,000 per year         Plaintiffs or successor     will thereby be reduced
                               would not be              results in DC expense or    (except $100,000 annually).
           4                   applicable against the    liability, compensation     Plaintiffs must acknowledge
                               compensation (if any)     (over $100,000 annually)    that the amount payable is
            5                  for a future              will be reduced thereby,    more than they would have
           6                   transfer. . .For the      and "only total due         received in a court ifthey
                               sake of clarity, this     hereunder is ever due."     attempted to enforce their
           7                   provision will not in     See 10/26101 Letter at p.   termination notices, and
                               any circumstances         8.                          agree that any compensation
            8                  reduce the monies                                     payable to them, including
                               due the Siegel Family                                  due to a change in the law,
            9
                               under this deal." See                                  will be capped by the amount
           10                  10/19101 Letter at p.                                 payable in the agreement.
                               3 '\1 2.                                               See 2/1102 Draft at pp. 48-
           11                                                                         49.
                Arbitration    Expedited dispute         Terms broadly require        Terms broadly require
           12   Provisions     resolution in one         expedited dispute            arbitration of any and all
                               instance: "if the         resolution 1 arbitration of disputes and limits the
           13
                               Plaintiffs were to        "any claims between the      remedies available to the
           14                  challenge an              parties." See 10126101       Plaintiffs. See 211/02 Draft
(
"
                               intercompany deal         Letter at p. 8; Marks        at pp. 47-50; Marks Depo.
           15                  that was outside a        Depo. Tr. at 1 59:21-23.     Tr. at 1 59:21-23.
                               safe harbor." See
           16                  1 0/19101 Letter at
                               p.5, '\I10;Marks Depo.
           17
                               Tr. at 159:17-19.
           18   Audit Rights   Plaintiffs have "full     Plaintiffs have audit        Plaintiffs have audit rights
                               audit rights." See        rights subject to            subject to new limitations:
           19                  10/19101 Letter at        "[ s]tandard WB language     1) No audit will begin later
                               p.5, '\1 1 0.             and time frames" and         than 1 2 months after royalty
           20                                            limitation of "[0]ne audit   statement provided;
           21                                            per any period." See         2) No audit for longer than 5
                                                         10/2610 I Letter at p. 7.    business days;
           22                                                                         3) Records supporting any
                                                                                      royalty statement may not be
           23                                                                         audited more than once;
                                                                                      4) All statements binding
           24
                                                                                      unless majority of Plaintiffs
           25                                                                         object in writing within 1 2
                                                                                      months of receipt of
           26                                                                          statement, or if audit started,

(
                                                                                      within 30 days of
           27                                                                          completion;
                                                                                       5) Plaintiffs audit at their
           28
                                                                                       own expense; and

                                                                56

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                               "                                -




                                                                         6) Confidentiality provisions .   . .


       1                                                                 See 211102 Draft at pp. 35-
(      2
                                                                         36.

                         1.     The October 19. 2001 Letter Constitutes A Counteroffer That
       3                                                                                               .

                               Was Not Accepted By Defendants
       4
                  In a nutshell, Marks' October 1 9, 2001 Letter though styled as an "acceptance"
       5
            of Schulman's "offer" of October 1 6,.2001 is, in reality, a "counteroffer" because,
       6
            according to Schulman and his "more fulsome outline" something different was
       7
            discussed on October 1 6, 2001 ("I enclose herewith . . . a more fulsome outline of what
       8

       9
            we believe the dea1 we've agreed to is.") Toberoff Decl., Ex. CC. The October,

       10
            2001 Outline attached by Schulman, which purported to be Defendants' October 16,'                    .




       11
            2001 "offer," contained materially different terms (more favorable, of course, to

       12
            Defendants) than that contained in the purported October 1 9, 2001 "acceptance."
            Therefore, Marks' October 1 9, 2001 Letter was, in reality, a counteroffer. It was not
       13
            accepted by Schulman, and did not result in a contract as a matter oflaw.
c
       14
                  The terms proposed in an offer musf15emef exactly, precisely, and
       15

       16
            unequivocally for its acceptance to result in the formation of a binding contract.
            Panagotacos v . Bank ofAmerica, 60 Cal App 4th 85 1 , 855-856 (1 998); Apablasa v.
       17
            Merritt & Co. , 176 Cal. App. 2d 7 1 9, 726 (1 959). A qualified acceptance constitutes
       18

       19
            a rejection tenninating the original offer and the making of a counteroffer to the
            original offeror which must be accepted by the former offeror now turned offeree
       20

       21
            before a binding contract results. Panagotacos, 60 Cal App 4th at 855-856; In re

       22
            Pago Pago Air Crash, 637 F.2d 704, 706 (9th Cir. 1981); Landberg v. Landberg 24

       23
            Cal.App.3d 742, 750 (1 972); Cal. Civ. Code § 1 5 85 ("An acceptance must be

       24
            absolute and unqualified . . .A qualified acceptance is a new proposa1.") See also 1-3
            Corbin on Contracts § 3.36 (2006) (a counter-offer ordinarily tenninates the power to
       25

       26
            accept the previously made offer to which it is a "counter" or reply in a negotiation.)

(      27
                  In Glendale Motor Co. v. Superior Court, 1 5 9 Cal.App.3d 389 (1 984), where a
            settlement agreement was claimed, the court held that plaintiffs qualified acceptance
       28

                                                       57

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       1                      -        -
           constituted a counteroffer ahG thus terminated the defendant's settlement offer as a
(      2   matter of law. The court noted that "California law has generally held that a qualified
       3   acceptance or counteroffer affects the viability of the offer itself, so that ' a qualified
       4   acceptance amounts to a new proposal or counteroffer putting an end to the original
       5   offer. '" Id. at 396, quoting Apablasa v. Merritt & Co. 176 Cal.App.2d at 726.
       6          In Smith v. Bio Works, Inc., 2007 LEXIS U.S. Dist. 6 1 57 at *27 (ED CA 2007)
       7   the court held that the plaintiffs reservation and assertion of rights evidenced that "he
       8   signed the Agreement with the proviso that he did not accept certain terms. Because
       9   plaintiffs letter constituted only a qualified acceptance, no binding contract was
      10   formed, and the rejection terminated defendant's offer. Defendant's response letter,
      11   dated January 1 0, 2005, does not indicate an acceptance of plaintiffs counter-offer."
      12                 2.       No Contract Was Formed Because There Was Never A

      13                           "Meeting Of The Minds" On All Material Terms

                  "California law is clear that there is no contract until there has been a meeting
(
      14

      15   of the minds on all material points." Banner Entnm 't v. Superior Court, 62 Cal. App;
      16   4th 348 (1 998) (citations omitted). The failure to reach a meeting ofthe minds on aIle'
      17   material points prevents the formation of a contract even though the parties have
      18   orally . agreed upon some of the terms, or have taken some action related to the
      19   contract. Grove v. Grove Valve & Reg. Co., 4 Cal. App. 3d. 299, 3 1 1 -3 1 2 (1 970).
      20          Here, Schulman's March 26, 200 1 Letter made clear ("I enclose . . . a more
      21   fulsome outline of what we believe the deal we've agreed to is") and Defendants'
      22   February 1 , 2002 Draft further confirmed that there had been no "meeting of the
      23   minds" between the parties and widened the gap between them by changing material
      24   terms and adding new material terms than that set forth in Marks' October 19, 2001
      25   Letter (counteroffer). See Comparison Graph, supra; ToberoffDecl., Exs. BB- EE.
      26          An essential element of any contract is "consent." Civ. Code, § 1550; 1

(     27   Witkin, Summary of Cal. Law (9th ed. 1987) Contracts, § 6, p. 44. Such "consent"
      28   must be "mutual." Cal. Civ. Code, § 1 5 65; 1 Witkin, Summary of Cal. Law,

                                                         58

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                             n

        1   Contracts, § 1 1 9, p. 144; Meyer v. Benko, 55 Cal. App. 3d 937 (19]6).�(::onsent is
(       2   not mutual, Unless the parties agree upon the same thing in the same sense. Banner
        3   Entertainment, Inc. v. Superior Court, 62 Cal.AppAth 348, 358-359 (1 998). There is
        4   no contract formation without a manifestation of assent to the "same thing" by both
        5   parties. Cal. Civ. Code, § § 1 550, 1 565 and 1 580. Contract law precludes specific
        6   enforcement of a contract when it cannot be determined exactly what terms the
        7   parties agreed upon. Weddington Prods. v. Flick, 60 Cal. App. 4th 793, 801 (1 998).
        8          The Ninth Circuit has made clear that district courts "may enforce only
        9   complete settlement agreements." Callie v. Near, 829 F.2d 888, 891 (9th Cir. 1987).
       10   See also Ozyagcilar v. Davis, 701 F.2d 306, 308 (4th Cir. 1 983); Gardiner v. A.H.
       11   Robins Co., 747 F.2d 1 1 80, 1 1 89 (8th Cir. 1 984).
       12          "In addition to the intent of the parties to bind themselves, the formation of a
       13   settlement contract requires agreement on its material terms." Callie v. Near, 829
            F.2d at 891. In Callie, the appellants' counsel wrote a letter to the other side "'to
(,     14

       15   confirm' the terms of the settlement" as the parties were in agreement as to most
       16   material terms;-inc1udm-g tne settlement payment:- Id�; at 889. However, because they
       17   failed to agree on other terms, there could be no "meeting of the minds." Id., at 891.
       18          Levitz v. The Warlocks, 148 Cal. App. 4th 5 3 1 , 534 (2007) is also illustrative.
       19   In ruling that a settlement agreement had not been reached although key terms had
       20   been agreed upon the Court held:
       21          "In their first communication with the court about their tentative
                   settlement the parties notified it they had a settlement "in principle,"
       22          meaning tney had yet to fix its exact terms. A settlement with open
                   material terms is not a "conditional settlement." To the contrary, it is not
       23          a settlement at all because, like all contracts, it is not binding until the
                   settling parties agree on all its material terms."
       24

       25          In this case no contract was made because the parties attempted, but failed, to ..
       26   agree on all material terms (see above). Moreover, even had they provisionally so
(      27   agreed (they did not) it is clear from their conduct that, given the importance and
       28   complexity ofthe subject matter and proposed deal points, any agreement would need

                                                         59

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        1   'uFbecreduced�toca"written"contractina .mutually acceptable fashion. See October 26,
(      2    2006 Letter ("We're working on the draft agreement. . . "). Toberoff Decl., Ex.CC.
       3                  3.     A Complete Written Agreement In Final Form, Signed By

       4                         Both Parties, Was Contemplated But Never Completed,

        5                        Approved Or Executed

       6          It is further evident that the parties contemplated a complete written agreement
       7    in final form, which would contain additional terms, subject to the parties' mutual
        8   consent; and that there would be no binding contract until such final written
        9   agreement was reviewed, approved and executed by both parties. See Cover letter
       10   attaching Defendants' February 1, 2002 Draft ("As our clients have not seen this
       11   latest version of the agreement, I must reserve their right to comment"), Toberoff
       12   Decl., Ex. DD. See Patch v . Anderson, 66 Cal. App. 2d 63 (1 944)(court found no
       13   enforceable written contract, merely an agreement to execute a contract whose

(
       14   material terms had not all been settled and agreed upon); see also 1 Williston on
       15   Contracts (4th ed. 1 990) § 4: 1 8, at 414; § 4:26, at 585-7.
       16          " When it is clear� .-:-tnat both parties contefnplated iliatacceptance of the
       17   contract's terms would be signified by signing it, the failure to sign the agreement
       18   means no binding contract was created." Weddington, 60 Cal. App. 4th at 80 1 , citing
       19 Beck v . Amer. Health Group Intern., Inc., 2 1 1 Cal. App. 3d 1 555, 1562 (1 989). Thus,

       20   "it is a general rule . . . that, when it is a part of the understanding between the parties
      21    that the terms of their contract are to be reduced to writing and signed by the parties,
      22    the assent to its terms must be evidenced in the manner agreed upon or it does not
       23   become a binding or completed contract." Duran v. Duran, 1 50 Cal. App.3d 176, 180
       24   (1 983) (citations omitted). See also Roth v. Garda Marquez, 942 F.2d 61 7, 626-627
      25    (9th CiT. 1 99 1); Forgeron, Inc. v. Hansen, 149 Cal. App. 2d. 352, 360 (1 957).
       26         "Preliminary negotiations or an agreement for future negotiations are not the

(      27   functional equivalent of a valid, subsisting agreement. 'A manifestation of
       28   willingness to enter into a bargain is not an offer if the person to whom it is addressed

                                                          60

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,.      1 . ,lm0ws�r"haSJ,.eaSQll�tQ=kn9Wc-that-the-,t>erS9!l,makil}gjt-does l1ot intend to conclude a

\       2   bargain until he has made a further manifestation of assent.'" Kruse v. Bank of
        3   America, 202 Cal. App.3d 38, 59 (1988) (citations omitted).
        4          Weddington, 60 Cal. App. at 799, like this case, concerned a disputed
        5   settlement agreement which purported to license certain copyrights. The parties both
        6 signed a settlement memorandum before a private settlement judge that, like the

        7   October 19, 2001 Letter here, included "significant deal points," and described
        8   payment dates and amounts material to both sides. Id. When, as here, subsequent
        9   disagreements arose during the parties efforts to draft the final settlement agreement,
       10   the settlement judge, upon application of the putative licensee, signed an expanded
       11   settlement order (under Cal. Civ.Proc. Code § 664.6), imposing a copyright license i :
       12   "consistent with" the signed settlement memorandum; which order was entered by
       13   the trial court. Id. at 804.
                   The Court of Appeals reversed, holding that no "meeting of the minds"
(
       14

       15   occurred on the material terms of the contract, and that a final agreement had not
       16 been signed by the parties;-"As a result; there was no settlement agreement to

       17   enforce, pursuant to Cal. Civ.Proc. Code § 664.6 or otherwise." Id. at 812. The
       18   court noted: "The fact that the context was one of settlement negotiation...has no
       19 analytical impact on the question of whether an enforceable contract was ever

       20   formed." Id. at 815. It further noted that a court does not have the authority to create ,   .
       21   material terms of a settlement. Id. at 8 lO-811. See Terry v . Conlan;· 131 Cal. App.
       22   4th 1445, 1459-1461 (2005) (trial court improperly attempted to define material terms
       23   and fill in the gaps of a settlement agreement).
       24          Here, the documentary evidence and conduct of the parties clearly
       25   demonstrates that there was no meeting of the minds as to all material terms of an
       26   agreement, and that as a matter of law a binding contract was never reached,

(      27 completed, approved and executed by the parties.

       28

                                                         61

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       1   IV. . . CONCLUSION

(      2         F or the foregoing reasons, Plaintiffs respectfully requests that the Court grant
       3   their motion for summary adjudication in the form lodged separately herewith as the
       4   Proposed Judgment.
       5
           DATED: April 30, 2007            LAW OFFICES OF MARC TOBEROFF, PLC
       6
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                                            By ______      �--�--�-----------
       8                                                   Marc Toberoff
       9                                    Attomey�for Plaintiffs JOANNE SIEGEL
                                            and LAURA SIEGEL LARSON
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                            PLAINTIFFS' MOTION FOR PARTIAL SUMMARY JUDGMENT

                                         EXHIBIT 47
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                                          PROOROFSERVICE._ _           _   _ ___   _   _




                        STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

        I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
 years and not a party to the within action; my business address is: 2049 Century Park East, Suite 2720
                                                                                                       '
 Los Angeles, California 90067.

           On April 30, 2007, I served the attached documents described as:

                 Plaintiffs Joanne Siegel and Laura Siegel Larson's Notice of Motion And Motion
                 For Partial Summary Judgment

                Plaintiffs Joanne Siegel and Laura Siegel Larson's Memorandum of Points And
                Authorities in Support Of Motion For Partial Summary Judgment

                Declaration of Marc Toberoff In Support of Plaintiffs' Motion For Partial
                Summary Judgment

                Plaintiffs Joanne Siegel and Laura Siegel Larson's Statement ofUucontroverted
                Facts And Conclusions of Law in Support of Motion for Partial Summary
                Judgment

                Plaintiffs Joanne Siegel and Laura Siegel Larson's Request For JUdicial Notice In
                Support of Motion For Partial Summary Judgment

                 [Proposed] Order Following Partial Summary Judgment

 as follows:



         As follows: I delivered to the address listed above by hand the documents listed herein.

         Michael Bergman
         WEISSMAN WOLFF BERGMAN COLEMAN GRODIN & EVALL LLP
         9665 Wilshire Boulevard, Ninth Floor
         Beverly Hills, CA 90212

   [X] :BY MAIL:

         As follows: I am "readily familiar" with the firm's practice of collection and processing
 correspondence for mailing. Under that practice it would be deposited with the U.S. postal service on
 that same day with postage thereon fully prepaid at Los Angeles California in the ordinary course of
 business. I am aware that on motion of the party served, service is presumed invalid if postal   _



 cancellation date or postage meter date is more than one day after date of deposit for mailing in
 affidavit. I placed__    the original ...K.. a true copy thereof enclosed in sealed envelope(s) addressed
 as follows:

         James D. Weinberger
         FROSS ZELNICK LEHRMAN & ZISSU, P.C.
         866 United Nations Plaza
         New York, NY 1 00 1 7

   [X]   :BY FACSIMILE:




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                  As foJlq\'(s, I caus�d the transmission of the above named documents to the fax number set
     1    forth below, or on the attached service list.
(    2           James D. Weinberger
                 FROSS ZELNICK LEHRMAN & ZISSU, P.e.
     3           866 United Nations Plaza
                 New York, NY 10017
     4           Facsimile No. 212-813-5901
     5           Patrick T. Perkins
                 PERKINS LAW OFFICE, P.C.
     6           1 7 1 1 Route 9D
                 Cold Spring, NY 1 0516
     7           Facsimile No. 845-265-2819
     8           Michael Bergman
                 WEISSMAN WOLFF BERGMAN COLEMAN GRODIN & EVALL LLP
     9           9665 Wilshire Boulevard, Ninth Floor
                 Beverly Hills, CA 90212
    10           Facsimile No. 3 10-550-7191
    11           :(STATE) - I declare under penalty ofperjury under the laws of the State of California that the
          above is true and correct.
    12
            [Xl :(FEDERAL) - I declare that I am employed in the office ofa member of the bar ofthis court at
    13
          whose direction the service was made.

( 15
    14
                 I declare under penalty of perjury that the foregoing is true and correct.

                 EXECUTED on April 30, 2007, in Los Angeles, California.
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                                                                    Nicholit's C. willhiIllson "'------
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CaseCase:
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          1:06-mc-00099-SO Doc        500-802/18/08
                               #: 10 Filed:   Filed 10/10/12   Page#:111
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CaseCase:
    2:10-cv-03633-ODW-RZ    Document
          1:06-mc-00099-SO Doc        500-802/18/08
                               #: 10 Filed:   Filed 10/10/12   Page#:112
                                                     2 of 2. PageID   155of 204
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CaseCase:
    2:10-cv-03633-ODW-RZ    Document
          1:06-mc-00099-SO Doc        500-802/19/08
                               #: 12 Filed:   Filed 10/10/12   Page#:114
                                                     1 of 4. PageID   167of 204
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CaseCase:
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CaseCase:
    2:10-cv-03633-ODW-RZ    Document
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        8                         UNITED STATES DISTRICT COURT

        9                        CENTRAL DISTRICT OF CALIFORNIA

       10    JOANNE SIEGEL and LAURA SIEGEL             )
             LARSON,                                    )   CASE NO. CV-04-8400-SGL (RZx)
       11

       12                         Plaintiffs,           l   [Consolidated for pre-trial and discovery
                                                            purposes with CV-04-8776-SGL (RZx)]

       13    v.                                             ORDER GRANTING IN PART AND
                                                            DENYING IN PART PLAINTIFFS'
       14    WARNER BROS. ENTERTAINMENT                     MOTION FOR PARTIAL SUMMARY
             INC.; TIME WARNER INC.; and DC                 JUDGMENT; ORDER GRANTING IN
       15    COMICS,                                        PART AND DENYING IN PART
                                                            DEFENDANTS' MOTION FOR PARTIAL
       16                         Defendants.               SUMMARY JUDGMENT

       17

       18           The termination provisions contained in the Copyright Act of 1976 have aptly

       19    been characterized as formalistic and complex, such that authors, or their heirs,

       20    successfully terminating the grant to the copyright in their original work of authorship

       21    is a feat accom plished "against all odds." 2 WILLIAM F. PATRY, PATRY ON COPYRIGHT

       22    § 7:52 (2007).

       23           In the present case, Joanne Siegel and Laura Siegel Larson, the widow and

       24    the daughter of Jerome Siegel, seek a declaration from the Court that they have

       25    overcome these odds and have successfu lly terminated the 1938 grant by Jerome

       26    Siegel and his creative partner, Joseph Shuster, of the copyright in their creation of

       27    the iconic comic book su perhero "Superman," thereby recapturing Jerome Siegel's
,/�
����   28    half of the copyright in the same. No small feat indeed. It requires traversing the




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  1     many impediments - many requiring a detailed historical understanding both                    C)
  2     factually and legally of the events that occurred between the parties over the past

  3     seventy years- to achieving that goal and, just as importantly, reckoning with the

  4     limits of what can be gained through the termination of that grant.

  5            Any discussion about the termination of the initial grant to the copyright in a

  6     work begins, as the Court does here, with the story of the creation of the work itself.

  7             In 1932, Jerome Siegel and Joseph Shuster were teenagers at Glenville High

  8      School in Cleveland, Ohio. Siegel was an aspiring writer and Shuster an aspiring

  9     artist; what Siegel later did with his typewriter and Shuster with his pen would

 10      transform the comic book industry. The two met while working on their high

 11     school's newspaper where they discovered their shared passion for science fiction

 12      and comics, the beginning of a remarkable and fruitful relationship.

 13             One of their first collaborations was publishing a mail-order fanzine titled
         "Science Fiction: The Advance Guard of Future Civilization."1 In the January, 1933,
 14
         issue, Siegel and Shuster's first superman character appeared in the short story
                                                                                                      C)
 15

 16      "The Reign of the Superman," but in the form of a villain not a hero. The story told

 17      of a "mad scientist's experiment with a deprived man from the breadlines" that

 18      transformed "the man into a mental giant who then uses his new powers - the

 19      ability to read and control minds- to steal a fortune and attempt to dominate the

 20      world." (Dec!. Michael Bergman, Ex. HH at 1126). This initial superman character

 21      in villain trappings was drawn by Shuster as a bald-headed mad man.

 22             A couple of months later it occurred to Siegel that re-writing the character as

. 23     a hero, bearing little resemblance to his villainous namesake, "might make a great

 24      comic strip character." (Decl. Michael Bergman, Ex. HH at 1126). · Much of Siegel's

 25      desire to shift the role of his protagonist from villain to hero arose from Siegel's

 26      exposure to despair and hope: Despair created by the dark days of the Depression

 27
                1 A fanzine is a publication, usually distributed at no or nominal cost,
 28       produced by fans of a particular topic (such as comic books, opera, murder
          mystery stories, etc.) for others who share their interest.
                                                     2



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(        1    and hope through exposure to the "gallant, crusading heros" in popular literature

         2    and the movies. (Decl. Michael Bergman, Ex. HH at 1126). The theme of hope

         3    amidst despair struck the young Siegel as an apt subject for his comic strip:

         4    "Superman was the answer - Superman aiding the downtrodden and oppressed."

         5    (Decl. Michael Bergman, Ex. HH at 1126).

         6           Thereafter, Siegel sat down to create a comic book version of his new

         7    character. While he labored over the script, Shuster began the task of drawing the

         8    panels visualizing that script. Titling it "The Superman," "[t]heir first rendition of the

         9    man of steel was a hulking strongman who wore a T-shirt and pants rather than a

        10    cape and tights." (Decl. Michael Bergman, Ex. HH at 1129). And he was not yet

        11    able to hurdle skyscrapers, nor was he from a far away planet; instead, he was

        12    simply a strong (but not extraordinarily so) human, in the mold of Flash Gordon or

        13    Tarzan, who combated crime. Siegel and Shuster sent their material to a publisher

              of comic books- Detective Dan - and were informed that it had been accepted
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        15    for publication. Their success, however, was short-lived; the publisher later

        16    rescinded its offer to publish their submission. Crestfallen, Shuster threw into the

        17    fireplace all the art for the story except the cover (reproduced below), which Siegel

        18    rescued from the flames.

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 2                                          STORY j'" CARTOONS

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17            Undaunted, Siegel continued to tinker with his character, but decided to try a

18     different publication format, a newspaper comic strip. The choice of crafting the

19     material in a newspaper comic strip format was influenced both by the failure to get

20     their earlier incarnation of the Superman character published by Detective Dan in a

21     comic book format, and by the fact that, at the time, black-and-white newspaper

22     comic strips - not comic books - were the most popular medium for comics. As

23    one observer of the period has commented:

24                  It is worth noting the extent to which early comic books
                    were conjoined with newspaper strips of the day. The
25                  earliest comic books consisted of reprints of those
                    newspaper strips, re-pasted into a comic book page
26                  format. When original material began appearing in
                    comic book format, it was generally because companies
27                  that wished to publish comic books were unable to
                    procure reprint rights to existing newspaper strips. The
28                  solution to this . . . was to hire young [comic strip artists]
                    to simUlate the same kind of newspaper strip material.                     C)
                                                  4



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(    1    (Decl. Mark Evanier, Ex. A at 5-6).

     2           On a hot summer night in 1934, Siegel, unable to sleep, began brainstorming

     3    over plot ideas for this new feature when an idea struck him: "I was up late counting

     4    sheep and more and more ideas kept coming to me, and I wrote out several weeks

     5    of syndicate script for the proposed newspaper strip. When morning came, I

     6    dashed over to Joe [Shuster]'s place and showed it to him." (Decl. Michael

     7    Bergman, Ex. HH at 1129). Siegel re-envisioned his character in more of the mythic

     8    hero tradition of Hercules, righting wrongs in present-day society. His inspiration

     9    was to couple an exaggeration of the daring on-screen acrobatics performed by

    10    such actors as Douglas Fairbanks, Sr., with a pseudo-scientific explanation to make

    11    such fantastic abilities more plausible in the vein of Edgar Rice Burroughs' John

    12    Carter of Mars stories, and placing all of this within a storyline that was the reverse

    13    of the formula used in the Flash Gordon serials. The end product was of a

    14    character who is sent as an infant to Earth aboard a space ship from an unnamed

    15    distant planet (that had been destroyed by old age) who, upon becoming an adult,

    16    uses his superhuman powers (gained from the fact that his alien heritage made him

    17    millions of years more evolved than ordinary humans) to perform daring feats for the

    18    public good.

    19           Siegel named his character "Superman." Unlike his previous incarnation,

    20    Siegel's new Superman character's powers and abilities were much more

    21    extraordinary and fantastic: Superhuman strength; the ability to leap 1/8th of a mile,

    22    hurdle a twenty-story building, and run faster than an express train; and nothing less

    23    than a bursting shell could penetrate his skin. Siegel placed his character in a very

    24    cosmopolitan environment that had the look and feel of mid-thirties America. He

    25    also humanized his character by giving his superhero an "ordinary person" alter

    26    ego: Mild-mannered, big-city newspaper reporter Clark Kent. Siegel developed

    27    this concept of Superman's secret identity both as a means for his superhero to

C   28    maintain an inconspicuous position in everyday society and as a literary device to


                                                      5



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 1    introduce a conflict- and the potential for story lines centered around that conflict

 2    - between the character's dual identities, a conflict played out no more

 3    dramatically than in the love "triangle" between the character's dual identities and

 4     another newspaper reporter, Lois Lane.

 5             Shuster immediately turned his attention to giving life and color to Siegel's

 6    idea by drawing illustrations for the story. Shuster conceived of the costume for

 7     Siegel's Superman superhero - a cape and tight-fitting leotard with briefs, an "S"

 8     emblazoned on an inverted triangular crest on his chest, and boots as footwear. In

 9     contrast, he costumed Clark Kent in a nondescript suit, wearing black-rimmed

10    glasses, combed black hair, and sporting a fedora. He drew Superman and his

11    alter ego Clark Kent with chiseled features, gave him a hairstyle with a distinctive

12     curl over his forehead, and endowed him with a lean, muscular physique. Clark

13     Kent hid most of these physical attributes behind his wardrobe, which he could

14    quickly doff revealing his Superman costume underneath when he was called to

15     action by someone in need of his superpowers. One of the earliest of Shuster's
                                                                                               C)
16    sketches of Superman and Clark Kent from this 1934 or 1935 period are depicted

17    below:

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       14           The two then set about combining Siegel's literary material with Shuster's
(
       15    graphical representations. Together they crafted a comic strip consisting of several

       16    weeks' worth of material suitable for newspaper syndication. Siegel typed the

       17    dialogue and Shuster penciled in artwork, resulting in four weeks of Superman

       18    comic strips intended for newspapers. (Dec!. Michael Bergman, Ex. H at 1). The

       19    art work for the first week's worth "of daily [comic] strips was completely inked" and

       20    thus ready for publication. (Dec!. Michael Bergman, Ex. H at 1). The "three

       21    additional weeks of 'Superman' newspaper comic strip material" differed from the

       22    first week's material "only in that the art work, dialogue and the balloons in which

       23    the dialogue appeared had not been inked," instead consisting of no more than

       24    black-and-white pencil drawings. (Decl. Michael Bergman, Exs. G at 2 & H at 1-2).

       25           Siegel also wrote material to which Shuster provided no illustrations: A

       26    paragraph previewing future Superman exploits, and a nine-page synopsis of the

       27    storyline appearing in the three weeks of penciled daily Superman newspaper
(
" ..   28    comic strips. (Dec!. James Steranko, Ex. A at 4; Dec!. Michael Bergman, Ex. H at


                                                        7



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1     2).

2            The two shopped the character for a number of years to numerous

3     publishers but were unsuccessful. As Siegel later recalled: One publisher

4     "expressed interest in Superman," but preferred that it be "published in comic book

5     form where it would be seen in color" rather than "a black-and-white daily strip," a

6     suggestion to which he and Shuster balked given their earlier experience with the

7     comic book publisher of Detective Dan. (Decl. Michael Bergman, Ex. H at 2).

8             In the meantime, Siegel and Shuster penned other comic strips, most notably

9     "Slam Bradley" and "The Spy," that were sold to Nicholson Publishing Company.

10    When Nicholson folded shop in 1937, Detective Comics acquired some of its comic

11    strip properties, including "Slam Bradley" and "The Spy."

12            On December 4, 1937, Siegel and Shuster entered into an agreement with

13     Detective Comics whereby they agreed to furnish some of these existing comic

      strips for the next two years, and further agreed "that all of these products and work
14
      .done by [them] for [Detective Comics] during said period of employment shall be
                                                                                                 C)
15

16     and become the sole and exclusive property of [Detective Comics,] and [that

17     Detective Comics] shall be deemed the sole creator thereof . . . . " (Decl. Michael

18     Bergman, Ex. A). The agreement further provided that any new or additional

19     features by Siegel and Shuster were to be submitted first to Detective Comics, who

20     was given a sixty-day option to publish the material.

21            Soon thereafter Detective Comics decided to issue a new comic book

22    magazine titled Action Comics and began seeking new material. Inquiry was made

23     of many newspaper comic strip publishers, including McClure Newspaper

24     Syndicate. Amongst the material submitted by McClure to Detective Comics was

25     the previously rejected Siegel and Shuster Superman comic strip. Detective

26     Comics soon became interested in publishing Siegel and Shuster's now well-

27     traveled Superman material, but in an expanded thirteen-page comic book format,

28     for release in its first volume of Action Comics.


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(    1           On February 1, 1938, Detective Comics returned the existing Superman

     2    newspaper comic strip material to Siegel and Shuster for revision and expansion

     3    into a full-length," thirteen-page comic book production. Detective Comics' desire to

    4     place Superman in a comic book required that Siegel and Shuster reformat their

     5    existing Superman newspaper material by re-cutting the strip into separate panels

     6    and then re-pasting it into a comic book format.

     7           An issue emerged due to Detective Comics' additional requirement that there

     8    be eight panels per page in the comic book. Siegel and Shuster's existing

     9     Superman newspaper material did not have enough drawings to meet this format.

    10     In response, portions of the thirteen-page comic went forward with fewer than eight

    11    panels per page, and in the remaining pages Shuster either trimmed or split existing

    12    panels to stay within the page size, or drew additional panels from the existing

    13    dialogue to meet the eight-panel requirement. As Shuster later recounted:

    14                  The only thing I had to do to prepare Superman for
(                       comic book publication was to ink the last three weeks of
    15                  daily strips which I had previously completely penciled in
                        detail. In addition, I inked the lettering and the dialogue
    16                  and story continuity and inked in the balloons containing
                        the dialogue. Certain panels I trimmed to conform to
    17                  Detective's page size. I drew several additional pictures
                        to illustrate the story continuity and these appear on
    18                  page 1 of the first Superman release. This was done so
                        that we would be certain of having a sufficient number of
    19                  panels to make a thirteen page release. Finally, I drew
                        the last panel appearing on the thirteenth page.
    20                  Detective's only concern was that there would be panels
                        sufficient for thirteen complete pages. Jerry told me that
    21                  Detective preferred having eight panels per page but in
                        our judgment this would hurt the property. I specifically
    22                  refer to the very large panel appearing on what would be
                        page 9 of the thirteen page release. We did not want to
    23                  alter this because of its dramatic effect. Accordingly, on
                        this page but six panels appeared.
    24
           (Decl. Michael Bergman, Ex. G at 2). Siegel similarly recollected:
    25
                                 Upon receiving word from Detective that we could
    26                  proceed, Joe Shuster, under my supervision, inked the
                        illustrations, lettering and dialogue balloons in the three
    27                  weeks of daily strips that had been previously penciled.
                        In addition, he trimmed certain pictures to meet
(   28                  Detective's panel specifications and extended others.
                        To assure ourselves of having the proper number of

                                                     9



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1                   panels we added several pictures to illustrate the story
                    continuity, I had already written. Added as well for this                       l)
2                   reason was the scientific explanation on page 1 of the
                    release and the last panel at the foot of page 13.
3
      (Decl. Michael Bergman, Ex. H at 5).
4
             On or around February 16, 1938, the pair resubmitted the re-formatted
5
       Superman material to Detective Comics. Soon thereafter Detective Comics
6
      informed Siegel that, as he had earlier suggested to them, one of the panels from
7
      their Superman comic would be used as the template (albeit slightly altered from the
8
      original) for the cover of the inaugural issue of Action Comics. (Decl. Michael
9
       Bergman, Ex. I).
10
             On March 1, 1938, prior to the printing of the first issue of Action Comics,
11
       Detective Comics wrote to Siegel, enclosing a check in the sum of $130,
12
      representing the per-page rate for the thirteen-page Superman comic book release
13
       and enclosing with it a written agreement for Siegel and Shuster's signatures. The
14
       agreement assigned to Detective Comics "all [the] good will attached . . . and               C)
15
       exclusive right[s]" to Superman "to have and hold forever." (Decl. Michael
16
       Bergman, Ex. F). Siegel and Shuster executed and returned the written assignment
17
       to Detective Comics.
18
              This world-wide grant in ownership rights was later confirmed in a September
19
       22, 1938, employment agreement in which. Siegel and Shuster acknowledged that
20
       Detective Comics was "the exclusive ownerO" of not only the other comic strips they
21
       had penned for Nicholson (and continued to pen for Detective Comics), but
22
       Superman as well; that they would continue to supply the artwork and storyline (or
23
       in the parlance of the trade, the "continuity") for these comics at varying per-page
24
       rates depending upon the comic in question for the next five years; that Detective
25
       Comics had the "right to reasonably supervise the editorial matter" of those existing
26
       comic strips; that Siegel and Shuster would not furnish "any art copy . . . containing
27
       the . . . characters or continuity thereof or in any wise similar" to these comics to a
28
       third party; and that Detective Comics would have the right of first refusal (to be          C)
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                                            EXHIBIT 50
                                               827
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(    1    exercised within a six-week period after the comic's submission ) with respect to any
\

     2    future comic creations by Siegel or Shuster.

     3           Detective Comics announced the debut of its Action Comics series with full

     4    page announcements in the issues of some of its existing publications. Specifically,

     5    in More Fun Comics, Vol. 31, with a cover date of May, 1938, Detective Comics

     6    placed the following black-and-white promotional advertisement on the comic's

     7    inside cover, which reproduced the cover of the soon-to-be published first issue of

     8    Action Comics, albeit in a greatly reduced size:

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    25           Similarly, Detective Comics, Vol. 15, with a cover date of May, 1938, had a

    26    full-page black-and-white promotional advertisement on the comic's inside cover

    27    which contained within it a reproduction of the cover (again in a reduced scale ) of

    28    the soon-to-be published first issue of Action Comics:


                                                                                    11



                                                                    EXHIBIT 50
                                                                       828
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16     To provide some context and contrast, the cover of the first issue of Action Comics

17     is notable for its difference from the promotional advertisements both in its scale

18     and its colorized format.

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                                                                   EXHIBIT 50
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    17           Superman itself was published by Detective Comics on April 18, 1938, in

    18    Action Comics, Vol. 1, which had a cover date of June, 1938. A full reproduction of

    19    the original Superman comic contained in Action Comics, Vol. "1, is attached as an

    20    addendum to this Order. See Attachment A to this Order. The Superman comic

    21    became an instant success, and Superman's popularity continues to endure to this

    22    day as his depiction has been transferred to varying media formats.

    23           The Superman character has evolved in subsequent works since his initial

    24    depiction in Action Comics, Vol. 1. These additional works have added decades of

    25    new material to further define, update, and develop the character (such as his

    26    origins, his relationships, and his powers and weaknesses) in an ongoing flow of

    27    new exploits and supporting characters, resulting in the creation of an entire fictional

(   28    Superman "universe." For instance, absent from Action Comics, Vol. 1, was any


                                                     13



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1     reference to some of the more famous story elements now associated with

2      Superman, such as the name of Superman's home planet "Krypton." Many of

3      Superman's powers that are among his most famous today did not appear in Action

4     Comics, Vol. 1, including his ability to fly (even through the vacuum of space); his

5     super-vision, which enables him to see through walls ("x-ray" vision) and across

6     great distances ("telescopic" vision); his super-hearing, which enables him to hear

 7     conversations at great distances; and his "heat vision," the ability to aim rays of

 8     extreme heat with his eyes. The "scientific" explanation for these powers was also

 9     altered in ensuing comics, initially as owing to differences in gravity between Earth

10     and Superman's home planet (the latter being much larger in size than the former),

11     and later because Krypton orbited a red sun, and his exposure to the yellow rays of

12     Earth's sun somehow made his powers possible. In a similar Earth-Krypton

13     connection, it was later revealed that Superman's powers could be nullified by his

14     exposure to Kryptonite, radioactive mineral particles of his destroyed home planet.

15            Aside from the further delineation of Superman's powers and weaknesses,

16     many other elements from the Superman story were developed in subsequent

17     publications. Some of the most famous supporting characters associated with

18     Superman, such as Jimmy Olsen and rival villains Lex Luthor, General Zod, and

19     Brainiac, were created long after Action Comics, Vol. 1, was published. Moreover,

20     certain elements contained in Action Comics, Vol. 1, were altered, even if slightly, in

21     later publications, most notably Superman's crest. In Action Comics, Vol. 1, the

22     crest emblem was a small, yellow, inverted triangle bearing the leiter "S" in the

23     middle, shown throughout the comic as solid yellow in most instances and as a red

24     "S" in two instances. Thereafter, the emblem changed, and today is a large yellow

25     five-sided shield, outlined in the color red, and bearing the leiter "S" in the middle,

26     also in the color red.

27            The acclaim to which the release of Action Comics, Vo. 1, was greeted by

28     the viewing public quickly made Superman not only the iconic face for the comic              (,)
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                                            EXHIBIT 50
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(    1    book industry but also a powerful super-salesman for his publisher. Detective

     2    Comics oversaw the creation, development, and licensing of the Superman

     3    character in a variety of media, including but not limited to radio, novels, live action

     4    and animated motion pictures, television, live theatrical productions, merchandise

    5     and theme parks. From such promotional activity, Detective Comics came to "ownO

     6    dozens of federal trademark registrations for Superman related indicia, such as

     7    certain key symbols across a broad array of goods and services." (Decl. Paul Levitz

     8    � 10). The most notable of these marks that are placed on various items of

     9    merchandise are "Superman's characteristic outfit, comprised of a full length blue

    10    leotard with red cape, a yellow belt, the S in Shield Device, as well as certain key

    11    identifying phrases[,]" such as '''Look! . . . Up in the sky!. . . It's a bird! . . . It's a

    12    plane! . . . It's Superman!" (Decl. Paul Levitz � 10).

    13            Meanwhile, Siegel continued to submit other comic book characters to

    14    Detective Comics that were also published. Sometimes these submissions were

    15    without Shuster serving as an illustrator and sometimes, such as in the case of

    16    Superman's youthful persona "Superboy," see Siegel v. Time Warner Inc., 496 F.

    17    Supp. 2d 1111 (C.D. Cal. 2007), without illustrations accompanying the submission.

    18    Among these subsequent creations was ''The Spectre," a comic written by Siegel

    19    and illustrated by Bernard Baily, which first appeared in 1940 in Detective Comics'

    20    More Fun Comics, Vol. 52. The comic told the story about a superhero with a

    21    supernatural bent - the character being the spirit of a police officer killed in the line

    22    of duty while investigating a gangland overlord and who, after meeting a higher

    23    force in the hereafter, is sent back to Earth with nearly limitless abilities but offered

    24    eternal rest only when he has wiped out all crime.

    25           With Superman's growing popularity, a growing rift developed between the

    26    parties. Siegel and Shuster believed that Detective Comics' poached the artists

    27    apprenticing out of Siegel and Shuster's studio in Cleveland by moving them in-

C   28    house to its New York offices, and further believed that Detective Comics had not


                                                          15



                                                   EXHIBIT 50
                                                      832
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1     paid them their fair share of profits generated from the exploitation of their
                                                                                                    C)
2     Superman creation and from the profits generated from copycat characters that

3     they believed had their roots in the original Superman character. As a result, in

4      1947, Siegel and Shuster brought an action against Detective Comics' successor in

5     interest in New York Supreme Court, Westchester County, seeking, among other

6     things, to annul and rescind their previous agreements with Detective Comics

7     assigning their ownership rights in Superman as void for lack of mutuality and

8     consideration.

9            After a trial, official referee J. Addison Young issued detailed findings of fact

10     and conclusions of law wherein he found that the March 1, 1938, assignment of the

11     Superman copyright to Detective Comics was valid and supported by valuable

12    consideration and that, therefore, Detective Comics was the exclusive owner of "all"

13     the rights to Superman. The parties eventually settled the Westchester action and

14     signed a stipulation on May 19, 1948, whereby in exchange for the payment of over

15     $94,000 to Siegel and Shuster, the parties reiterated the referee's earlier finding

16     that Detective Comics owned all rights to Superman. Two days later, the official

17     referee entered a final consent judgment vacating his earlier findings of fact and

18     conclusions of law, and otherwise reiterating the recitals contained in the stipulation.

19            The feud between the parties did not end after the Westchester action. In

20     the mid-1960s, the simmering dispute boiled anew when the expiration of the initial

21     copyright term for Superman led to another round of litigation over ownership to the

22     copyright's renewal term. 2 In 1969, Siegel and Shuster filed suit in federal district

23     court in New York seeking a declaration that they, not Detective Comics' successor

24

25                2 Under the Copyright Act of 1909 (the "1909 Act"), which was in effect at
        the time of Siegel and Shuster's creation of Superman and later assignment of
26
        rights in the same to Detective Comics, an author was entitled to a copyright in his
27      work for twenty-eight years from the date of its publication. See 17 U.S.C. § 24,
        repealed by Copyright Act of 1976, 17 U.S.C. § 101 et seq. Upon the expiration of
28      this initial twenty-eight year term, the author could renew the copyright for a             C)
        second twenty-eight year period (the "renewal term").
                                                  16



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                                               833
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(    1    (National Periodical Publications, Inc.), were the owners of the renewal rights to the

     2    Superman copyright. See Siegel v. National Periodical Publications, Inc., 364

     3    F.Supp. 1032 (S.D.N.Y. 1973), aff'd by, 508 F.2d 909 (2nd Cir. 1974). The end

     4    result of the litigation was that, in conformity with United States Supreme Court

     5    precedent at the time, see Fred Fisher Music Co. v. M. Witmark & Sons, 318 U.S.

     6    643, 656-59 (1943), in transferring "all their rights" to Superman in the March 1,

     7    1938, grant to Detective Comics (which was reconfirmed in the 1948 stipulation),

     8    Siegel and Shuster had assigned not only Superman's initial copyright term but the

    9     renewal term as well, even though those renewal rights had yet to vest when the

    10    grant (and later the stipulation) was made.

    11           After the conclusion of the 1970s Superman litigation, the New York Times

    12    "ran a story about how the two creators of Superman were living in near destitute

    13    conditions":

    14                   Two 61-year-old men, nearly destitute and worried about
(                        how they will support themselves in their old age, are
    15                   invoking the spirit of Superman for help. Joseph Shuster,
                         who sits amidst his threadbare furniture in Queens, and
    16                   Jerry Siegel, who waits in his cramped apartment in Los
                         Angeles, share the hope that they each will get pensions
    17                   from the Man of Steel.

    18    Mary Breasted, Superman's Creators, Nearly Destitute. Invoke His Spirit, N.Y.

    19    TIMES, Nov. 22, 1975, at 62.

    20           Apparently in response to the bad publicity associated with this and similar

    21    articles, the parties thereafter entered into a further agreement, dated December

    22    23, 1975. See id. (,,'There is no legal obligation,' Mr. EmmeU[, executive vice-

    23    president of Warner Communications, Inc.,] said, 'but I sure feel that there is a

    24    moral obligation on our part"'). In the agreement, Siegel and Shuster re-

    25    acknowledged the Second Circuit's decision that "all right, title and interest in"

    26    Superman ("including any and all renewals and extensions of . . . such rights")

    27    resided exclusively with DC Comics and its corporate affiliates and, in return, DC

C   28    Comics' now parent company, Warner Communications, Inc. ("WCI"), provided


                                                     17



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                                                  834
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      Siegel and Shuster with modest annual payments for the remainder of their lives;
1                                                                                                     ()
2     provided them medical insurance under the plan for its employees; and credited

3     them as the "creators of Superman." In tendering this payment, Warner

4      Communications, Inc. specifically stated that it had no legal obligation to do so, but

 5    that it did so solely "in consideration" of the pair's "past services . . . and in view of

6     [their] present circumstances," emphasizing that the payments were "voluntary."

7     The 1975 agreement also made certain provisions for Siegel's spouse Joanne,

8     providing her with certain monthly payments "for the balance of her life if Siegel"

9     died before December 31, 1985. Finally, Warner Communications, Inc. noted that

10    its obligation to make such voluntary payments would cease if either Siegel or

11     Shuster (or their representatives) sued "asserting any right, title or interest in the

12     'Superman' . . . copyright. " As the years went by Warner Communications, Inc.

13     increased the amount of the annual payments, and on at least two occasions paid

      the pair special bonuses.
14
              As the time grew nearer to the December 31, 1985, cutoff date for surviving
                                                                                                      C)
15

16     spouse benefits, Joanne Siegel wrote the CEO for DC Comics expressing her

17     "terrible worry" over the company's refusal to provide Jerome Siegel life insurance

18     in the 1975 agreement. (Decl. Michael Bergman, Ex. NN). She voiced her concern

19     that, should anything happen to her husband after the cutoff date, she and their

20     daughter "would be left without any measure of [financial] security. " (Decl. Michael

21     Bergman, Ex. NN). The parties thereafter agreed by letter dated March 15, 1982,

22    that Warner would pay Joanne Siegel the same benefits it had been paying her

23     husband if he predeceased her, regardless of the time of his death. (Decl. Michael
                           i

24     Bergman, Ex. 00). Jerome Siegel died on January 28, 1996, and Joanne Siegel

25     has been receiving these voluntary survival spouse benefits since that time.

26            In the meantime, changes in the law resurrected legal questions as to the

27     ownership rights the parties had to the Superman copyright. With the passage of

28     the Copyright Act of 1976 (the "1976 Act"), Congress changed the legal landscape
                                                                                                      C)
                                                   18



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                                                835
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(    1    concerning artists' transfers of the copyrights in their creations. First, the 1976 Act

     2    expanded by nineteen years the duration of the renewal period for works, like the

     3    initial release of Superman in Action Comics, Vol. 1, that were already in their

     4    renewal term at the time of the Act's passage. See 17 U.S.C. § 304(b).

     5           Second, and importantly for this case, the 1976 Act gave artists and their

     6    heirs the ability to terminate any prior grants of the rights to their creations that were

     7    executed before January 1, 1978, regardless of the terms contained in such

     8    assignments, �, a contractual provision that all the rights (the initial and renewal)

     9    belonged exclusively to the publisher. Specifically, section 304(c) to the 1976 Act

    10    provides that, "[i]n the case of any copyright subsisting in either its first or renewal

    11    term on January 1, 1978, other than a copyright in a work made for hire, the

    12    exclusive or nonexclusive grant of a transfer or license of the renewal copyright or

    13    any right under it, executed before January 1, 1978, . . . is subject to termination . . .

    14    notwithstanding any agreement to the contrary . . . . "
(
    15           It is this right of termination that Joanne Siegel and Laura Siegel Larson now

    16    seek to vindicate in this case. 3 In pursuing such a claim, the two heirs, initially

    17    sought the legal assistance of a highly regarded copyright expert, Mr. Arthur J.

    18
                  3   Although the present case only concerns the Siegel heirs' efforts to
    19
           terminate the 1938 grant, it has come to the Court's attention that the estate of
    20     Superman co-creator Joseph Shuster has recently filed termination notices to
           reclaim the rights to the Superman copyright. According to documents filed with
    21     the United States Copyright Office, Mark Warren Peary, the son of Shuster's sister
           and the court-appointed representative of the Shuster estate, has given notice of
    22
           the estate's intent to terminate the 1938 grant of the Superman copyright to
    23     Detective Comics and its successors effective 2013. As executor of the Shuster
           estate, Peary is entitled, under changes made to the 1976 termination provisions
    24     by the 1998 Sonny Bono Copyright Term Extension Act, to make the same
           termination claims for the Superman copyright that Shuster or his heirs would have
    25     been entitled to bring beforehand. See 17 U.S.C. § 304(c)(2); 3 NIMMER ON
           COPYRIGHT § 11.03[A][2][a] at 11-40.1 (noting that when the 1976 Act was
    26
           originally passed if an author died without leaving heirs before exercising the right
    27     to termination "the result was that no one could exercise [that] right," but this
           "harsh result" was "ameliorated" through the passage of the 1998 Act by providing
c   28     that, "instead of lapsing," the termination right could be exercised by "the author's
           executor, administrator, personal representative, or trustee").
                                                      19



                                                EXHIBIT 50
                                                   836
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1      Levine, in compiling the information necessary to draft the termination notice itself:
                                                                                                       ()
2             On April 3, 1997, the two heirs served seven separate notices of termination

3      under section 304(c) of the 1976 Act, purporting to terminate several of Siegel's

4      potential grant(s) in the Superman copyright to defendants, including the March 1,

5      1938, assignment; the May 19, 1948, stipulation; and the December 23, 1975,

6      agreement. The termination notices also specified that they covered hundreds of

7      works, with the added proviso that the intent was for the termination notice to apply

8      "to each and every work . . . that includes or embodies" Superman, and the failure

9      to list any such work in the notice was "unintentional and involuntary." Each of the

10    . termination notices had an effective date of April 16, 1999. A flurry of settlement

11     discussions between the parties quickly ensued, but just as quickly fizzled out.

12     Nearly two years then passed without much discussion between the parties.

13            The day before the purported termination was to take effect, defendants sent

14     a letter to Siegel's counsel, Mr. Levine, rejecting "the validity and scope" of the

15     termination notices. (Decl. Marc Toberoff, Ex. Q at 171). The same day DC

16     Comics Executive Vice President and Publisher Paul Levitz wrote to Joanne Siegel

17     that his company would "continue to provide the income and insurance benefits you

18     . . . have been receiving under the 1975 agreement, without prejudice to [the

19     company's] rights under that agreement, as long as we all continue to pursue the

20     goal of working together." (Decl. Michael Bergman, Ex. Pl.

21            Not long after the termination notices' effective date passed, the Siegel heirs

22     retained new counsel and the parties re-entered into settlement discussions to

23     resolve their respective claims to the Superman copyright. Towards that end, DC

24     Comics (and its "successors, past and present subsidiaries or affiliates") and the

25     Siegel heirs executed a tolling agreement on April 6, 2000, whereby it was agreed

26     that neither would "assert any statute of limitations . . . defense[] relating to . . . the

27
               4 Before going into private practice, Mr. Levine served as General Counsel
28      for the United States Copyright Office and also as Executive Director for the                  ('
                                                                                                       .J
        National Commission on New Technological Uses of Copyrighted Works.
                                                    20



                                             EXHIBIT 50
                                                837
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(     1    [Termination] Notices" based on "the passage of time during the period from the

      2    date hereof until cancellation of this Tolling Agreement pursuant to paragraph 7

      3    hereof (the 'Tolling Period')" while the parties attempted "to find an amicable

      4    resolution in respect of the [Termination] Notices." (Reply Decl. Marc Toberoff, Ex.

      5    A at 1). The agreement further provided that the tolling period would remain in

      6    effect "until 1 0 business days after the earlier of: (a) one of the parties terminating

      7    negotiations, in writing, relating to the [Termination] Notices, or (b) the parties

      8    reaching an amicable resolution of the disputes between them relating to the

      9    Notices." (Reply Decl. Marc Toberoff, Ex. A at 2).

     10           At some point the broad outline of a global settlement conceming the

     11    copyright to the Superman material, as well as to other works Siegel either authored

     12    or contributed material to Detective Comics (notably, Superboy and The Spectre

     13    properties), was reached. Specifically, on October 19, 2001, counsel for Joanne

     14    Siegel and Laura Siegel Larson sent a six-page letter to Warner Bros.' General
(
     15    Counsel confirming and summarizing the substance of the settlement. The letter

     16    concluded that "if there is any aspect of the above that is somehow misstated,

     17    please let me know by [October 22, 2001] at 2:00, as I will be out of the office-

     18    and likely difficult to reach- for the following four weeks." (Decl. Marc Toberoff,

     19    Ex. BB).

     20           A week later, on October 26, 2001, Wamer Bros' General Counsel John

     21    Shulman responded with a letter, stating that he had "reviewed" the summary set

     22    forth in the October 19 letter, and then "enclose[d] . . . a more fulsome outline of
                   ,
     23    what we believe the deal we've agreed to is"; the outline was five pages long.

     24    (Decl. Marc Toberoff, Ex. CC). The letter concluded that Warner Bros. was

     25    "working on the draft agreement" so as to "have this super-matter transaction in

     26    document form." (Decl. Marc Toberoff, Ex. CC).

     27           A few months later, on February 1, 2002, outside counsel for Warner Bros.

e:   28    provided a copy of the promised draft agreement (spanning fifty-six pages), with the


                                                       21



                                                 EXHIBIT 50
                                                    838
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1     proviso that, "[a]s our clients have not seen this latest version of the agreement, I
                                                                                                  ()
2     must reserve their right to comment." (Oecl. Marc Toberoff, Ex. �O). Mention was

3     also made in the draft agreement for the need of certain "Stand Alone Assignments"

4     that had as yet not been finalized, something which Warner's outside counsel

5     promised would be forthcoming. (Oecl. Marc Toberoff, Ex. �O).

6            Three months later, on May 9, 2002, Joanne Siegel wrote a letter to Time

7     Warner's Chief Operating Officer Richard Parsons, recounting that she and her

8      daughter had "made painful concessions and reluctantly accepted John Shulman's

9      last [settlement] proposal [in October, 2001]," but upon reading the proposed draft

10     agreement learned that they had been "stabbed in the back," as it "contained new,

11     outrageous demands that were not in the [October, 2001] proposal," such as

12     "condition[ing] recei[pt of] financial compensation for our rights on demands which

13     were not in the proposal we accepted." (Oecl. Michael Bergman, Ex. Z). The letter

       concluded that "[a]fter four years we have no deal and this contract makes an
14
                                                                                                  (j
15     agreement impossible." (Oecl. Michael Bergman, Ex. Z).

16           Time Warner's CEO quickly responded with a letter of his own on May 21,

17     2002, expressing shock and dismay as "each of the major points covered in the

18     draft agreement . . . accurately represented the agreement previously reached" by

19     the parties. (Oecl. Michael Bergman, Ex. AA). The letter continued by

20     acknowledging that, as with all lengthy negotiations, Time Warner "expected" that

21     the submission of the draft agreement would result in further "comments and

22     questions on the draft" by Siegel family's representatives that "WOUld need to [be]

23     resolve[d]." (Oecl. Michael Bergman, Ex. AA). The letter concluded by reaffirming

24     Time Warner's continued interest "that this agreement can be closed based upon

25     the earlier discussions with [the Siegel family's] lawyers." (Oecl. Michael Bergman,

26     Ex. AA).

27            Not long thereafter, the Siegel heirs' lawyers submitted for the family's review

28     and approval a re-draft of the February 4, 2002, agreement the lawyers had crafted.        C)
                                                 22



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(     1    (Decl. Marc Toberoff, Ex. AA). The Siegel heirs, on September 21, 2002, rejected

      2    the redraft and fired their attorneys. (Declo Marc Toberoff, Ex. AA). That same day

      3    Joanne Siegel and Laura Siegel Larson sent a letter to DC Comics' General

      4    Counsel Paul Levitz notifying the company that they were "stopp[ing] and end[ing]

      5    negotiations with DC Comics, Inc., its parent company AOL Time Warner and all of

      6    its representatives and associates concerning" their rights to, among other things,

      7    Superman. (Declo Michael Bergman, Ex. DO).

      8           Joanne Siegel and Laura Siegel Larson thereafter filed the present action,

      9    with the assistance of new counsel, Marc Toberoff, on October 8, 2004. Both sides

     10    have since filed cross-motions for partial summary judgment.

     11           Reduced to their essentials, the legal questions at stake in the parties' cross-

     12    motions are two-fold:

     13           (1) The validity and enforceability of the termination notices in light of

     14    (a) whether any copyrightable Superman material contained in the promotional
(
     15    advertisements for Action Comics, Vol. 1, lies outside the reach of the termination

     16    notice (and hence, the termination notice is not enforceable against it); (b) whether

     17    certain portions of the Superman comic in Action Comics, Vol. 1, are in the nature of

     18    a work for hire (and hence, not subject to termination); (c) whether the failure to list

     19    the 1948 consent judgment in the notices as one of the grants sought to be

     20    terminated materially affects the notices of termination; (d) whether the post-

     21    termination receipt of benefits under the 1975 agreement acts as a novation to re-

     22    grant the Superman copyright; (e) whether the statute of limitations ran out before

     23    the instant action was instituted thereby forestalling this lawsuit; and (f) whether the

     24    settlement negotiations that took place between the parties resulted in an

     25    enforceable agreement disposing of the claims asserted in the present action; and,

     26           (2) The parameters of what was recaptured (and the rights flowing therefrom)

     27    through the termination notices, namely, (a) whether plaintiffs have a right to

(�   28    defendants' post-termination foreign profits from the exploitation of the Superman


                                                       23



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1     copyright; (b) whether plaintiffs are entitled to profits from any of the various
                                                                                                    lJ
2     trademarks that defendants have procured since the grant in marketing Superman;

3     (c) whether plaintiffs are entitled to profits from the derivative works of the

4     Superman material published by Detective Comics and its successors in interest

5     prior to the termination notice's effective date; and (d) whether any recovery of

6     profits extends beyond those made through D C Comics' exploitation of the

7      Superman copyright to that of its corporate siblings and parent who are licensees to

8     that copyright's movie and television rights, be it based on an alter-ego theory or

9     other notion of equity.

10             I.    Validity and Enforceabililv of Termination Notices

11             The 1976 Act created a new right allowing authors and their heirs the ability

12    to terminate a prior grant to the copyright in their creations. See 17 U.S.C.

13     § 304(c). The 1976 Act also set forth specific steps concerning the timing and

14     contents of the notices that had to be served to effectuate the termination of a prior

15     grant. One of the most important steps was placing a limit on the temporal reach

16     such a notice could have on what was subject to being recaptured. Specifically, the

17     "[t]ermination of the grant may be effected at any time during a period of five years

18     beginning at the end of fifty-six years from the date copyright was originally

19     secured." 17 U.S.C. § 304(c)(3) (emphasis added). Moreover, the notice is

20     required to be "served not less than two or more than ten years before" its effective

21     date.

22             Taken together, someone seeking to exercise the termination right must

23     specify the effective date of the termination, and that effective date must fall within a

24     set five-year window which is at least fifty-six years, but no more than sixty-one

25     years, from the date the copyright sought to be recaptured was originally secured,

26     and such termination notice must be served two to ten years before its effective

27     date. The purpose of this time window for terminating pre-1978 grants was so that

28     the only rights to the copyright affected thereby were those to the 19-year extension        C)
                                                  24



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(   1     in the renewal term created by the 1976 Act, leaving undisturbed the grantee's

     2    vested interest to the original 28-year renewal term as set forth in the 1909 Act, the

     3    governing statute at the time the grant itself was made.

     4           Additional procedures required to be followed to make the termination notice

    5     effective were specified as well: The author or his or her heirs had to serve "an

     6    advance notice in writing upon the grantee or the grantee's successor in title"; the

     7    notice had to be signed by the author or his or her heirs; the notice was required to

     8    "state the effective date of the termination"; and the notice must be "recorded in the

     9    Copyright Office before the effective date of termination." 17 U.S.C. § 304(c)(4).

    10           Beyond these statutory requirements, the notice was also required to

    11    "comply, in form, content, and manner of service, with [the] requirements that the

    12    Register of Copyrights . . . prescribers] by regulation." 17 U.S.C. § 304(c)(4)(B).

    13    Toward that end, the Register promulgated regulations implementing this statutory

    14    proviso. See 37 C.F.R. § 201.10. Among those regulations was one requiring the

    15    terminating party to identify in the notice "each work as to which the notice of

    16    termination applies." 37 C.F.R. § 201.10(b)(1)(ii).

    17           As one noted author has commented, "[i]t is difficult to overstate the

    18    intricacies of these [termination] provisions, the result of which is that they are

    19    barely used, no doubt the result desired by lobbyists for assignees." William Patry,

    20    Choice of Law and International Copyright, 48 AM. J. COMPo L. 383, 447 (2000);

    21    see also Burroughs v. Metro-Goldwyn-Mayer. Inc., 683 F.2d 610, 621 (2nd Cir.

    22    1982) (commenting that the steps necessary to make a termination effective

    23    oftentimes create "difficult, technical questions"). Those intricate provisions

    24    oftentimes create unexpected pitfalls that thwart or blunt the effort of the terminating

    25    party to re.claim the full measure of the copyright in a work of authorship. This case

    26    is no different.

    27

    28


                                                      25



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1             1.     Promotional Announcements

2             Plaintiffs gave notice that the effective date of the termination notices was

3     April 16, 1999, meaning that, backdating from that date sixty-one years, the

4     termination notices would leave unaffected (or better said, beyond their reach) any

5     statutory copyright that had been secured in the Superman material before April 16,

6     1938. Defendants contend that the promotional announcements for Action Comics,

7     Vol. 1, featuring a graphical depiction of Superman, fall just a few days outside the

8      five-year effective window of plaintiffs' termination notices; therefore, they argue,

 9     any copyright material contained in those promotional announcements, notably the

10     illustration of Superman on the cover of Action Comics, Vol. 1, is unaffected by the

11     termination notices and remains theirs to exploit exclusively. As defendants frame

12     it, section 304(c)(3)'s five-year effective window "is tantamount to a statute of

13     limitations[;] . . . if any work falls outside the five-year window established by the

14     [termination] effective date, it cannot be recaptured, and the original copyright grant

15     remains in force for that work, allowing the grantee to continue exercising the

16     granted rights without liability." (Defs' Mot. Partial Summ. J. at 29). Thus, any work

17     that was published with notice prior to April 16, 1938, i.e., sixty-one years before the

18     stated effective date, remains untouched by the termination notice.5

19            Plaintiffs do not dispute the legal consequence section 304(c)'s five-year

20     window has in this case on the effective reach of their termination notices. As

21     drafters of the notice, Siegel's heirs were given carte blanche in identifying the

22     termination notices' effective date. Once they chose a date, certain consequences

23     flowed therefrom, the most important of which is to cabin the five-year window

24

25              5 Defendants also contend that the promotional advertisements are not
        effected by the termination notices because plaintiffs failed to list those works in
26
        their notices. As the Court finds that the promotional advertisements fall outside
27      the five-year window during which those notices could effectively terminate the
        grant in the copyright contained in them, the Court will not pass on the
28      consequences, if any, stemming from plaintiffs' additional failure to list those             ()
        promotional announcements in their notices.
                                                   26



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(    1    within which the notice can recapture any copyright secured in the material to which

     2    the grant was directed. A copyright in a work statutorily secured even just days

     3    outside this five year window is beyond the effective reach of the termination notice,

     4    in much the same way a tardily-filed renewal registration has been held to be

     5    ineffective. Cf. 3 NIMMER ON COPYRIGHT § 9.05[b][1] at 9-44 ("a variance of even

     6    several days is fatal and that the purported renewal is void to rescue the subject

     7    work from the public domain, whether filed after expiration of the one year or prior to

     8    its initiation"). A leading treatise supports such a calculation and the consequences

     9    flowing from it:

    10                  The appropriate dates for termination notices are
                        measured from "the date copyright was originally
    11                  secured, or beginning on January 1, 1978, whichever is
                        later." In the case of pre-January 1, 1978 works,
    12                  "secured" means the actual date the work was first
                        published with notice (or in the case of unpublished
    13                  works, the date of registration), e.g., April 15, 1970, not
                        December 31, 1970. Failure to pay attention to the
    14                  differences between the date the copyright was originally
                        secured for purposes of section 304(c) termination of
    15                  transfer and section 305 expiration of term may lead to
                        an untimely notice of termination,
    16

    17    2 PATRY ON COPYRIGHT § 7:43; see also 3 NIMMER ON COPYRIGHT § 11.05[8][1] at

    18    11-40.11 ("Suppose that statutory copyright for a song were first secured on May

    19    21, 1925. 8ased on the statutory provision that termination may be effected

    20    'beginning at the end of fifty-six years from the date copyright was originally

    21    secured,' the first effective date for termination should be May 21, 1981"); 3 JAY

    22    DRATLER, JR. AND STEPHEN M. McJOHN, INTELLECTUAL PROPERTY LAw: COMMERCIAL

    23    CREATIVE AND INDUSTRIAL PROPERTY § 6.04A[3][a] (2008) ("If the year in which a

    24    work was so published predates the current year by more than sixty-one years, then

    25    the termination right [to that work] under section 304(c) has expired. The statute

    26    apparently requires calculation of all these termination periods from the exact date

    27    of publication, rather than from the end of the publication year, as is appropriate for

(   28    determining copyright terms under the 1976 Act").


                                                     27



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1              It is in this sense that one can say whether a termination notice is timely or

2     not, a question that does not go to the notice's validity (the notice remains valid with

3     respect to a copyright in works that was secured during the five year window) but as

4     to its enforceability against a copyright in a particular work pre- or post-dating that

5     window. Thus, the key in deciding this timeliness question begins with a

6     determination of when the copyright in the work in question was secured, and not

7     when the work itself was created.

 8             The determination of when the copyright in a work is secured is when the

 9    material was protected by statute, meaning when the copyright in such a work

10     secured protection under this country's copyright laws. Under the 1909 Act, "works

11     could have obtained statutory copyright . . . , without the necessity of registration,

12    simply by the act of publishing copies of the work bearing a proper copyright notice.

13    As to such works, registration did not create the copyright, but merely recorded it."

14     2 NIMMER ON COPYRIGHT § 7.16[A][2][b] at 7-148 (emphasis added); see also 17

15     U.S.C. § 10 (repealed). Thus, the initial question is whether the comic books

16     containing the promotional announcements bore such a copyright notice upon

17     them.

18             Section 19 of the 1909 Act delineated what constituted proper notice: "The

19     notice of copyright required by section 10 of this title shall consist either of the word

20     'Copyright', the abbreviation 'Copr.', or the symbol ©, accompanied by the name of

21     the copyright proprietor, and if the work be a printed literary, musical, or dramatic

22     work, the notice shall include also the year in which the copyright was secured by

23     publication." If the comic books in question contained such a notice, then the date

24     of publication is also the date the copyright in the material contained therein was

25     secured. If not, then any of the copyrightable material in the works (including the

26     promotional announcements) was never secured (absent evidence that the material

27     had been registered beforehand with the Copyright Office when it was in an

28     unpublished state) but instead was injected into the public domain.
                                                                                                    ()
                                                   28



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(    1           Here, the material submitted by defendants (the cover page for the magazine

     2    and the page on which the promotional announcements is displayed) does contain

     3    such a notice. At the bottom of the promotional announcement itself is the

     4    following: "Entire contents copyright 1938 by Detective Comics, Inc." (Decl.

     5    Michael Bergman, Ex. C at 10 & Ex. 0 at 14). Thus, the copyright for any of the

     6    works contained in the comic books in question was secured on the date they were

     7    published.

     8           This leads to the next question: What are the publication dates for the two

     9    comic books that contained the promotional announcements for Action Comics,

    10    Vol. 1, featuring an illustration of Superman? Defendants have submitted the initial

    11    copyright registrations for these comics, which indicate that More Fun Comics,

    12    Vol. 31, was published on April 5, 1938, eleven days before the effectiveness of the

    13    plaintiffs' termination notices, and that Detective Comics, Vol. 15, was published on

    14    April 10, 1938, six days outside the temporal reach of the termination notices.
(
    15    Under the 1909 Act the initial (as opposed to the renewal) copyright registration

    16    constituted prima facie evidence of the publication date for a work.6 See 17 U.S.C.

    17

    18             6 Defendants' suggestion that the addition of section 304(a)(4)(B) by the
           Copyright Amendments Act of 1992 somehow altered this rule by extending the
    19
           prima facie imprimatur to renewals like those in this case is simply mistaken.
    20     (Defs' Reply at 40 & n.16). That section provides that, so long as the renewal
           occurred "within 1 year before [the] expiration" of the initial term, then "the
    21     certificate of such registration shall constitute prima facie evidence as to the . . .
           the facts stated in the certificate." However, the 1992 Act's provisions placed one
    22     very important proviso on its applicability - its provisions applied only where a
    23     party was filing a renewal registration to the "extended term of copyright in a work."
           Thus, the amendments' provisions were limited to renewal claims to works that
    24     were still in their initial term when the 1976 Act became effective, January 1, 1978,
           meaning for copyrights whose first term of copyright was secured on or after
    25     January 1, 1950. That is to say, section 304(a)(4)(B)'s provisions only applies to
    26     works that had yet reached the time for renewal before the 1976 Act extended the
           term of the renewal period (unlike Superman in Action Comics, Vol. 1, or the
    27     comics containing the promotional announcements). For those works, the 1992
           amendments allowed such renewal to be made at anytime, but provided incentives
(   28     for prompt renewal, the most notable being the extension of the prima facie rule to
           such promptly filed renewal claims. See 2 PATRY ON COPYRIGHT § 7:50 ("Effective
                                                    29



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1     § 209 (repealed) (providing that a "certificate of registration" issued by the Register
                                                                                                       C)
2     of Copyrights "shall be admitted in any court as prima facie evidence of the facts

3     stated therein"); see also Epoch Productions Corp. v. Killiam Shows. Inc., 522 F.2d

4     737, 745-46 (2nd Cir. 1975); 5 PATRY ON COPYRIGHT § 17:115 (observing that the

5     reason that renewal certificates issued during the 1909 Act were not accorded

6     prima facie status was because of the "minimal attention" the Register of Copyrights

7     paid to the information contained therein ; "[a]s long as original registration for a

8     work has been made, the Copyright Office accept[ed] it at face value").

9             Plaintiffs attempt to refute this prima facie evidence through expert testimony

10     and by legal argument.

11            As to the latter, plaintiffs seek to discredit the value of the initial copyright

12     registration for More Fun Comics, Vol. 31, because Detective Comics' successor

13    did not obtain that registration until nearly 28 years after its publication, on the eve

14     of the expiration of the initial copyright term. The 1909 Act required that, once               "\
                                                                                                       lj
15     copyright had been secured by publication with notice, "there shall be promptly

16     deposited" the required copies of the published work and the registration claim

17     itself. 17 U.S.C. § 13 (repealed). Plaintiffs suggest that such a "late" initial

18     registration raises questions as to the trustworthiness of any of the information

19     contained in that registration. (Pis' Opp. at 48-49). Plaintiffs correctly point out that

20     Professor Nimmer in his treatise has commented that, "where there was a failure to

21
        June 26, 1992, Congress abolished the requirements that works in their first term
22      of copyright published or registered between 1964 and 1977 must be timely
23      renewed in order to enjoy the (now) 67-year renewal term. Instead, these works
        are now automatically renewed for the full term of 75 years. Copyrights whose
24      first term of copyright was secured between January 1, 1950, and December 31,
        1963, still had to have been renewed according to the requirements of the 1909
25      Act. Failure to do so resulted in the work falling into the public domain. . . .
        Renewal claims may still be filed at any time during the renewal period, and a
26
        number of incentives have been added to encourage filing. [One such] incentiveO
27      for renewing provided in the Copyright Act of 1992 are the prima facie status that
        is accorded to the validity of the work"). Given that none of the comics in question
28      fall within the class affected by section 304(a)(4)(8), that section's expansion of            C)
        the prima facie status to renewal claims does not apply here.
                                                    30



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(    1     promptly register and deposit, under the 1909 Act, some questions as to the viability

      2    of the copyright might be raised." 2 NIMMER ON COPYRIGHT § 7. 16[A][2][b] at 7-150.

      3    But Professor Nimmer's comments as to the collateral consequences flowing from

      4    such a delay were not geared toward the validity of the copyright itself, but to the

     5     existence of an impediment to bringing an action for infringement. See id. at 7-149

     6     (noting that Supreme Court's Washingtonian decision effectively read the "words

     7     'promptly deposited' in Section 13 . . . not . . . as a condition subsequent that, if not

     8     satisfied, would result in destruction of the copyright," but rather "[t]he deposit . . .

     9     requirement was (as it still is) clearly a condition precedent to the right to bring an

     10    infringement action").

     11           Although the general line of reasoning plaintiffs seek to draw from such a

     12    "Iate-in-time" registration makes sense from a policy perspective, plaintiffs have

     13    cited no authority that such long delays in registration vitiates or otherwise

     14    diminishes the statutorily conferred prima facie presumption to which such
(
     15    registration claims (and the information contained therein) are entitled, especially

     16    once a registration has (as here) been tendered. Moreover, even were the Court to

     17    entertain plaintiffs' invitation, there remains the initial registration for the other comic

     18    book in question - Detective Comics, Vol. 15- which was obtained shortly after

     19    that comic book's publication and, hence, the problem pressed by defendants with

     20    the promotional announcement contained therein falling outside the effective reach

     21    of the termination notice remains.

     22           Plaintiffs next contend that the copies of the registration certificates

     23    submitted by defendants have not been authenticated by the declarant to whose

     24    declaration they are affixed, and hence, are not admissible as proof of the comic

     25    books' publication date. (Pis' Opp. at 48-49 ("the certificate is not properly

     26    authenticated, but is merely attached to the declaration of defendants' attorney, who

     27    appears to have no personal knowledge of it"). Such extrinsic evidence of

           authenticity by the declarant is unnecessary for these copyright registration
(.   28


                                                        31



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1     certificates. Under Federal Rule of Evidence 902(1), a "document bearing a seal
                                                                                                      C)
2     purporting to be that of the United States . . . or of a . . . department, officer, or

3     agency thereof," with "a signature purporting to be an attestation or execution," is

4      considered self-authenticated. Close inspection of the copyright registration

5      certificates submitted by defendants clearly reveals the seal issued by the United

6     States Copyright Office, signed by the Register of Copyrights, and bearing the

7     following legend: "[A]ttached are additional certificates for the [comics in question]

8      which were registered in accordance with provisions of the United States Copyright

9     Law." (Decl. James Weinberger, Ex. B & C). The requirements of Rule 902(1)

10     have been met, rendering the copies of the copyright registration certificates as self-

11     authenticated and, thus, admissible.

12            The obscure nature of these promotional announcements does not alter this

13     analysis. It is undoubtedly true that the existence of these announcements was not

14    widely recognized even by comic book aficionados. That, however, does not

       change the effect their existence has vis-a-vis the termination notices' effective
                                                                                                      C)
15

16     reach. Once a termination effective date is chosen and listed in the notice, the five-

17     year time window is an unbendable rule with an inescapable effect, not subject to

18     harmless error analysis. See 37 C.F.R. § 201.10(e) (limiting application to

19     "[h]armless errors in a notice" that does not "materially affect the adequacy of the

20     information") (emphasis added). That good cause may have existed for failing to

21     structure the termination notices so as to sweep the announcements within its reach

22     does not obviate application of the rule itself.

23            The importance such promotional announcements may have on the reach of

24     a termination notice that has been tendered was not lost on plaintiffs' counsel, Mr.

25     Levine, who drafted the termination notices in this case. He also drafted plaintiffs'

26     termination notice with respect to The Spectre copyright, and structured it in such a

27     way so as to include among the works affected by the notice's five-year window a

28     promotional announcement for The Spectre contained in a comic published a month
                                                                                                      C)
                                                   32



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(     1    before the one containing the first comic book story of the character. (Decl. Michael

      2     Bergman, Exs. WW-YY (termination notice describing among the works affected by

      3    the notice the promotional announcement as "Spectre character appearing in

      4    costume in an ad in issue No. 51 of More Fun Comics, copyrighted November 28,

     5     1939, as Copyright Registration No. B437786, publication date January 1940") &

      6    Decl. Paul Levitz, Ex. A (containing picture of The Spectre ad)).

      7           Having provided prima facie evidence of the comic books' publication dates,

      8    the burden shifts to the plaintiffs to produce some evidence calling into question

     9     those dates. The burden of production is not a heavy one (in large measure owing

     10    to the fact that so little is proffered by the applicant or scrutinized by the Copyright

     11    Office in the application process to procure the registration in the first instance), but

     12    it is one that must be met nonetheless. See 3 PATRY ON COPYRIGHT § 9:14 ("the

     13    Copyright Office has no ability to verify facts stated in the certificate, and not

     14    surprisingly makes no effort to do so. . . . At the most, the Office can take notice of
(
     15    any inconsistent facts that appear on the deposit copy and request clarification from

     16    the claimant . . . . In any event, [the opposing party] should be required to present

     17    only a small degree of evidence calling into question the fact at issue in order to

     18    rebut the certificate's presumption").

     19           On that point all that plaintiffs have submitted is the opinion of a comic book

     20    historian, Mark Evanier, who was retained by DC Comics in the 1970s to, among

     21    other things, assist it "in attempting to determine approximate dates of past

     22    publication" of its comics. (Decl. Mark Evaier 11 12). From this particular

     23    experience, as well as his long history in the comic book industry, Mr. Evanier seeks

     24    to cast doubt on the veracity of the asserted publication dates for the comics

     25    containing the promotional announcements. The general thrust of his expert

     26    opinion is that, outside the first printing of certain famous comic superheros such as

     27    Superman in Action Comics, Vol. 1, a particular "run of the mill" comic book's exact

           date of publication during the 1930s and 1940s is difficult to determine, rendering
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1     the dates listed on the certificates as nothing more than "mere guesstimates" by the

2     publisher. (Decl. Mark Evanier 11 10). Furthermore, Mr. Evanier downplays the

3     significance of the fact that the comic books in question contained promotional

4      announcements for Action Comics, Vol. 1 , as necessarily meaning that their

5      publication must have preceded Action Comics publication. As Mr. Evanier

6     explains, the dates provided by publishers were often the dates initially scheduled

7      or intended for publication, but the actual dates often varied with printing, delivery,

8      and other delays. (Decl. Mark Evanier 11 11).

9             Mr. Evanier's expert opinion is chalk full of information on the publication of

10     comic books in general during this time period, but is void of any specific evidence

11     or opinion as to the publication of the particular comic books in question in this·

12     case. He offers no evidence of any specific printing, delivery, or other problems that

13     may have affected the publication of More Fun Comics, Vol. 31, or Detective

       Comics, Vol. 15. His general opinion thus does not sufficiently refute the prima
14
       facie evidence set forth in the initial copyright registration certificates for these
                                                                                                      (J
15

16     particular comic books. At most, his opinion raises some doubts as to the precision     ,
17     of the dates contained in initial copyright registrations for comic books in general

18     from this period. However, those copyright notices were completed at a time which,

19     by Mr. Evanier's own opinion, the copyright holder was attempting to be as accurate

20     as possible in listing those dates and long before any incentive to provide

21     inaccurate dates by virtue of contemplating this present litigation or the termination

22     provisions of the 1976 Act existed. Plaintiffs evidence does no more than inform the

23     Court that, despite efforts to be precise about publication dates for comic books

24     during this particular period, mistakes could be made; it is not at all probative on the

25     issue of whether mistakes were in fact made with respect to the information

26     contained in the particular registration certificates at issue in this case. The Court

27    . therefore finds that the promotional announcements containing an illustration of

28     Superman from the cover of Action Comics, Vol. 1, are outside the effective reach
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(    1    of the termination notices.

     2           Perhaps anticipating this finding, plaintiffs next seek to downplay the

     3    significance of the promotional announcements themselves by arguing that, legally

     4                                                                                 ,
          and factually, little, if any, copyrightable Superman material is contained in those

     5    announcements. Specifically, plaintiffs submit that Siegel and Shuster's material

     6    was an indivisible joint work, and that the advertisements were a derivative work of

     7    the authors' material. Thus, they claim that none of the Superman material

     8    contained in the promotional announcements (namely, the cover artwork from

     9    Action Comics, Vol. 1) could be copyrighted, and thus, defendants cannot continue

    10    to exploit the same, regardless of the termination notice. As framed by plaintiffs:

    11    "Defendants' entire argument is falsely premised on the erroneous assumption that

    12    they can take the cover of Action Comics, No. 1, one of many illustrated panels in

    13    Siegel and Shuster's first 'Superman' comic book story, rip it from this copyrighted

    14    joint work, and own a separate copyright in the illustration in the form of a mere 'in
(
    15    house announcement' depicting a reduced image of the illustration. [Moreover,]

    16    Detective's 'in-house announcements,' at best, are derivative works based on the

    17    pre-existing cover and interior panel of Siegel and Shuster's pre-existing

    18    'Superman' story." (Pis' Opp. at 44, 46).

    19           This emphasis on. the joint nature of Siegel and Shuster's Superman material

    20    is rendered nugatory by the fact that Siegel and Shuster granted the copyright in

    21    their material to Detective Comics on March 1, 1938, well before the promotional

    22    advertisements were published by Detective Comics in April of that year. Thus, by

    23    the time the promotional announcements were published, Siegel and Shuster's

    24    Superman material was owned solely by Detective Comics to do with it as it saw fit,

    25    whether it be as a full-length comic or as artwork in its advertising. That Siegel and

    26    Shuster intended their work to be combined together and depicted as a unitary

    27    whole is a separate and distinct question from whether, in later using some of

(   28    Shuster's artwork from that combined material it had acquired,.Detective Comics


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1     somehow unraveled the copyrightability in that portion of the work. The manner of a
                                                                                                    ()
2     work's authorship is entirely separate from the way in which an assignee may

3     exploit that material once it has acquired exclusive ownership of the same and,

4     correspondingly, whether there were anything copyrightable in the work the

5     assignee subsequently published using only parts of that material.

6             In this respect it is important to remember that a joint work can consist of

7     either inseparable or interdependent parts, the latter example of which include "the

8     collaborative musical works of Gilbert and Sullivan . . . ., [t]hese works are the result

9     of the interdependent contributions of the collaborators, i.e., one person wrote the

10     lyrics and the other the music, either of which could on its own [stand] as an

11    independent work, but which, when combined, form a single[, separate]

12     'interdependent' joint work. " 2 PATRY ON COPYRIGHT § 5:6. The original Superman

13     material was the product of the story and dialogue written by Siegel and the art work

14    drawn by Shuster; each on its own could have been a work in its own right subject

      to copyright protection, but when merged together they formed a single new and
                                                                                                    ()
15
16     unified interdependent work. See Siegel v. Time Warner. Inc., 496 F.Supp.2d 1111,

17     1145 (C.D. Cal. 2007) (where this Court held, in regard to Superboy, "the copyright

18     to [the same] (if a joint work) would be considered comprised of interdependent

19     parts - Siegel's dialogue and storyline . . . and Shuster's artwork giving life and

20     color to those words").

21            At most, Detective Comics took a part of Shuster's independently

22     copyrightable art work out of the joint work and utilized it, in conjunction with other

23     material (namely, the advertising slogan), in a promotional announcement. There is

24     no rule preventing a publisher or others from publishing portions or excerpts of

25     works, joint or otherwise, that it solely owns, and then seeking a separate copyright

26     in the same. Indeed, the opposite is true- the holder of a copyright is expressly

27     entitled to prepare derivative works based upon a copyrighted work it owns or to

28     utilize portions of that work in other materials. See 17 U.S.C. § 106(2); see
                                                                                                    ()
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(    1    generally 17 U.S.C. § 1 (repealed). Detective Comics could just as well have

     2    decided to split up the Superman material for publication into two or three

     3    installments as it could (and did) decide to publish a portion of that material in an

     4    advertisement to promote the comic.

     5           This leads to plaintiffs' contention that the "derivative nature" of the

     6    promotional advertisement itself works to exclude any of the copyright in the pre-

     7    existing Superman material (notably, the art work for the Action Comics, Vol. 1

     8    cover) contained therein from enuring to the benefit of the defendants to continue to

     9    exploit. Generally, if an author contributes additional original material to a pre-

    10    existing work so as to recast, transform, or adapt that work, then the copyright

    11    protection afforded to the author of that derivative work extends only to that

    12    additional material and in no way extends to the underlying, pre-existing material.

    13    See 1 7 U.S.C. § 103(b) (specifying that a derivative work's copyright does not

    14    extend to any part of that work using "preexisting material in which copyright
(
    15    subsists"); 1 NIMMER ON COPYRIGHT § 3.03, at 3-10. Thus, it is asserted that the

    16    author of the pre-existing material work (here Siegel and Shuster) would continue to

    17    retain ownership in the same despite its use in the derivative work (the promotional

    18    announcement).

    19           Even assuming that the changes made to the cover page for Action Comics,

    20    Vol. 1 , in the promotional announcements is not merely a reproduction, but

    21    sufficiently "recast, transform, or adapts" the pre-existing material so as to be

    22    considered a derivative work thereof (M, the cover is shown in black and white

    23    instead of color, the scale of the artwork itself is diminished, and text is placed

    24    alongside the artwork), there remains a complicating wrinkle. At the time the

    25    promotional announcements were placed in Detective Comics' existing comic book

    26    publications, the underlying pre-existing Superman material from which a portion of

    27    the announcements were derived (again the artwork for the cover) had yet to be

          published, and, hence, copyright in the same was protected at the time under state
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1      common law. See 17 U.S.C. § 2 (repealed).
                                                                                                       C)
2             Given that the portion of the pre-existing material at issue had yet to achieve

3      statutory copyright protection when it was first published in More Fun Comics, Vol.

4      31, and Detective Comics, Vol. 15, it was injected into the public domain upon the

5      publication of the promotional announcements themselves, absent investiture of

6      statutory copyright protection through its publication. See 17 U.S.C. § 10

7      (repealed). That is to say, the copyright in the cover of Action Comics, Vol. 1, itself

8      first achieved statutory protection, if at all, upon its publication in the

9      announcements, not its later publication in Action Comics, Vol. 1. See 2 PATRY ON

10     COPYRIGHT § 6:35 ("where an investitive publication occurs, the derivative work

11     copyright covers the unpublished material").

12            This fact has repercussions on plaintiffs' derivative works argument, as it

13     alters the general rule described above. Once Detective Comics published a

       portion of the previously unpublished pre-existing material - as was its right as
14
       owner of the material at that time- its continued protection resided exclusively
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15

16     under statutory copyright in the derivative work itself lest that portion of the pre-

17     existing material (the art work for the cover) be injected into the public domain. See

18     Batjac Productions Inc. v. GoodTimes Home Video Corp., 160 F.3d 1223, 1233 (9th

19     Cir. 1998); 2 PATRY ON COPYRIGHT § 6:35 ("to the extent that previously unpublished

20     material is included in an authorized published derivative work, the derivative work

21     publishes the previously unpublished material"). As Professor Nimmer explains:

22                    Because a derivative work by definition to some extent
                      incorporates a copy of the pre-existing work, publication
23                    of the former necessarily constitutes publication of the
                      copied portion of the latter. Of course, an article that
24                    merely describes a pre-existing work but does not
                      incorporate any substantial portion of it is not a
25                    derivative work and hence, does not publish the pre­
                      existing work. Unless the basic work is reproduced in
26                    the published work, it is not published. If only the broad
                      outlines or other fragmentary portion of the pre-existing
27                    work are copied and published in the derivative work,
                      then only to that extent is the pre-existing work
28                    published.
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(    1    1 NIMMER ON COPYRIGHT § 4.12[A] at 4-59 to 4-60; see also id. § 4.13[A] at 4-73

     2    ("any work published prior to January 1, 1978, was not only thereby divested of

     3    common law copyright; it was also injected into the public domain, unless at the

     4    moment of publication copies of the work bore a proper copyright notice").

     5    Thus, included in defendants' right to continue to exploit the copyright in the

     6    derivative work (the promotional announcements) is the right to the copyright in that

     7    part of the pre-existing work (the illustration from the cover) that was published for

     8    the first time in that derivative work.

     9           The cases cited by plaintiffs as standing for the contrary are all

    10    distinguishable, as either the act of publication in question fell within the "limited"

    11    publication exception because the material was distributed for promotional purposes

    12    to members in the trade and not,. as here, the general public itself, see Rushton v.

    13    Vitale, 218 F.2d 434 (2nd Cir. 1955); Hub Floral Corp. v. Royal Brass Corp., 454

    14    F.2d 1226 (2nd Cir. 1972); or because the underlying work reproduced in the
(
    15    derivative work was itself in the public domain (unlike here where the underlying

    16    material was in an unpublished state protected by common law copyright), thereby

    17    mooting any question about divestiture of the underlying work through publication.

    18    See Alfred Bell & Co. v. Catalda Fine Arts, 191 F.2d 99 (2nd Cir. 1951).

    19           Here, the promotional announcements represent the first time Superman

    20    appeared to the public, and consequently, the first time any of Siegel and Shuster's

    21    Superman material was protected by statutory copyright, albeit in conjunction with

    22    the other material contained in the advertisement itself. Thus, all of the material in

    23    the promotional announcement (which included the graphic depiction of Superman

    24    later portrayed on the cover of Action Comics, Vol. 1) obtained statutory copyright

    25    protection before the earliest possible date covered by the plaintiffs' termination

    26    notices. The Court therefore finds that the publication date for at least one of the

    27    comics containing the promotional announcements falls outside the reach of the

(   28    termination notice and, therefore, any copyrightable material contained therein


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1     (including that found in the cover to Action Comics, Vol. 1, as depicted in those

2     announcements) remains for defendants to exploit.

3            This leads to the question of the scope of the copyrighted material remaining

4     in defendants' possession by way of the promotional announcements, a question

5     that defendants themselves acknowledge "is most obviously answered by [looking

6     at] the ads which speak for themselves" and that does not require some "special

7     'lens'" to resolve. (Defs' Reply at 44).

8            The Court begins by observing what is not depicted in the announcements.

9     Obviously, nothing concerning the Superman storyline (that is, the literary elements

10    contained in Action Comics, Vol. 1) is on display in the ads; thus, Superman's

11    name, his alter ego, his compatriots, his origins, his mission to serve as a champion

12    of the oppressed, or his heroic abilities in general, do not remain within defendants

13    sole possession to exploit. Instead the only copyrightable elements left arise from

14    the pictorial illustration in the announcements, which is fairly limited.

15           The person in question has great strength (he is after all holding aloft a car).

16    The person is wearing some type of costume, but significantly the colors, if any, for

17     the same are not represented, as the advertisement appears only in black and

18     white. The argument that the "S" crest is recognizable in the promotional

19     advertisement is not persuasive. What is depicted on the chest of the costume is

20     so small and blurred as to not be readily recognizable, at best all that can be seen is

21     some vague marking or symbol its precise contours hard to decipher. The Court

22     thus concludes that defendants may continue to exploit the image of a person with

23    . extraordinary strength who wears a black and white leotard and cape. What

24     remains of the Siegel and Shuster's Superman copyright that is still subject to

25     termination (and, of course, what defendants truly seek) is the entire storyline from

26     Action Comics, Vol. 1, Superman's distinctive blue leotard (complete with its

27     inverted triangular crest across the chest with a red "S" on a yellow background), a

28     red cape and boots, and his superhuman ability to leap tall buildings, repel bullets,
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(    1      and run faster than a locomotive, none of which is apparent from the

     2      announcement.

     3             2.     Work Made for Hire Aspect of Portions of Action Comics, Vol. 1

     4             Under the 1976 Act, an author's (or his or her heirs') ability to terminate a

     5      prior grant in the copyright to a creation does not apply to a "work made for hire,"

     6      because the copyright in such a creation was never the artist's to grant, belonging

     7      instead to the one who employed the artist to create the work. See 17 U.S.C.

     8      § 304(c); Playboy Enterprises, Inc. v. Dumas, 53 F.3d 549, 554 (2nd Cir. 1995)

     9      ("Once it is established that a work is made for hire, the hiring party is presumed to

    10      be the author of the work"). The manner in which Siegel and Shuster's Superman

    11      material was submitted, then re-submitted in a reformatted version, and finally

    12      accepted for publication by Detective Comics raises questions about the work for

    13      hire status of the re-formatted material (but not the initial material submitted to the

            publisher) later published in Action Comics, Vol. 1.
(   14 ·

    15             Defendants argue that portions of the copyrightable material contained in

    16      Action Comics, Vol. 1, are unaffected by the termination notice because those

    17      portions belong exclusively to them as "works for hire," arguing that certain material

    18      found in the comic book was created by Detective Comics' in-house employees, or

    19      that the material was added to the underlying Superman material by Siegel and

    20      Shuster at the publisher's direction. (Defs' Opp. at 27). Specifically, the alleged

    21      "additional" material provided by Detective Comics' in-house employees is the color

    22      choices made throughout the comic, notably, the red color of the letter "s" on

    23      Superman's crest and the art work for the cover to the magazine itself (albeit

    24      modeled after a interior panel in the Superman comic illustrated by Shuster).

    25      Similarly; the additional material supplied in response to the publisher's February 1,

    26      1938, letter is Shuster's admitted (and as acknowledged by Siegel) drawing of

    27      "several additional pictures to illustrate the story continuity" appearing "on page 1 of

(   28      the first Superman release" and "the last panel appearing on the thirteenth page."


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1     (Decl. Michael Bergman Ex. G at 2 & Ex. H at 5).
                                                                                                   C)
2            The thrust of defendants' argument was made and rejected by the Second

3     Circuit in the 1970s Superman copyright renewal litigation, and is thus precluded as

4     a matter of collateral estoppel here. In that litigation, defendants' predecessors-in-

5      interest presented much of the same evidence now submitted in this case to argue

6      that this additional material transformed the entirety of Siegel and Shuster's

7     pre-existing Superman material published in Action Comics, Vol. 1, into a work

8      made for hire. The Second Circuit rejected this argument, elaborating: "In the case

9      before us, Superman and his miraculous powers were completely developed long

10     before the employment relationship was instituted. The record indicates that the

11     revisions directed by the defendants were simply to accommodate Superman to a

12     magazine format. We do not consider this sufficient to create the presumption that

13     the [comic book] strip was a work for hire." Siegel, 508 F.2d at 914. This

       conclusion forecloses any further litigation on the point of whether Shuster's
14
       additional drawings when reformatting the underlying Superman material into a
                                                                                                   (J
15

16     comic book format or other facts related to such a theory such as the colorization

17     process for Action Comics, Vol. 1, or the party responsible for the illustration of the

18     cover to the magazine, rendered all or portions of the resulting comic book a work

19     made for hire.

20            Defendants seek to avoid the collateral estoppel effect of the Second

21     Circuit's decision by arguing that the only issue concerning the work for hire status

22     of Action Comics, Vol. 1, related to Siegel and Shuster's 1934-1935 "contributions,"

23     and not what was "added to the first Superman story by Detective's employees,"

24     amongst whom defendants count Siegel and Shuster after they executed the

25    . December, 1937, contract. (Defs' Opp. at 36). Such a reading conflicts with the

26     record. The evidence that was proffered during the 1970s litigation in the trial court

27     on the work for hire question included declarations from Siegel and Shuster

28     discussing what took place during the reformatting process. This is the same
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(    1    evidence that defendants now seek to use in this case to argue that the reformatted

     2    material was a work made for hire.

     3           Moreover, the circumstances surrounding the reformatting of the underlying

     4    . Superman material was not only mentioned by the Second Circuit, but discounted

     5    by that court in passing on the work for hire nature of Action Comics, Vol. 1, itself,

     6    not just the initial contributions made by Siegel and Shuster back in 1934 and 1935.

     7    It would be incongruous for the Court, in respecting as it must the Second Circuit's

     8    judgment, to now hold that, while that reformatted material did not transform the

     9    entirety of the material in Action Comics, Vol. 1, into a work made for hire, some

    10    subpart thereof (and, indeed, a very limited subpart, consisting of but a few panels)

    11    was somehow excised out and should be accorded work made for hire status. The

    12    litigation of the larger question sweeps within it defendants' opportunity to litigate a

    13    subpart thereof.
,   14           A contrary. holding would transgress certain core principles of collateral
(
    15    estoppel: "A new contention is not necessarily a new issue. If a new legal theory or

    16    factual assertion raised in the second action is relevant to the issues that were

    17    litigated and adjudicated previously, the prior determination of the issue is

    18    conclusive on the issue despite the fact that new evidence or argument relevant to

    19    the issue was not in fact expressly pleaded, introduced into evidence, or otherwise

    20    urged." 18 JAMES WM. MOORE, MOORE'S FEDERAL PRACTICE § 132.02[2][c] at 132-25

    21    (3rd ed. 2007). Significantly, much of the evidence underlying defendants'

    22    arguments was presented in the Second Circuit litigation (notably Siegel and

    23    Shusters' declarations submitted in that litigation) or, if not, was certainly available

    24    to be used in that case (the colorization process for the initial printing of

    25    Action Comics, Vol. 1, or that in-house employees supposedly drew the cover to the

    26    magazine). "A party may be precluded from re-litigating an issue if evidence

    27    supporting the party's position on the issue could have been submitted in previous .

          litigation but, for whatever reason, was not properly raised. Evidence that is not the
(   28


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1     result of a different factual situation or changed circumstances, but is instead

2     historical in nature and could have been admitted at the first trial if properly

3     submitted, cannot be introduced in subsequent litigation of the same issue." lQ. §

4      132.02[2][d] at 132-25 to 132-26 (citing Yamaha Corp. v. United States, 961 F.2d

5      245, 257 (D.C. Cir. 1992» .

6             Nowhere have defendants explained why they did not bring up the question

7      of the colorization process for Action Comics, Vol. 1, or the cover art work for the

8      magazine, before the courts handling the 1970s Superman litigation. The question

9      about the legal effect the reformatting of the underlying Superman material had on

10     the work for hire question was litigated by the parties and resolved by the courts

11     during the 1970s Superman matter. Similarly, the question about the colorization

12     and cover art work (and who was responsible for the same) could have been raised

13     in conjunction with the work for hire question, but defendants failed or decided not

14     to do so. Having litigated. the question and having the
                                                            .  opportunity to present all the

15     evidence that pressed on the issue, defendants are now barred from seeking to

16     relitigate it anew even under the purported limited guise that it is now being offered.

17            Some noted treatise writers have commented that the Second Circuit's

18     analysis focusing on the work for hire nature of the additional reformatted material

19     should have been analyzed as a derivative work, that is, that the additional material

20     was derivative of the underlying Superman material. See 1 NIMMER ON COPYRIGHT

21     § 5.03[B] [1][b][l] at 5-33 n.92. ("The Siegel decision . . . may be understood as

22     holding that the first expression of the Superman character was the underlying

23     work, and the later development of the character was a derivative work. Because

24     only the derivative work was produced in a for-hire relationship, the underlying work

25     remains the property of the creators"). However, this analysis does not benefit

26     defendants.

27            First, no additional literary material was supplied in re-formatting the

28     underlying Superman material into a comic book formal. All the dialogue and                  ()
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                                                                                                        ,




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(     1    storyline contained in Action Comics, Vol. 1, was present before Detective Comics

      2    requested the pair to provide a reformatted version of the material, and that literary

      3    material remained unchanged through the reformatting process. All that is left was

      4    supplying some additional illustrations by Shuster, the precise ones specified in his

      5    declaration. From the Court's review of these additional illustrations, it appears that

      6    the material is completely derivative of other panels in the Action Comics, Vol. 1,

      7    comic, with its origins in the underlying Superman material. Thus, for instance,

      8    while the final panel on page 13 shows Superman's crest with a red "S" on a yellow

      9    background, so, too, does another panel containing the underlying, pre-existing

     10    material. Similarly, while the panels on the first page to the comic show Superman

     11    leaping skyscapers, running at high rates of speed, and demonstrating feats of

     12    great strength, so, too, do other panels containing the pre-existing material. Indeed,

     13    the earliest sketches by Shuster from 1934 and 1935 demonstrate that the graphical

     14    depiction of Superman was well on its way to being completely developed before
(
     15    the re-formatted material in question was created some three years later. Thus,

     16    even if the additional material in question was tendered as a derivative work that

     17    was made for hire by Shuster, all the potentially copyrightable material contained

     18    therein is completely derivative of the pre-existing material and, hence, is not

     19    subject to independent copyright protection in the first instance. This, then, lends

     20    strong support to the Second Circuit's observation: "Superman and his miraculous

     21    powers were completely developed long before the employment relationship was

     22    instituted." Siegel, 508 F.2d at 914.

     23           Defendants also argue that the coloring for Action Comics, Vol. 1, was not

     24    created or chosen by Siegel or Shuster, but was instead the product of some of

     25    Detective Comics' in-house employees working in the printing department. Even if

     26    this argument was not otherwise precluded by collateral estoppel, the evidence

     27    produced in support is less than persuasive. According to "eye-witness" Jack Adler,

           the material contained in comic books "at the time" was provided by artists to the
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1     Detective Comics' production staff in black and white. (Decl. Jack Adler 1[ 3).
                                                                                                    c)
2     "Typically," members of the staff then decided upon the color that would be applied

3     throughout the magazine, something that defendants argue is an additional element

4     added to the underlying Superman material that is itself subject to copyright

5     protection. (Decl. Jack Adler 1[ 3). Defendants' argument depends entirely upon

6      Mr. Adler's declaration, which is not as clear as they suggest.

 7            Mr. Adler does not state that he worked on the colorizing of Action Comics,

 8    Vol. 1, itself. Instead he states that he "worked for the engraving company that

 9    made the metal plates for printing of, among other things, comic books for Detective

10    Comics." (Decl. Jack Adler 1[ 3). He then states that, "[a]t the time, comic book

11    artists . . . submitted drawn and inked comic book work in black and white." CLg.).

12     Mr. Adler further states that the black-and-white pages "were then photographed by

13    the engraver and a photo print was hand[-]colored by staff at Detective and by the

14    engravers." (Id.). Of course, nothing in this statement precludes the possibility that,

15     even if the Superman material was so submitted, Siegel and Shuster may have also

16     placed certain color directions with their material to be utilized in the engraving

17     process. In fact, that the earlier incamation of Superman as hulking strongman in

18     the tradition of Tarzan was created by the pair as a comic book with color

19     illustrations lends to the possibility that they already had pre-conceived color

20     choices in mind for the later comic if it were later reformatted into a comic book,

21     rather than a newspaper comic strip.

22            Moreover, viewed in context, Mr. Adler's declaration appears to describe

23     procedures generally employed in the printing process, not as evidence of what

24     actually occurred with respect to the printing of Action Comics, Vol. 1, itself. His

25     statement (and, in fact, the entire Adler declaration) is of dubious evidentiary value

26     in light of his candid admission that he has "no knowledge of Siegel and Shuster

27     selecting any of the color in Action Comics, No.1." (Id. 1[ 4). Mr. Adler attempts to

28     temper his admission of lack of knowledge by stating, without any basis, that he is          ()
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(    1    "aware that Detective staff member, Ed Eisenberg, selected the color for

     2     Superman's 'S' in Shield on his costume." (Id.) Of course, Mr. Adler's statement on

     3    this point is inadmissible as it is based on hearsay. Without any direct link between

     4    Mr. Adler's work and the printing of Action Comics, Vol. 1, in particular, there exists

     5    an insufficient evidentiary foundation for his conclusions conceming the manner in

     6    which the Superman material was supplied to the printer and the colorization of the

     7    same was handled.

     8           Finally, defendants argue that the cover for Action Comics, Vol. 1, was drawn

     9    by Detective Comics' in-house artists. However, the scant evidentiary basis

    10    provided in support of this argument is ambiguous. In a letter sent to Jerome Siegel

    11    dated February 22, 1938, Detective Comics' editor, Vin Sullivan, enclosed "a

    12    silverprint of the cover of Action Comics," with the observation that Detective

    13    Comics "used one of those panel drawings of SUPERMAN, as you suggested in

    14    your recent letter." (Decl. Michael Bergman, Ex. I). The inference sought to be
(
    15    drawn by defendants is that when Mr. Sullivan stated that the publisher "used" an

    16    interior illustration from the Superman comic for the cover artwork he was stating

    17    that one of the publisher's in-house artists saw the interior panel in question and

    18    then drew the cover using the interior panel as inspiration. Of course, given the

    19    limited nature of the information contained in the passage it could also be argued

    20    that, in his earlier letter, Siegel enclosed an illustration by Shuster as a suggestion

    21    for the comic book's cover and Detective Comics decided to "use" this suggestion.

    22    This alternative reading is not implausible. As demonstrated by the pair's attempt to

    23    have their earlier incarnation of Superman published by Detective Dan, Shuster had

    24    in the past drawn exemplars for the cover illustration for his comics well before they

    25    were ever accepted for publication.

    26           In conclusion, the Court finds that the question of the work-for-hire nature of

    27    certain portions of the Superman material published in Action Comics, Vol. 1, is
,         precluded from further litigation by operation of the 1974 Second Circuit decision.
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1     Accordingly, the binding nature of that court's decision leads to the conclusion that
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2     all the Superman material contained in Action Comics, Vol. 1, is not a work-made-

3     for-hire and therefore is subject to termination.

4             3.     Failure to Include 1948 Consent Judgment

 5           Among the regulatory requirements promulgated by the Register of

6     Copyrights concerning the termination notice's "form, content, and manner of

7     service," 17 U.S.C. § 304(c)(4)(B), is the requirement that the notice must

 8    "reasonably" identify "the grant" to which it applies. 37 C.F. R. § 201.1 0(b)(1)(iv).

 9    Thus, if the author entered into five separate grants of rights for the same work, and

10    a notice of termination identifies only four of those grants, the fifth grant remains

11    "intact," and the grantee's rights thereunder remain unaffected. See 3 NIMMER ON

12     COPYRIGHT § 11.06[B] at 11-40.22(1) n.63 ("if a grant was not effectively terminated,

13    then the rights licensed under such grant remain").

              Here, defendants argue that plaintiffs' failure to identify the 1948 consent
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      judgment from the Westchester action is fatal to their attempts to terminate their
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16    grant to the copyright in Superman, as that consent judgment was among the

17    grants leading to the transfer of ownership from the artists to Detective Comics.

18     Such argumentation is predicated upon the notion that, notwithstanding the

19     plaintiffs' act of identifying the stipulation between the parties from the Westchester

20     litigation that resulted in the consent judgment, identification of the consent

21     judgment from the Westchester action itself as (or part of) a "grant" was necessary

22    because it constituted the final step in "effectuat[ing] the transfer to [Detective

23    Comics] of the sole and exclusive ownership of all rights relating to 'Superman"';

24    "without it the rights identified in the Stipulation would not have been transferred."

25     (Defs' Opp. at 39). The Court disagrees.

26            Although the 1976 Act nowhere defines the term "grant," the central question

27    raised is plainly one of transfer: Did Siegel and Shuster transfer any rights to

28     Superman through or in conjunction with the 1948 consent judgment? If so, then it
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(     1    operated as a grant by the artists in the same.

      2           On that point, the 1976 Act is helpful as it defines a "transfer of copyright

      3    ownership" as "an assignment, mortgage, exclusive license, or any other

      4    conveyance, alienation, or hypothecation of a copyright." 17 U.S.C. § 101; see

      5    Melville B. Nimmer, Termination of Transfers under the Copyright Act of 1976, 125

      6    U. PA. L. REV. 947, 951-52 (1977) ("In general, the termination provisions apply to

      7    any 'transfer' of copyright and to nonexclusive licenses of copyright or of any right

      8    comprised in a copyright. [Thus, a] 'transfer' includes not only assignments (as

      9    understood under the [1909] Act), but also exclusive licenses and any other

     10    conveyance of copyright or of any exclusive right comprised in a copyright").

     11           The consent judgment at issue did not effectuate any transfer of rights from

     12    Siegel and Shuster to Detective Comics. If any rights were transferred as a result of

     13    the Westchester action, such a transfer was effectuated by the execution of the
                                                                                                    .
     14    earlier stipulated agreement of the parties, not a document created two days later
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     15    which simply memorialized the transfer that the stipulation itself had accomplished.

     16    The binding nature of the transfer contained in the stipulation was completed the

     17    moment that agreement was executed. The consent judgment was a mere

     18    formality whose execution (or lack thereof) did not detract from the otherwise

     19    binding nature of the parties' earlier agreement. It merely parroted what was

     20    already agreed to by the parties in the stipulation itself.

     21           Finally, even if the 1948 consent judgment is a "grant" separate and apart

     22    from (or part and parcel with) the 1948 stipulation, the regulations recognize that not

     23    all errors in compliance with its terms impact the validity of the termination notice:

     24    "Harmless errors in a notice that do not materially affect the adequacy of the

     25    information required to serve the purposes of . . . section 304(c) . . . shall not render

     26    the notice invalid." 37 C.F.R. § 201.10(e)(1). Here, viewing the issue in the light

     27    most favorable to the defendants, the 1948 consent judgment simply served to

     28    culminate or otherwise finalize the transfer of the Superman copyright achieved
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1      through the stipulation the parties reached two days earlier. That plaintiffs only
                                                                                                        C)
2      identified the latter rather than the former does not materially affect defendants'

3      understanding of the "grant" sought to be affected by the notice. Indeed, courts

4      have required much less in meeting the regulation's requirement of providing "a

5      brief statement reasonably identifying the grant being terminated." See Music Sales

6      Corp. v. Morris, 73 F.Supp.2d 364, 378 (S.D.N.Y. 1999) (holding that description of

7      the grant in the termination notice as the "grant or transfer of copyright and the

8      rights of the copyright proprietor " was sufficient as "it appears to be boilerplate on

9      termination notices customarily accepted by the Register of Copyrights"); see also 2

10     PATRY ON COPYRIGHT § 7:45 (approving Music Sales). Nowhere do defendants

11     argue why the harmless error rule should not apply in a situation such as this where

12     one document that is a part in the process leading to the "transfer" of rights is

13     identified, but its necessary corollary was not.

              Accordingly, the Court concludes that, even if the consent judgment is
14
       viewed as integral to the transfer of rights, plaintiffs' failure to identify it as a grant
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15

16     subject to the termination notice was a harmless error that did not diminish the

17     notice defendants received regarding the nature of the grant (and resulting transfer

18     of rights) that plaintiffs intended to terminate.

19            4.      Continued Acceptance of Benefits Under 1975 Agreement

20            Defendants argue that Joanne Siegel's continued acceptance of benefits

21     under the parties' 1975 agreement constitutes, "as a matter of equity," a de facto

22     post-termination grant of rights in the Superman copyright to defendants under the

23     terms of that agreement (or as phrased by defendants, plaintiffs have "effectively re-

24     accepted the terms of the grant"). (Defs' Opp. at 41). The legal premise of their

25     argument is that the 1976 Act recognizes that, once a termination notice has been

26     served and thereby vested, see 17 U.S.C. § 304(c)(6)(B), the terminating party is

27     free to make "a further grant . . . of any right covered by a terminated grant" to the

28     original grantee or its successor in title. 17 U.S.C. § 304(c)(6)(D). The Court                  C)
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(       1    ultimately rejects this argument as un persuasive because it mistakenly assumes the

        2    1975 agreement was a "grant" to the Superman copyright.

        3           A look at the context leading up the execution of the 1975 agreement

        4    illuminates in what way the parties believed (and just as importantly did not intend)

        5    for that agreement to bind them. The 1975 agreement appears to have been

        6    drafted in response to bad publicity (apparently due to the juxtaposition of the

        7    creators' misfortune and the Superman character's commercial success), and not

        8    as a means to transfer or convey the party's rights to the Superman copyright. The

        9    agreement observed that nothing therein should be construed as undermining the

       10    rights defendants had been conferred by virtue of the March 1 , 1938, assignment,

       11    rights which were later vindicated in the Westchester action and the 1 970s Second

       12    Circuit litigation. Indeed, the agreement reaffirmed defendants' existing rights to

       13    Superman and provided plaintiffs with annual payments, medical insurance, and

       14    screen credits. Such conferral of benefits was identified in the agreement as a
(
       15    "voluntary" act by defendants in recognition of Siegel and Shuster's "past services."

       16    The 1 982 codicil, in tum, removes the condition for the promised benefits to Siegel's

       17    widow on the timing of her husband's death.

       18           This context and the language in the agreement itself demonstrate that the

       19    1975 agreement was not a "grant." The agreement's execution did not result in the

       20    transfer or assignment of the Superman copyright. Indeed, the agreement itself

       21    expressly disavows such an interpretation by including language that the conferring

       22    of benefits by defendants to Siegel and Shuster was simply a "voluntary" act in

       23    recognition of the pair's "past services," and that nothing therein should be

       24    construed as undermining the rights defendants had been conferred in the March 1 ,

       25    1938, assignment as vindicated in the Westchester action and the 1970s Second

       26    Circuit litigation. Thus, by its own terms, no rights were transferred through the

       27    execution of that agreement. A reaffirmation of existing rights without more is no
c




�...   28    more "an assignment" or "conveyance" of rights to a copyright than it would if


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1     Detective Comics had instead issued a press release declaring that previous court                0
2     rulings had recognized its existing ownership rights to that copyright.

3             Similarly, the 1982 codicil under which Joanne Siegel continued to receive

4     annual payments and benefits did not transfer any rights. The codicil consists of

5     five paragraphs. The first merely notes that the letter is in response to a letter

6     written by Joanne Siegel to the company's executive officer regarding her concern

7     over how she would provide for herself after her husband's death. The second

8     referenced the 1975 agreement, noted the increase in the amount of the annual

9     payments from $20,000 to $50,000 thereunder, and the payment of an additional

10    bonus. The third clarified a royalty policy that applied to creators other than Siegel

11    and Shuster. The fourth set forth the agreement to continue to pay benefits to

12    Joanne Siegel for the balance of her life in the event her husband predeceased her

13    before 1985. The fifth and final paragraph merely wishes Joanne Siegel and her

14    family well. Nowhere in these five humble paragraphs is a transfer of rights to be               ' \
                                                                                                       C)
15    inferred, much less explicitly found.

16            Thus, even if Joanne Siegel's continued receipt of the benefits of the bargain

17    contained in the 1975 agreement post-termination somehow operated as a de facto

18    re-acceptance of the agreement itself (and the obligations flowing thereunder),

19    nowhere among those re-accepted "obligations" or "commitments" in that

20     agreement was there a grant to the Superman copyright. Defendants protest the

21     Court drawing this conclusion, arguing that plaintiffs have admitted in their

22    pleadings (their complaint, and by filing a termination notice directed at the 1975

23    agreement) that the 1975 agreement contained a grant to the Superman copyright.

24     It certainly is true that "[fjactual assertions in pleadings and pre-trial orders . . . are

25     considered judicial admissions" that bind the party who made them. American Title

26     Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988). That being said,

27     "courts still have discretion not to apply the doctrine in particular cases." 18 JAMES

28     WM. MOORE, MOORE'S FEDERAL PRACTICE § 134.33[6] at 134-84 (3rd. ed. 2007)
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(     1      (citing New Hampshire v. Maine, 532 U.S. 742, 750 (2001) ("Because the rule is

      2     intended to prevent 'improper use of judicial machinery,' judicial estoppel 'is an

      3     equitable doctrine invoked by a court at its discretion"')).

      4            As noted at the outset, the termination provisions contained in the 1976 Act

      5     are among the most complex and technical ones in the statute. Given this

      6     complexity, it is not surprising that a party seeking to harness its machinery may,

      7     out of an abundance of caution, be more "over-inclusive" in terms of listing the

      8     possible "grants" it seeks to terminate. To penalize a party for being over-inclusive

      9     rather than under-inclusive is all the more inequitable given the high hurdles the

     10     termination provisions put in place. Here, plaintiffs were represented by highly

     11     experienced counsel who decided to list the 1975 agreement as a "granf' so as to

     12     leave no stone unturned; an approach all the more justified given the extremely

     13     technical and arcane arguments that have been advanced in this litigation

     14     concerning the efficacy and enforceability of the termination notices themselves.
(
     15     The Court therefore concludes that in these circumstances discretion counsels

     16     against applying the judicial estoppel doctrine in the manner advocated by

     17     defendants.

    . 18           Accordingly, the Court concludes that Joanne Siegel's continued receipt of

     19     payments and benefits under the 1975 agreement and 1982 codicil thereto does not

     20     constitute a "further granf' or "an agreement to make a further granf' pursuant to 17

     21     U.S.C. § 304(c)(6)(D).

     22            5.      Statute of Limitations

     23            Defendants contend that the present action was filed untimely. The statute

     24     of limitations itself is clear enough. The Copyright Act of 1976 provides that "[n]o

    25      civil action shall be maintained under the provisions of this title unless it is

    26      commenced within three years after"the claim accrued." 17 U.S.C. § 507(b). The

    27      issue raised by defendants implicates the latter clause and requires the Court to

    28      determine when plaintiffs' claims accrued.


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1              At the outset, a clarification of terms is in order. The instant matter, although
                                                                                                     o
2     couched in terms of terminating the 1938 grant, is in effect one for co-ownership of

3     the copyright in the Superman material contained in Action Comics, Vol. 1,

 4    because, if successful, plaintiffs would gain only a joint ownership interest in that

5     material with DC Comics, owing to the fact that Shuster left no heirs who could

6     simultaneously seek to terminate his half of the grant in the material. Claims of co-

7     ownership accrue when there is a "plain and express repudiation of co-ownership

8     . . . communicated to the claimant." Zuill v. Shanahan, 80 F.3d 1366, 1369 (9th Cir.

9     1996).

10             Here, defendants assert that such a repudiation was expressed by a letter

11     submitted to plaintiffs' counsel dated December 18, 1997, during the whirlwind of

12    negotiations that took place between the parties shortly after the submission of the

13    termination notices. The Court finds to the contrary. As explained more fully below,

      although the letter stated a position that the termination notices were "defective," the
14
      letter addressed only the scope of the rights that could be recaptured by the
                                                                                                     ( ')
15

16    termination notices aDd left unchallenged the notices' validity and enforceability,

17     thus falling short of the required repudiation.7

18
                7 One could quibble with whether any date other than the termination
19
        effective date itself can serve as the accrual date in a case involving the right to
20      termination of a grant. Much like having to await a judicial determination whether
        one is a heir (as opposed to instances when an ownership claim is based on
21      whether or not someone is a creator) has been held to be the earliest instant for
        an accrual date, see Stone v. Williams, 970 F.2d 1043 (2nd Oir. 1992) (Hank
22      Williams' putative daughter's claim to be an owner had to await judicial
23      determination that she was in fact his daughter and heir, thus accrual date was not
        triggered when Hank Williams' first contested her putative status but instead when
24      state court made determination that she was his heir), so too a claim of ownership
        by way of termination of a grant cannot be realized unless and until after the
25      termination's effective date. Stated another way, a party's status as a creator is a
26      factual question subject to being challenged by the other putative co-owner at any
        time, and hence, the accrual date for the same would begin at that instant. The
27      same, however, is not true of a putative co-owner by way of termination. Their
        status as co-owner is not predicated upon a pre-existing factual scenario, like
28      whether they were involved in jointly creating the material per se. Instead, their
        status as a co-owner is predicated upon a legal mechanism - the exercise of a
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                                             EXHIBIT 50
                                                871
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(    1           Specifically, the letter upon which defendants rely notified plaintiffs' counsel,

     2    Mr. Levine, that they considered "the Superman Notices to be defective in several

     3    respects." (Defs' Opp. at 50). What is telling is that the areas of defect elaborated

     4    upon in the letter did not relate to the validity or enforceability of the termination

     5    notices themselves, but pointed to areas curtailing the scope of what could be

     6    recaptured even assuming the notice to be properly presented. These defects thus

     7    did not call into question plaintiffs asserted right to termination contained in the

     8    notices. For example, the letter remarks that defendants would still retain its rights

     9    in trademarks that it had secured over the years to certain Superman-related

    10    material, and that the termination would not give plaintiffs access to an accounting

    11    of the foreign profits defendants gained from exploiting the copyright. Far from

    12    repudiating plaintiffs co-ownership to the copyright, the letter acknowledged the

    13    validity of that ownership interest. Thus, the letter remarked that, "if the Siegels do

    14    not execute a re-grant to DC, beginning in April of 1999, DC and the Siegels will be
(
    15    joint owners of the United States copyright in the 'Superman' comic published in

    16    Action Comics No. 1 in June, 1938." (Decl. Michael Bergman, Ex. U at 2).

    17           Even more telling was DC Comics' subsequent conduct. The parties'

    18    negotiations quickly broke down and not much of substance was communicated

    19    between the parties thereafter. Then, the day before the termination effective date,

    20    DC Comics sent a .Ietter to plaintiffs' counsel denying the validity of the termination

    21

    22     new statutory right revoking an earlier transfer in the copyright in question, be it
    23     one they solely or jointly created - that takes place at a certain defined point in
           time. Unless and until that legal triggering point is passed, there is nothing for the
    24     other co-owner to reject or challenge. This is particularly the case given that
           termination notices can be served up to ten years before the effective termination
    25     date. Defendants' position would, as a matter of logic, countenance scenarios
           where due to an early "rejection" of the termination notice, the passage of the
    26
           limitations period would occur well before the termination effective date even
    27     arrived (and with it the putative co-owner's rights even vested). Nonetheless, the
           Court need not resolve this question as the letter in question does not constitute a
(   28     plain and express repudiation of plaintiffs' termination notice (and, hence, its right
           to co-ownership to the copyright in the Siegel and Shuster Superman material).
                                                       55



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1     notice, proclaiming:

2                    The absence of any steps towards negotiation for two
                     years, particularly on the 'eve' of the April 16, 1999
3                    purported 'effective' date of the termination, leaves us
                     concerned. Thus our client has no alternative but to
4                    move to the stage of putting your clients on clear notice,
                     as set forth below, of DC Comics' rights and of its
5                    determination, if it becomes necessary, to take all
                     appropriate and necessary steps to protect those rights.
 6                   First, your clients are hereby put on notice that DC
                     Comics rejects both the validity and scope of the Notices
 7

 8     (Decl. Marc Toberoff, Ex. Q (emphasis added)).

 9            If, as defendants contend, such notice of intent had been so clearly and

10    unmistakably communicated over a year and half earlier, it is odd for them to have

11    to repeat it and then state that they were "putting" plaintiffs "on notice" about it.

12    Accordingly, the Court finds that the present action seeking declaratory relief

13     regarding plaintiffs' termination of the 1938 grant accrued on April 16, 1999, the

14     effective date of that termination. DC Comics' submission of the letter the day

15     before that date denying the validity of the termination notice gave a plain and

16     express indication to plaintiffs that a claim for declaratory relief vis"8-vis the validity

17     of their termination notice was now ripe. See 28 U.S.C. § 2201 ("In a case of actual

18     controversy within its jurisdiction, . . . any court of the United States, upon the filing

19     of an appropriate pleading, may declare the rights and other legal relations of any

20     interested party seeking such declaration, whether or not further relief is or could be

21     sought.")

22            Applying both the date of the accrual of the claim, the parties' tolling

23     agreement to the three-year statute of limitations, and the filing date of this action,

24     the Court concludes that it is timely. The effective date of the termination notice,

25     and therefore the date of accrual, is April 16, 1999. The parties entered into a

26     tolling agreement on April 6, 2000, which amounts to nine days less than one year

27

28                                                                                                     C)
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(    1    that the limitations clock ran before being tolled.6 The tolling agreement lasted until

     2    ten business days after plaintiffs' September 21, 2002, letter providing written notice

     3    that they were ending settlement negotiations, that is, October 4, 2002, at which

     4    time the limitations clock started ticking once more.9 The present action was filed

     5    two years and four days later, on October 8, 2004. Adding the periods of time the

     6    limitations period was running together, it is clear that they add up to a period of

     7    time just short of the three-year period set forth in § 507(b).

     8           Accordingly, the Court concludes that the present action is timely.

     9           6.     The 2001-2002 Settlement Negotiations

    10           Defendants contend that plaintiffs' termination notice is no longer effective as

    11    the parties' settlement negotiations led to them entering into a binding post-

    12    termination agreement that resolved the issues presently before the Court. A brief

    13    review of the time line regarding those negotiations is helpful to the Court's analysis

    14    of the present issue:
(
    15           October 19, 2001      Pursuant to the parties' negotiations, plaintiffs' counsel
                                       sent to defendants' counsel a six-page letter outlining
    16                                 the substance of a settlement offer from defendants that

    17
                   6 Defendants' argument that the tolling agreement does not apply to
    18     plaintiffs' claims against Time Warner, Inc., and Warner Bros. Entertainment, Inc.,
    19     because neither was a "party to" or bound by that agreement is disingenuous.
           (Defs' Opp. at 52). The tolling agreement expressly provides that its terms bound
    20     not only DC Comics but also its "past and present subsidiaries or affiliates." (Decl.
           Marc Toberoff, Ex. Z). Being the parent company (Time Warner, Inc.) or corporate
    21     sibling (Warner Bros. Entertainment, Inc.,) of another (DC Comics) certainly
           qualifies as a corporate affiliate to the same; a point defendants later admit when
    22
           speaking to the alter ego question presented in the pleadings. (Defs' Mot. Summ.
    23     J. at 79 ("the following is a chart of the current corporate structure and affiliations
           between DC, WBEI and TWI")). Moreover, representatives for both companies
    24     were actively involved in the settlement negotiations themselves, further
           undermining any suggestion that they were bystanders to the process.
    25

    26            9 Defendants argue that the tolling period concluded much earlier based on
           the parties earlier having reached "an amicable resolution of the dispute." (Defs'
    27     Opp. at 51 (emphasis in original)). Given that the Court finds that no such
           "resolution," as opposed to a naggingly close potential for the same, occurred
(   28     through the parties settlement discussion post-termination, see infra A.6, their
           argument is without merit.
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                                   was "accepted" by the plaintiffs.
 1                                                                                                  L)
 2           . October 26, 2001    Defendants responded, noting they were working on a
                                   draft agreement and enclosing "a more fulsome outline"
 3                                 of "what" they "believe the deal" they have "agreed" to is.

 4            February 1, 2002     Defendants' counsel provided a fifty-six page draft
                                   agreement that reserved the right to have their clients
 5                                 comment upon it and noted that certain, related "stand
                                   alone" assignments were in the process of being
 6                                 finalized.

 7            May 5, 2002          Plaintiffs responded to defendants' draft by stating that
                                   the proposed agreement contained new, unacceptable
 8                                 terms to which they had not agreed.

 9            May 21, 2002         Defendants sent a letter to plaintiffs stating that they
                                   believed that each of the major points in the settlement
10                                 had already been agreed upon.

11            Sept 21, 2002        Plaintiffs rejected their counsel's proposed draft
                                   agreement and advised defendants in writing that they
12                                 were ending negotiations.

13            The parties are in agreement that California law should be applied in

14     deciding this question, but disagree as to its application. "California law is clear that

      there is no contract until there has been a meeting of the minds on all material
                                                                                                    0
15

16     points." Banner Entertainment v. Superior Court, 62 CaLApp.4th 348, 358 (1998).

17     The failure to reach a meeting of the minds on all material points prevents the

18     formation of a contract even if the parties have orally agreed upon some of the

19    terms, or have taken some action related to the contract. Grove v. Grove Valve &

20     Reg. Co., 4 CaLApp.3d 299, 311-12 (1970). Similarly, the terms proposed in an

21     offer must be met exactly, precisely, and unequivocally for its acceptance to result

22    in the formation of a binding contract. See Panagotacos v. Bank of America, 60

23    CaLApp.4th 851, 855-56 (1998); Apablasa v. Merritt & Co., 176 CaLApp.2d 719,

24     726 (1959). A qualified acceptance constitutes a rejection terminating the original

25     offer and the making of a counteroffer to the original offeror, which must also be

26     unequivocally accepted by the former offeror for a binding contract to form. See

27     Panagotacos, 60 CaLApp.4th at 855-56; Glende Motor Co. v. Superior Court, 159

28     CaLApp.3d 389, 396 (1984) ("California law has generally held that a qualified
                                                                                                    (- )
                                                                                                      '




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(    1    acceptance . . . affects the viability of the offer itself, so that 'a qualified acceptance

     2    amounts to a new proposal or counteroffer putting an end to the original offer"'); ill

     3    re Pago Pago Air Crash, 637 F .2d 704, 706 (9th Cir. 1981); see also CAL. CIV. CODE

     4    § 1585 ("A qualified acceptance is a new proposal.").

     5           The parties disagree over whether the terms contained in plaintiffs' October

     6    19, 2001, letter differ in substance from those set forth in defendants' later letter of

     7    October 26, 2001 (and accompanying outline), such that there was no unequivocal

     8    acceptance of an offer and, thus, no agreement. As with much in both life and law,

     9    materiality is in the eye of the beholder. From the Court's reading of the parties'

    10    correspondence, it is clear that the parties went well beyond reaching a settlement

    11    in principle regarding their respective positions to the Superman property. Rather,

    12    as suggested by the time line above, the parties' correspondence, and the actions

    13    taken in response thereto, illustrates that they found themselves in the all-too-

    14    familiar situation in which verbal settlement negotiations result in what the parties
(
    15    believe to be an agreement on all the major points of dispute, but which, upon

    16    further discussion, falls short of the agreement needed to resolve their dispute. The ·

    17    devil, as it often is, was in the details.

    18           That material details remained is evidenced by defendants' response to

    19    plaintiffs' initial letter, enclosing "a more fulsome outline" of what it "believed the

    20    deal" they had "agreed to." Moreover, defendants' February, 2002, draft

    21    agreement was not even considered final by its authors, who reserved the right for

    22    their clients to "comment" on it, and would also require the further submission of a

    23    number of "stand alone" agreements yet to be finalized. Indeed, Time Warner's

    24    CEO later commented that submission of the draft agreement was "expected" to

    25    result in further "comments and questions" from the Siegel heirs that "would need to

    26    be resolved."

    27           This give and take reveals that the parties, while close to agreeing to a

          complete and comprehensive settlement of their dispute, had not passed the
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1     threshold where they had finalized and assented to all material terms of such a
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                                                                                                    � �




2     settlement. Rather, as they attempted to sketch in the finer details of a settlement

3     from the broad outlines contained in the October 19 letter, more and more issues

4     arose upon which they could not reach agreement, resulting in the negotiations

5     falling apart. In this respect, the present case is not unlike Callie v. Near, 829 F.2d

6     888 (9th Cir. 1987), and Weddington Prods. v. Flick, 60 CaLApp.4th 793 (1998), in

7     which the courts held that no enforceable agreement was reached when the parties

8     had agreed to a rough outline of an agreement, but were thereafter unable to reach

9     agreement on the finer details and the negotiations fell apart.

10           Defendants' argument to the contrary is premised on the notion that they can

11    limit the scope of the legal analysis to the October 19, 2001, letter and call it a

12    contract, regardless of their materially different October 26, 2001, letter in reply ("I

13    enclose . . . a more fulsome outline of what we believe the deal . . . is") and their

14    vastly different February 1, 2002, draft, which were both part and parcel of the same         ' \

      settlement negotiation. Ignoring these contemporaneous communications is at
                                                                                                    l/'
15

16    odds with the requirement in contract formation that courts must consider "all the

17    surrounding circumstances." Donovan v. RRL Corp., 26 CaL 4th 261, 271 (2001).

18    These subsequent efforts to sketch in a more fulsome outline of the parties' alleged

19    agreement provides context and meaning as to the understanding the parties had

20    about the effect of the October 19 letter itself.

21           Defendants further seek to create issues of fact through post hoc testimony

22    and rationalizations. None of this subjective belief is sufficient to defeat the

23    objective manifestation of the parties' intent relayed in the documents referenced

24    above that aptly demonstrate that there was no "meeting of the minds" on all

25    material terms. See Meyer v. Benko, 55 CaLApp.3d 937, 942-43 (1976) ("The

26    existence of mutual consent is determined by objective rather than subjective

27    criteria, the test being what the outward manifestations of consent would lead a

28    reasonable person to believe. Accordingly, the primary focus in determining the
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c      1     existence of mutual consent is upon the acts of the parties involved"); Stewart v.

       2      Preston Pipeline Inc., 134 Cal.App.4th 1565, 1587 (2005) ("mutual assent to a

       3     contract is based upon objective and outward manifestations of the parties"); CAL.

       4      CIV. CODE § 1639.

       5            One need only review the language of the parties' correspondence, their

       6     conduct in reaction thereto, and the numerous material differences between the

       7     terms relayed in the October 19 and 26, 2001, letters and the February 1, 2002,

       8     draft to reach the conclusion that the parties failed to come to an agreement on all

       9     material terms. See Grove v. Grove Valve & Reg. Co., 4 Cal.App.3d 299, 311-12

      10     (1970) (failure to reach meeting of the minds on all material points prevents contract

      11     formation even though parties orally agreed on many terms, or have taken action

      12     relating to the contract). Far from signifying that the parties' "negotiations . . .

      13     result[ed] in a binding contract" leaving nothing more than the drafting of more

      14     formal documentation memorializing that agreement, see Louis Lesser Enterprises.
(
      15     Ltd. v. Roeder, 209 Cal.App.2d 401, 404 (1962), these submissions between the

      16     parties went far beyond that by adding in or further refining areas from what was

      17     contained in the October 19 letter. That after the submission of the October 19

      18     letter defendants began the process of creating a settlement trust account and the
     . 19    parties negotiated about providing Siegel and Shuster screen credits in the then

      20     upcoming movie Superman Returns could as much be seen as goodwill gestures

      21     on defendants' part while the negotiations continued as it could reflect an indication

      22     on their part that they thought they were contractually bound to do the same.

      23            From all of this there is no document or set of documents reflecting

      24     agreement by the parties to singular, agreed terms. Defendants cannot explain to

      25     the Court what from the parties' differing exchange constitutes this purported

      26     contract; rather, it appears that defendants wish to take the plaintiffs' "acceptance"

      27     reflected in the October 19 letter and either festoon upon it all the terms contained

(.    28     in the February 1, 2002, draft settlement agreement (even though Joanne Siegel


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1     clearly and unequivocally rejected that latter draft agreement), or have the Court            . -)
                                                                                                    �j
2     perform that task. The Court's responsibility is not to create a patch-quilt agreement

 3    by stringing together certain expressions of assent made at one point (October 19),

 4    and attaching to it material terms spelled out later in time (and to which the

 5    supposedly assenting party promptly rejected). See Industrial lndemnitv v. Superior

6     Court, 224 CaLApp.3d 828, 832 (1990) ("courts will not write a new contract").

7              Accordingly, the Court concludes that the parties' settlement negotiations did

8     not result in an enforceable agreement resolving the issues presently before the

9     Court.

10     B.      Limitations on Scope of Recaptured Rights

11             The principal purpose behind the creation of the termination right was to give

12    authors (and their heirs) a chance to retain the extended renewal term in their work

13     and then re-bargain for it when its value in the marketplace was known. See H . R

14     REP. No. 1476, 94th Cong., 2d Sess. 124 (recognizing as the justification for the

15    termination right "safeguarding authors against unremunerative transfers . . .
                                                                                                    ()
16    because of the unequal bargaining position of authors, resulting in part from the

17    impossibility of determining a work's prior value until it has been exploited").

18             The need for such a second bite at the apple flowed from the fact that the

19    1909 Act created a dual term in the copyright to a work, one realized upon the

20     work's publication and the second occurring twenty-eight years later with the

21     copyright's renewal. Justification for this splitting of terms was based, in part, on the

22    understanding that an author's ability to realize the true value of his or her's work

23    was often not apparent at its creation, but required the passage of time (and the

24    marketing efforts by a publisher) to materialize. The renewal term in the copyright

25    to the work thus served as a mid-course re-valuation tool allowing the author, by

26     giving him or her the right of renewal in the work, leverage in re-negotiating a better

27     deal with the original grantee or any other suitor who desired to continue to market

28     the copyright See Patry, Choice of Law, 48 Am. J. Comp. L at 446 ("The main                  (1
                                                                                                     ,J


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                                               879
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(    1    theory behind a dual system of term was that it gave the author or the author's heirs

     2    a 'second bite at the apple;' when the renewal term came around, the value of the

     3    copyright would be better known than at the time of initial publication. With this

     4    information, a new bargain could be struck that would more accurately reflect the

     5    market rate"). This re-valuation mechanism provided by the renewal term under the

     6    1909 Act was largely frustrated by the Supreme Court's decision in Fred Fisher

     7    Music, 318 U.S. at 656-59, allowing authors to assign away at the outset all of their

     8    rights to both the initial and the renewal term.

     9           Although the termination right contained in the 1976 Act sought to correct the

    10    damage done by Fred Fisher to an author's ability to renegotiate through the

    11    reversion of rights, it did not revert to the author the full panoply of rights he or she

    12    would have enjoyed upon renewal under the 1909 Act. Owing in large measure to

    13    objections by publishers seeking to minimize the disruption to "existing contracts

    14    and authorized derivative works already in distribution" that such a recapture right
(
    15    would engender, see 2 PATRY ON COPYRIGHT § 7:43, Congress placed certain

    16    limitations on what authors (or their heirs) gained from exercising the termination

    17    right. It is to these limits on the termination right that the Court now turns.

    18           1.      Foreign Profits

    19           Section 304(c)(6)(E) to the 1976 Act provides that "[t]ermination of a grant

    20    under this subsection affects only those rights covered by the grant that arise under

    21    this title[, Title 17 of the United States Code, governing copyrights], and in no way

    22    affects rights arising under any other Federal, State, or foreign laws." Defendants

    23    read from this a statutory limitation on the scope of any accounting arising from the

    24    termination notices in this case to those profits realized by the domestic exploitation

    25    of the Superman copyright contained in Action Comics, Vol. 1, excluding those

    26    realized from foreign sources. The Court finds this argument persuasive.

    27           Although the Court can locate no case that has specifically addressed the

          issue of accounting profits from the foreign exploitation of a copyright that is subject
(   28


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1     to a valid termination notice, the statutory text could not be any clearer on this

2     subject. Through this section, Congress expressly limited the reach of what was

3     gained by the terminating party through exercise of the termination right;

4     specifically, the terminating party only recaptured the domestic rights (that is, the

5     rights arising under title 17 to the United States Code) of the grant to the copyright

6     in question. Left expressly intact and undisturbed were any of the rights the original

7     grantee or its successors in interest had gained over the years from the copyright

8     through other sources of law, notably the right to exploit the work abroad that would

9     be governed by the copyright laws of foreign nations. Thus, the statute explains

10    that termination "in no way affects rights" the grantee or its successors gained

11     "under foreign laws."

12            Such a reading is supported by leading commentators, who are in agreement

13     as to the effect of § 304(c)(6)(E) has in a case such as this.

14            Professor Nimmer states:

                             A grant of copyright "throughout the world" is
                                                                                                      o
15
                     terminable only with respect to uses within the
16                   geographic limits of the United States. Because
                     copyright has no extraterritorial operation, arguably
17                   American law is precluded from causing the termination
                     of rights based upon foreign copyright laws. A response
18                   to this argument is that the nonextraterritoriality of
                     copyright is irrelevant because the question here is one
19                   of contract law, not copyright law, in that it concerns the
                     effect of a contract granting certain rights. The contract
20                   law of one nation may be applicable in another nation
                     under the latter's conflict-of-Iaws rule. The conclusive
21                   answer to this problem lies in the text of the termination
                     provisions of the Copyright Act, which expressly provide
22                   that statutory termination "in no way affects rights arising
                     under . . . foreign laws" - that is, under foreign copyright
23                   (not contract) laws. Thus, even if the conflicts rule of a
                     foreign nation were to call for application of the American
24                   termination rule as a rule of contract law, that rule by its
                     own terms excepts from termination the grant of those
25                   rights arising under foreign copyright laws.

26     3 NIMMER ON COPYRIGHT § 11.02[B][2] at 11-19.

27            Professor Patry agrees: "Accordingly, where a U.S. author conveys

28     worldwide rights and terminates under either section, grants in all other countries
                                                                                                      ()
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(    1     remain valid according to their terms or provisions in other countries' laws." 7

     2     PATRY ON COPYRIGHT § 25:74.

     3             Plaintiffs argue, however, that the section also allows for the possibility that

     4    the terminating party gains not only the domestic rights to the copyright in question

     5     (the "rights covered by the grant that arise under this title"), but also retains

     6     whatever other rights it may have under "Federal, State, or foreign laws." From this

     7     premise, plaintiffs argue that, because an accounting between co-owners in a

     8    copyright is governed by state law, and California state law allows for the sharing of

     9    foreign profits between tenants in common, so, too, should defendants be forced to

    10    account for their foreign profits. This argument misses the fact that all plaintiffs

    11    have gained from the termination right is a recapturing of the domestic copyright in

    12    the Superman material published in Action Comics, Vol. 1. Defendants continue to

    13    hold, unaffected, separate rights to that copyright arising under foreign copyright

    14     laws. This distinction is important for two reasons.

    15             First, such an open effort to extend the reach of U.S. copyright law overseas,

    16    as plaintiffs' reading of the statute avows, would be in direct contradiction to not only

    17    the plain terms of the statute (stating that termination does not affect another

    18    parties' rights arising under the copyright laws of "foreign" nations), but stands in

    19    stark juxtaposition to the longstanding rule "that the copyright laws [of this country]

    20    have no application beyond the U.S. border." Los Angeles News Servo V. Reuters

    21    TV Intern., 340 F.3d 926, 931 (9th Cir. 2003).     If Congress contemplated the ability

    22    to attach or otherwise force the accounting of foreign profits to which the original

    23    grantee or its successors are legally entitled under the copyright laws of other

    24     nations through the backdoor of applying state law tenant in common principles,

    25    one would have expected such an intention to have been made expressly, and

    26    certainly with some explanation given the incongruity that arises from the statutory

    27    language's notation that termination did not affect another's rights under "foreign

(   28    laws."


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1             Second, the cases cited by plaintiffs requiring one co-owner to account to the

2     other for both domestic and foreign profits involved parties who were co-owners to

3     the "world-wide" copyright in the work and, not as with the termination right, to only

4     the domestic copyright. See Goodman v. Lee, 78 F.3d 1007, 1010 (5th Cir. 1996)

5      (noting that declaratory action was filed after other co-owner obtained a "renewal of

6     the copyright" listing himself as the sole author in the song "Let the Good Times

7      Roll"). Plaintiffs have directed the Court to no case wherein a co-owner of the

8     domestic copyright in a work was allowed an accounting of a co-owner's foreign

9     profits. See 3 NIMMER ON COPYRIGHT § 11.02[B][1] at 11-17 ("Only such rights as

10     were originally the subject of a grant will revert upon the termination of that grant.

11     [TJo the extent that a grant includes rights based upon federal law other than the

12     Copyright Act, state law, or foreign law, such rights are not subject to termination").

13            Accordingly, the Court holds that the termination notice affects only the

14     domestic portion of Siegel's and Shuster's 1938 worldwide grant ("all rights") to

15     Detective Comics of the copyright in the Superman material contained in Action
                                                                                                    ()
16     Comics, Vol. 1. The termination notice is not effective as to the remainder of the

17     grant, that is, defendants exploitation of the work abroad under the aegis of foreign

18     copyright laws. Thus, although defendants retain the unfettered right to exploit the

19     works (and retain the profits derived therefrom) in foreign nations, they may do so

20     domestically only as a co-owner (through Shuster's share) of the works. See Oddo

21     v. Ries, 743 F.2d 630, 632-33 (9th Cir. 1984) (""[E]ach co-owner has an

22     independent right to use or license the use of the copyright. . . . . A co-owner of a

23     copyright must accountto other co-owners for any profits he earns from licensing or

24     use of the copyright . . . . "). As such, defendants must account to plaintiffs only for

25     the profits from such domestic exploitation of the Superman copyright.

26            2.     Trademark Rights and Ownership of Pre-Termination Derivative

27                   Works

28            As noted in the previous section, the right to termination leaves undisturbed
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c     1    the original grantee or its successors in interests rights arising under "federal law."

      2    17 U.S.C. § 304(c)(6}(E}. Among the rights based on federal law that defendants

      3    secured over the years were several trademarks that utilized or incorporated

      4    portions of the copyrighted material found in Action Comics, Vol. 1. Defendants

      5    seek a declaration from the Court that, even if successful in terminating the

      6    Superman copyright contained in Action Comics, Vol. 1, plaintiffs cannot share in

      7    defendants' profits "purely attributable to [Superman] trademark rights." (Defs'

      8    Reply at 11). Plaintiffs admirably concede the point in their briefs, but argue that

      9    they are "entitled to profits from mixed trademark uses to the extent such exploit

     10    recaptured copyright elements (e.g., 'Superman costume'}." (Pis' Reply at 49 n.28).

     11           Similarly, defendants seek a declaration that, to the extent plaintiffs are

     12    entitled to an accounting as a result of their successfully terminating the 1938 grant,

     13    it should not include any profits attributable to the "post-termination exploitation of

     14    derivative works [of Action Comics, Vol. 1,] prepared prior to termination." (Defs'
(
     15    Mot. Summ. J. at 28). Again, plaintiffs concede, as they should, this point. (Pis'

     16    Reply at 49 n.28). Section 304(c}(6}(A} provides that derivative works created

     17    during the grant (meaning up until the termination effective date) may continue to be

     18    exploited after termination. Again, however, plaintiffs hold out as a separate

     19    question the existence of pre-termination derivative works that are "altered so as to

     20    become post-termination derivative works." (Pis' Reply at 49 n.28).

     21           Given that these contentions by plaintiffs - the recapture or accounting from

     22    the mixed use of trademark and copyright and what to do with any alteration in pre-

     23    termination derivative works - are not the subject of the present motion, the Court

     24    will not address them in this Order. Even though it is clear that these issues will

     25    impact the accounting of profits in some manner, they cannot be fully adjudicated

     26    based on the narrow record currently before the Court and absent a full briefing of

     27    the particular mixed uses or altered pre-termination derivative works that are

(.   28    specifically at issue.


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              Accordingly, the Court holds that the profits defendants garner from the use
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2      of Superman trademarks that "are purely attributable to [those] trademark rights,"

 3     and from its use of unaltered pre-termination derivative works are not subject to

 4     accounting.

 5            3.     Accounting for Profits of Warner Bros. Entertainment Inc., and Time

6                    Warner. Inc.

7             The parties are in disagreement over whether plaintiffs may directly share in

8      the profits from the exploitation of the works by DC Comics corporate sibling,

9      Warner Brothers Entertainment, Inc. ("WBEI"), and its corporate parent, Time

10     Warner, Inc. ('TWI"). The genesis for this claim stems from certain inter-corporate

11     transactions amongst these actors concerning the Superman copyright In the

12     same year that plaintiffs' termination notices became effective, DC Comics

13     executed an exclusive license in favor of WBEI (and a year later a separate

14     exclusive license with WBEI's television division) to exploit the Superman copyright

15     for the remainder of its extended renewal term in certain media formats, notably

16     movies, television, and home video. (Decl. Marc Toberoff, Exs. E & F). Defendants

17     contend that, as co-owners of the joint works at issue, plaintiffs are entitled to an

18     accounting of the profits made by DC Comics (in the form of the licensing fees it has

19     collected), but that plaintiffs are not entitled to an accounting of the profits WBEI has

20     made pursuant to the Iicense.1 0

21            Defendants' argument is not without support. The Court starts with the

22     general principle that "each co-owner has an independent right to use or license the

23     use of the copyright[, but that a] co-owner of a copyright must account to other

24     co-owners for any profits he earns from licensing or use of the copyright" Oddo,

25     743 F.2d at 633. Licensees, on the other hand, are accountable only to their

26

27             1 0 It appears to the Court that because TWI is not a licensee of the works, it
        may not have any profits to account for; however, absent evidence of this fact from
28      either side (or the representation that such is not the case), the Court cannot rule
        on this issue at this time.
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(    1    licensors, and owe no duty of accounting to the non-licensor co-owner of a

     2    copyright the licensee exploits. See Ashton-Tate Corp. v. Ross, 916 F.2d 516, 523

     3    (9th Cir. 1990).

     4           Plaintiffs, however, take a different view of the licenses, arguing that "Warner

     5    has stepped exclusively into DC's shoes with respect to such motion picture and

     6    television copyrights." (Pis' Opp. at 30). In other words, the exclusive license had

     7    the net effect of substituting WBEI for DC Comics as a joint owner with plaintiffs

     8    (assuming the successful termination of the 1938 grant) insofar as the exploitation

     9    of the copyright in the mediums in which those licenses are concerned.

    10           This theory, however, requires large legal leaps that are not countenanced

    11    by current law. To begin, in order for an exclusive license in the entirety of the

    12    interest in a joint work itself (such as SLiperman) to be effective, the consent of both

    13    joint owners in the copyrighted work is required. See 2 PATRY ON COPYRIGHT § 5:7

          ("A joint author (or co-owner) may not, however, transfer all interest in the work
(   14
          without the other co-owner's express (and written) authorization, since that would
    15

    16    result in an involuntary transfer of the other joint owner's undivided interest in the

    17    whole"). The same requirement for prior consent holds true even with respect to the

    18    wholesale transfer of exclusive licenses in subparts to a copyright, such as a license

    19    transferring all the stage rights (not just the joint owner's rights) to a novel but not

    20    the movie or literary rights. Cf. 1 NIMMER ON COPYRIGHT § 6.12[C][3] at 6-38.8 to 6-

    21    39.

    22           Such consent simply did not occur here. DC Comics unilaterally sought to

    23    give an exclusive license to the entirety in the Superman property's movie and

    24    television rights to WBEI post-termination. As a result, the attempt to provide an

    25    exclusive license was ineffective. At best, all that was conveyed was a non-

    26    exclusive license, and, at worst, a license agreement whose terms are null and void

    27    absent ratification by plaintiffs. See 3 NIMMER ON COPYRIGHT § 10.03[A][7] at 10-51.

(   28           Applying these principles in a vacuum, the Court would readily reach the


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1     conclusion championed by defendants: WBEI, as a licensee, is answerable only to
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2     DC Comics as its licensor; that DC Comics is the only entity that must account for

3     profits to plaintiffs; and, absent exploitation of the works by DC Comics itself, that

4     DC Comics' accounting to plaintiffs is limited to those profits derived from licensing

 5    the Superman copyright to WBEI.

6             However, the Court's analysis does not occur in vacuum; rather, it must take

7     into account the relevant facts of this case, particularly given that the accounting

8      sought by plaintiffs in this action is an equitable remedy, and the Court must

 9     conduct its inquiry accordingly. See Oddo, 743 F.2d at 633 ("A co-owner of a

10     copyright must account to other co-owners for any profits he earns from licensing or

11     use of the copyright, . . . but the duty to account does not derive from the copyright

12     law's proscription of infringement.   Rather, it comes from equitable doctrines

13     relating to unjust enrichment and general principles of law goveming the rights of

14    co-owners.") (internal quotation marks and citations omitted).

15            Here, the relatedness of the transferor and the transferee entities cannot be
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16     ignored. The evidence before the Court reveals that the relevant entities are all

17     closely related entities - parent corporations, wholly and partially-owned

18     subsidiaries, partners, sibling business entities (owned directly or indirectly by the

19     same parent) - although it is not entirely clear to the Court exactly what those

20     relationships have been at all relevant times. This fact alone raises a specter of a

21     "sweetheart deal" entered into by related entities in order to pay a less than market

22     value fee for licensing valuable copyrights. If such were the case, the related entity

23     might be able to exploit the copyrights without the responsibility of answering to the

24     co-owner of a joint work, and the licensor co-owner would thereby be relieved of the

25     responsibility of accounting for any profits (other than a greatly reduced licensing

26     fee) to the non-licensor co-owner. This result would be inequitable.

27            This concern is bolstered by the declaration of Paul Levitz, President and

28     Publisher for DC Comics, which states that under the post-2003 corporate
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(    1     restructuring of Time Warner's business, "for operating management purposes, DC

     2     reports" not to immediate corporate parent WCI, but to its sibling corporation

     3     "WBEI," the licensee of the rights at issue in this action. (Decl. Paul Levitz 1/ 17).

     4    As Levitz explains, "I report to and obtain approvals from WBEl's President and

     5    Chief Operating Officer before making significant acquisitions or certain financial

     6     decisions or investments that are outside the scope of DC's customary acquisitions

     7    and investments; before implementing meaningful strategic changes; and before

     8    embarking on something substantially outside DC's normal course of business."

     9    (J..Q.,). Although this is not evidence of what occurred at the time of the license, it is
    10    still probative evidence of the relatedness of the licensee and licensor that could

    11    result in an extremely favorable licensing arrangement that works to the detriment of

    12    the non-licensor co-owner. These open issues also touch upon factors to be

    13    considered in analyzing alter ego claims. See Sonora Diamond Corp. v. Superior

    14    Court, 83 CaLAppAth 523 (2000); Mesler v. Bragg Management Co., 39 CaL3d 290
(         (CaL1985) ("The essence of the alter ego doctrine, in which it is claimed that an
    15

    16    opposing party is using the corporate form unjustly, is that justice be done. What the

    17    formula comes down to, once shorn of verbiage about control, instrumentality,

    18    agency and corporate entity, is that liability is imposed to reach an equitable result").

    19            Whether the license fees paid represents the fair market value therefor, or

    20    whether the license for the works between the related entities was a "sweetheart

    21    deal," are questions of fact that are not answered on summary judgment, certainly

    22    not without the benefit of expert testimony Which has not been presented by either

    23    party on this topic. The Court therefore concludes that summary judgment on this

    24    issue is inappropriate at this time.11

    25

    26

    27             11 Because the Court concludes that defendants' motion for summary
            adjudication of this issue must be denied for the reasons stated above, the Court
(   28      does not at this time resolve other arguments raised by plaintiffs regarding this
            issue.
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 1                                         CONCLUSION

2             After seventy years, Jerome Siegel's heirs regain what he granted so long

 3     ago - the copyright in the Superman material that was published in Action Comics,

 4    Vol. 1. What remains is an apportionment of profits, guided in some measure by

 5     the rulings contained in this Order, and a trial on whether to include the profits

 6     generated by DC Comics' corporate sibling's exploitation of the Superman

 7     copyright.

 8            DATE: March 26, 2008

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11                                                       STEPHEN G. LARSON
                                                         UNITED STATES DISTRICT JUDGE
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(                                 ADDENDUM A




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